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Exhibit No. BegDoc                      EndDoc                           Approx. Description
    1      FBI-00123203                 FBI-00123203                     Seized contents of Jack Abramoff's phone
    2      FBI-DEVICE-000001            FBI-DEVICE-000001                Seized contents of Andrade's G7 and Blackberry
    3      FBI-DEVICE-000002            FBI-DEVICE-000002                Seized content of Abramoff's other devices
    4      FBI-DEVICE-000003            FBI-DEVICE-000003                Seized contents of Andrade's other devices
                                                                         FBI recording of Andrade during search of Andrade's house (March 12, 2020).
    5
           FBI-ELSUR-004458             FBI-ELSUR-004458                 Transcript will be a demonstrative
    6      FBI-PHY3-0144395             FBI-PHY3-0144396                 Abramoff-Andrade email, subject line "RE: Please confirm PR 1" and PR 2.
    7      FBI-PHY3-0144397             FBI-PHY3-0144398                 Abramoff-Andrade email, subject line "RE: Please confirm PR 2".
                                                                         De La Guardia email to Abramoff and Andrade. Panama Canal Authority thinks
    8      FBI-PHY3-0144193             FBI-PHY3-0144196
                                                                         press release (PR) is "misleading" and wants corrections
                                                                         Andrade to Sales@AMLBitcoin.com, subject "Information," attaching Bitcoin
    9      FBI-PHY3-0146579             FBI-PHY3-0146588                 Brigade Press Release, Blockchain Entertainment LLC.pdf, and Rep. Roger
                                                                         Williams statement.
                                                                         De La Guardia to ceo@amlbitcoin.com and Abramoff, about his conversation with
   10      FBI-PHY3-0144175             FBI-PHY3-0144175                 Monica Martinez of Panama Canal. She asks to amend press release to show that
                                                                         "meetings have NOT taken place yet".
   11      FBI-PHY3-0144106             FBI-PHY3-0144106                 Andrade to Abramoff, Subject "Re: Telephone chat agenda."
   12      FBI-PHY3-0143522             FBI-PHY3-0143530                 Andrade emails to ceo@bitcoinbuzz.com "PR and extra banners"
                                                                         Andrade emails Melissa Foteh, saying she is media@amlbitcoin.com, and asking her
   13      FBI-PHY3-0143531             FBI-PHY3-0143540
                                                                         to proofread HitBTC PR
                                                                         Andrade emails Abramoff and DiAdamo the signed purchase agreement of Brian
   14      FBI-PHY3-01465747            FBI-PHY3-01465757
                                                                         Darling.
                                                                         Andrade emails Dillman re SF Port Strategy question, writing "Dear Japheth, Please
   15      FBI-PHY3-0163184             FBI-PHY3-0163185
                                                                         handle this. This is VERY important."
   16      FBI-PHY3-0163177             FBI-PHY3-0163179                 Abramoff emails Andrade the NFL Letter, and asks, "Good to go?"
                                                                         Super Bowl: Abramoff asks Andrade to send an email that Lisa Schneider is the
   17      FBI-PHY3-0163180             FBI-PHY3-0163181                 "Agency of Record" so that they "have a shot" at getting "an official no from NBC".
                                                                         Andrade replies "just sent it."
                                                                         Abramoff forwards to Andrade the link to Brian Darling's Washington Examiner
   18      FBI-PHY3-0163070             FBI-PHY3-0163070
                                                                         article about Super Bowl
                                                                         Andrade forwards to Dillman an update on media, including attaching Media
   19      FBI-PHY3-0162877             FBI-PHY3-0162881
                                                                         Advisory which was sent to "375 cryptocurrency reporters"
                                                                         Dillman emails Leslie Katz, CCing Andrade. Dillman says "I just spoke with
   20      FBI-PHY3-0143057             FBI-PHY3-0143058                 Marcus" and that "Marcus would like immediately to gift you 5,000 tokens" for her
                                                                         potential introductions to various public officials.


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                                                                   Andrade emails Dillman, subject "Estonia." He attaches a 40-page PowerPoint
21   FBI-PHY3-0142789             FBI-PHY3-0142829
                                                                   ("Estcoin Based on AML Bitcoin Platform").
22   FBI-PHY3-0161744             FBI-PHY3-0161746                 Abramoff emails Andrade, attaching invoice.
                                                                   Andrade emails CoinEgg, CCing Foteh. He sends them graphics and documentation
23   FBI-PHY3-0161688             FBI-PHY3-0161705
                                                                   about AMLBitcoin.
                                                                   Andrade emails an exchange. He writes "we are the only digital currency that is not
                                                                   only AML / KYC Complaint, we actually use Certified Digital Identities in
24   FBI-PHY3-0161539             FBI-PHY3-0161540
                                                                   partnerships with Banks / Insurance Companies / & Government Entities." He
                                                                   attaches materials and articles.
25   FBI-PHY3-0161603             FBI-PHY3-0161604                 Andrade emails another exchange the same thing.
26   FBI-PHY3-0160873             FBI-PHY3-0161069                 ICOBox emails Andrade an export of the day's token transfers.
27   FBI-PHY3-01623414            FBI-PHY3-01623417                Andrade emails Foteh for materials on a cryptocurrency panel.
28   FBI-PHY3-0163375             FBI-PHY3-0163376                 Andrade forwards to Abramoff an email from Ralph Home at Cross Verify.
                                                                   Someone emails Andrade a list of email addresses for customers who purchased
29   FBI-PHY3-0146052             FBI-PHY3-0146054
                                                                   AML Bitcoin.
                                                                   Andrade emails Dillman the HitBTC press release and asks Dillman to "fix it up a
30   FBI-PHY3-0145794             FBI-PHY3-0145795
                                                                   bit."
                                                                   Darling emails Abramoff and Andrade. He pastes the text of his article in the
31   FBI-PHY3-0145788             FBI-PHY3-0145790
                                                                   Observer, re "Soccer MomFriendly AML Bitcoin"
                                                                   Andrade emails DiAdamo a spreadsheet of "preICO list_Not Verified." Subject line
32   FBI-PHY3-0145771             FBI-PHY3-0145773
                                                                   of email is "jacks ppl".
33   FBI-PHY3-0145760             FBI-PHY3-0145770                 Andrade emails regarding an online "counter"/display of tokens sold.
34   FBI-PHY3-0145757             FBI-PHY3-0145759                 Dillman, Ccing Andrade, emails Kraken's head of token listing.
35   FBI-PHY3-0145692             FBI-PHY3-0145698                 Dillman, Ccing Andrade, emails Shift Communications.
                                                                   Andrade's handwritten signature and title "Founder" on "Designation of Anti-Money
36   FBI-00001945                 FBI-00001945
                                                                   Laundering Compliance Officer" form.
37   FBI-00022485                 FBI-00022490                     Handwritten timeline and list of news stories about AML Bitcoin.
38   FBI-00022511                 FBI-00022511                     Handwritten list of "Post ICO" investors.
39   FBI-00024265                 FBI-00024289                     AtenCoin management team and overview of AtenCoin.
40   FBI-00025230                 FBI-00025231                     Physical print-out of AML Bitcion and AtenCoin sold totals.
41   ANDRADE_DOJ_00000105         ANDRADE_DOJ_00000108             Published: Versace, Building a Better Bitcoin, Forbes (September 27, 2017)
42   ANDRADE_DOJ_00000200         ANDRADE_DOJ_00000235             a version of AML Bitcoin's White Paper
43   ANDRADE_DOJ_00000272         ANDRADE_DOJ_00000273             Draft of Darling's article in the Observer
44   ANDRADE_DOJ_00000644         ANDRADE_DOJ_00000678             a version of AML Bitcoin's White Paper
45   ANDRADE_DOJ_00005459         ANDRADE_DOJ_00005459             NAC, Kazach metings, Feb 2018 (1).pptm
46   ANDRADE_DOJ_00014493         ANDRADE_DOJ_00014494             Re: Questions
47   ANDRADE_DOJ_00017033         ANDRADE_DOJ_00017034             Fwd: Conference with Actual SEO Media, Inc.


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48   ANDRADE_DOJ_00017059     ANDRADE_DOJ_00017061             FATF PR Updated.docx
49   ANDRADE_DOJ_00018032     ANDRADE_DOJ_00018032             attachment for email
50   ANDRADE_DOJ_00018038     ANDRADE_DOJ_00018038             tokensale spreadsheet
51   ANDRADE_DOJ_00018058     ANDRADE_DOJ_00018058             atencoin report
52   ANDRADE_DOJ_00018095     ANDRADE_DOJ_00018095             aten list
53   ANDRADE_DOJ_00018173     ANDRADE_DOJ_00018173             Introduction
54   ANDRADE_DOJ_00018177     ANDRADE_DOJ_00018178             RE: Coin Audit
55   ANDRADE_DOJ_00018185     ANDRADE_DOJ_00018185             Security for Devices
56   ANDRADE_DOJ_00018628     ANDRADE_DOJ_00018628             HitBTC listing coming.
                                                               Cowan email to Tran. Cowan says "please forward to Marcus to give it another once
57
     ANDRADE_DOJ_00018646     ANDRADE_DOJ_00018646             over." She attaches the HitBTC press release.
58   ANDRADE_DOJ_00018650     ANDRADE_DOJ_00018650             Andrade email showing he reviewed the HitBTC press release
59   ANDRADE_DOJ_00018651     ANDRADE_DOJ_00018651             HitBTC press release sent from Cowan to Tran.
                                                               Email from Mata to Bernadette Tran. Mata says he showed a PR quote to Marcus
60
     ANDRADE_DOJ_00018860     ANDRADE_DOJ_00018861             and Marcus was ok with it.
61   ANDRADE_DOJ_00018912     ANDRADE_DOJ_00018912             Business Wire telling Tran that they posted HitBTC press release
62   ANDRADE_DOJ_00018913     ANDRADE_DOJ_00018914             HitBTC press release.
63   ANDRADE_DOJ_00019010     ANDRADE_DOJ_00019011             RE: Introduction
64   ANDRADE_DOJ_00019637     ANDRADE_DOJ_00019639             HitBTC Edited Press Release 09.11.18.doc
65   ANDRADE_DOJ_00019710     ANDRADE_DOJ_00019712             Andrade's email to Tran regarding press/SEO.
66   ANDRADE_DOJ_00019713     ANDRADE_DOJ_00019714             Andrade email askig to see all website text.
                                                               Dillman emails Andrade and Abramoff draft press release about Andrade's meeting
67
     ANDRADE_DOJ_00021513     ANDRADE_DOJ_00021514             with Katz
                                                               Dillman emails Abramoff, Szeder, and Andrade. Dillman introduces Szeder to the
68
     ANDRADE_DOJ_00021594     ANDRADE_DOJ_00021594             group as the public-facing CTO.
69   ANDRADE_DOJ_00021686     ANDRADE_DOJ_00021686             Abramoff emails Dillman. Abramoff says he just chatted with Marcus.
                                                               Abramoff emails Brian Darling and CCs Andrade. Abramoff says "great work
70                                                             Brian!!" in response to Brian forwarding an article titled "This New Bitcoin Could
     ANDRADE_DOJ_00022061     ANDRADE_DOJ_00022062             Totally Change the Game".
71   ANDRADE_DOJ_00022738     ANDRADE_DOJ_00022740             Terrence Poon email to Leslie Katz about her AML payment
                                                               Andrade confirms that Monex247 is his handle. DeLaGuardia asks for bios, and
72                                                             Abramoff responds with Naimer's bio and Andrade's bio. Andrade's bio is a later
     ANDRADE_DOJ_00024268     ANDRADE_DOJ_00024269             exhibit at ANDRADE_DOJ_00024272.
73   ANDRADE_DOJ_00024270     ANDRADE_DOJ_00024271             Richard Naimer CV.pdf
74   ANDRADE_DOJ_00024691     ANDRADE_DOJ_00024693             RE: Verify Me VRME
75   ANDRADE_DOJ_00025317     ANDRADE_DOJ_00025318             FW: Introduction
76   ANDRADE_DOJ_00025345     ANDRADE_DOJ_00025346             Re: Hello


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                                                                Abramoff forwards email thread with Hung Tran to Andrade. The emails relate to
77
      ANDRADE_DOJ_00025415     ANDRADE_DOJ_00025416             the Super Bowl ad.
                                                                Abramoff forwards email thread with Hung Tran to Andrade. The emails relate to
78
      ANDRADE_DOJ_00025417     ANDRADE_DOJ_00025418             the Super Bowl ad.
                                                                Abramoff forwards email thread with Hung Tran to Andrade. The emails relate to
79
      ANDRADE_DOJ_00025419     ANDRADE_DOJ_00025420             the Super Bowl ad.
80    ANDRADE_DOJ_00025423     ANDRADE_DOJ_00025424             Tech update
81    ANDRADE_DOJ_00026532     ANDRADE_DOJ_00026534             AML coin on Exchange
82    ANDRADE_DOJ_00026535     ANDRADE_DOJ_00026539             Andrade states that Foteh is his VP of Marketing.
 83   ANDRADE_DOJ_00026625     ANDRADE_DOJ_00026627             RE: Office Space
 84   ANDRADE_DOJ_00026994     ANDRADE_DOJ_00026994             NAC - GBX Proposal
 85   ANDRADE_DOJ_00027021     ANDRADE_DOJ_00027021             RE: $200K
 86   ANDRADE_DOJ_00027169     ANDRADE_DOJ_00027170             RE: NAC - GBX Proposal
 87   ANDRADE_DOJ_00027387     ANDRADE_DOJ_00027404             [Urgent] Exchange Wallet Issue
 88   ANDRADE_DOJ_00027420     ANDRADE_DOJ_00027421             FW: Digital Identity Network & Port of San Francisco
 89   ANDRADE_DOJ_00027909     ANDRADE_DOJ_00027911             Katz email to Dillman and Andrade disapproving of draft press release.
 90   ANDRADE_DOJ_00027912     ANDRADE_DOJ_00027914             Re: draft press release
 91   ANDRADE_DOJ_00028259     ANDRADE_DOJ_00028259             Re: AML BitCoin Development Proposal
 92   ANDRADE_DOJ_00028260     ANDRADE_DOJ_00028260             AML BitCoin Proposal Presentation 20180510.pptx
 93   ANDRADE_DOJ_00028567     ANDRADE_DOJ_00028569             RE: Staff Invoices
 94   ANDRADE_DOJ_00029006     ANDRADE_DOJ_00029008             Re: CV Wireframes
 95   ANDRADE_DOJ_00029110     ANDRADE_DOJ_00029115             Tran, Bernadette Contract.PDF
 96   ANDRADE_DOJ_00029116     ANDRADE_DOJ_00029124             Tran, Bernadette NDA.PDF
 97   ANDRADE_DOJ_00029125     ANDRADE_DOJ_00029126             RE: Bernadette Resume & ID
 98   ANDRADE_DOJ_00029127     ANDRADE_DOJ_00029127             Melanie Cowan Resume.pdf
 99   ANDRADE_DOJ_00029361     ANDRADE_DOJ_00029363             Andrade forwards to Abramoff an email he sent to UCE.
100   ANDRADE_DOJ_00030159     ANDRADE_DOJ_00030162             RE: JM
101   ANDRADE_DOJ_00030180     ANDRADE_DOJ_00030180             RE: BT Skype
102   ANDRADE_DOJ_00030181     ANDRADE_DOJ_00030181             RE: BT Skype
103   ANDRADE_DOJ_00032193     ANDRADE_DOJ_00032194             Re: Requesting a Call
104   ANDRADE_DOJ_00032195     ANDRADE_DOJ_00032196             Congressman Roger Williams on Compliant Digital Currency.pdf
105   ANDRADE_DOJ_00032568     ANDRADE_DOJ_00032591             Japheth Signed NAC Employment Agreement.pdf
106   ANDRADE_DOJ_00032668     ANDRADE_DOJ_00032669             Fwd: w attachment
107   ANDRADE_DOJ_00033157     ANDRADE_DOJ_00033158             Re: Hello
108   ANDRADE_DOJ_00033451     ANDRADE_DOJ_00033452             Fwd: Digital Identity Network & Port of San Francisco
109   ANDRADE_DOJ_00033756     ANDRADE_DOJ_00033757             Fwd: draft press release
110   ANDRADE_DOJ_00033840     ANDRADE_DOJ_00033841             Fwd: Congrats on Idax.mn!


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111   ANDRADE_DOJ_00034305     ANDRADE_DOJ_00034305             BlockChain Entertainment Questions
112   ANDRADE_DOJ_00034306     ANDRADE_DOJ_00034310             BlockChain Entertainment Questions.pdf
113   ANDRADE_DOJ_00034311     ANDRADE_DOJ_00034315             BlockChain Entertainment Questions.docx
                                                                Andrade tells Darling and Abrmaoff to post Darling's article "Soccer Mom-Friendly
114
      ANDRADE_DOJ_00034676     ANDRADE_DOJ_00034679             AML Bitcoin."
115   ANDRADE_DOJ_00035102     ANDRADE_DOJ_00035103             Fwd: Google Alert - aml bitcoin""
116   ANDRADE_DOJ_00035328     ANDRADE_DOJ_00035330             Re: draft press release
117   ANDRADE_DOJ_00035678     ANDRADE_DOJ_00035678             ABTC Project
118   ANDRADE_DOJ_00057671     ANDRADE_DOJ_00057673             AtenPay-ANX-NAC PR.pdf
119   ANDRADE_DOJ_00081456     ANDRADE_DOJ_00081460             Draft press release that Katz eventually rejects.
120   ANDRADE_DOJ_00083252     ANDRADE_DOJ_00083253             Andrade forwards to FBI a draft press release from Dillman re SF Port.
121   FBI-00004316             FBI-00004338                     S.pdf
122   FBI-00021742             FBI-00021745                     RM E-BGC.pdf
123   FBI-00021834             FBI-00021948                     RM E-DEVELOPERS.pdf
124   FBI-00021999             FBI-00022010                     RM E-VERIFICATIONS.pdf
125   FBI-00022447             FBI-00022604                     MISC NOTE PADS 001.pdf
126   FBI-00024343             FBI-00024510                     MISC.pdf
127   FBI-00024846             FBI-00024848                     MISC FOLDER 001.pdf
128   FBI-00024849             FBI-00024853                     MISC FOLDER 002.pdf
129   FBI-00025319             FBI-00025451                     MISC BINDER 001.pdf
                                                                at FBI-00026307: Andrade's handwritten notes of investors in 2018-2019.
130
      FBI-00026302             FBI-00026369                     at FBI-00026329-30: Naimer Email to Andrade
131   FBI-00027240             FBI-00027491                     CONTRACTS_DOCUMENTS.pdf
132   FBI-00028856             FBI-00029025                     ABTC CORP.pdf
133   FBI-00029697             FBI-00029700                     Bookmarks.html
134   FBI-00033172             FBI-00033173                     AML Article 1 EDITED.docx
135   FBI-00033174             FBI-00033175                     AML Article 3 EDITED.docx
136   FBI-00033176             FBI-00033177                     AML Article 4 EDITED.docx
137   FBI-00033178             FBI-00033179                     AML Article 7 EDITED.docx
                                                                AML BitCoin Mail - Fwd_ Gavin Newsom for Governor event at GT on April
138
      FBI-00033240             FBI-00033240                     26.pdf
139   FBI-00033464             FBI-00033465                     AML Blog 14 EDITED.docx
                                                                Aten Group Limited Mail - FW_ can you get me John Szeder's bio and picture (jpg)
140
      FBI-00033701             FBI-00033702                     asap_ thanks _.pdf
141   FBI-00033705             FBI-00033707                     Aten Group Limited Mail - FW_ public facing CTO.pdf
                                                                Abramoff sends Andrade a draft article, written by Peter Roff, about Port of San
142
      FBI-00033708             FBI-00033709                     Francisco and AML Bitcoin. Andrade says it looks good.


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143   FBI-00034116            FBI-00034116                     Daily Tasks.docx
144   FBI-00035008            FBI-00035008                     Melanie Cowan Sworn Statement from call with Darren.docx
                                                               Microsoft Word - DRAFT 4.26.18 Invitation Newsom for Governor
145
      FBI-00035009            FBI-00035010                     Roundtable.docx.pdf
146   FBI-00035486            FBI-00035494                     18. Confidentiality Agreement Kelsie Prevost.pdf
147   FBI-00035781            FBI-00035786                     31. Employment Agreement Kelsie Prevost.pdf
148   FBI-00035801            FBI-00035802                     32. Independent Contractor Content Restrictions Kelsie Prevost.pdf
149   FBI-00035921            FBI-00035925                     42. Notarized Doc Melanie Cowan for AML BitCoin Terms and Conditions.pdf
150   FBI-00037125            FBI-00037125                     Daily Tasks.docx
151   FBI-00037605            FBI-00037605                     Invoice _ 0027.pdf
152   FBI-00037656            FBI-00037656                     Kelsie Prevost ID.pdf
153   FBI-00037681            FBI-00037681                     Melanie Cowan.pdf
154   FBI-00037682            FBI-00037683                     Melanie Cowan_Sworn Declaration.pdf
155   FBI-00037684            FBI-00037684                     Melanie Payroll Invoice 11.12 to 11.16.pdf
156   FBI-00037685            FBI-00037685                     Melanie Payroll Invoice for 11.17 to 11.23.pdf
157   FBI-00037686            FBI-00037686                     Melanie Payroll Invoice for Nov 2nd to Nov 9th.pdf
158   FBI-00037974            FBI-00037992                     PREVOST_KELSIE__App_ Resume_ NDA.pdf
159   FBI-00038187            FBI-00038194                     Summary 09.10-09.21.pdf
160   FBI-00039030            FBI-00039078                     1_AML Training for Employees Presentation.pptx
161   FBI-00039534            FBI-00039597                     4_FCPA Training for Employees Presentation.ppt
162   FBI-00039983            FBI-00039984                     AML BitCoin Mail - 11-16-18 - Connecting with Sachin.pdf
163   FBI-00040282            FBI-00040285                     AML BitCoin Mail - 9-4-17 - Hung's Bio.pdf
164   FBI-00040343            FBI-00040343                     AML BitCoin Mail - DITN Access FEB 13_ 2019.pdf
165   FBI-00040424            FBI-00040438                     AML BitCoin Mail - Fwd_ Info JAN 24_ 2019.pdf
166   FBI-00040827            FBI-00040860                     AML Compliance Plan__ABTC[38540].docx
167   FBI-00043854            FBI-00043854                     Designation of Compliance Officer__ABTC.docx
168   FBI-00048482            FBI-00048483                     AML BitCoin Mail - 4-1-19 - Fwd_ refund and what is going on.pdf
                                                               AML BitCoin Mail - Fwd_ Gavin Newsom for Governor event at GT on April
169
      FBI-00048635            FBI-00048635                     26.pdf
170   FBI-00049243            FBI-00049244                     Abramoff emails Andrade update to Roff article
171
      FBI-00049245            FBI-00049246                     Abramoff emails Andrade draft Roff article, and asks him not to send to anyone else.
172   FBI-00050614            FBI-00050614                     Invoice INV-0028.pdf
173   FBI-00052839            FBI-00052842                     AML BitCoin Mail - connecting you guys Oct 4_ 2017.pdf
174   FBI-00053080            FBI-00053080                     AML BitCoin Mail - NACFoundations-BLCH daily scrum call.pdf
                                                               AML BitCoin Mail - NACFoundations-BLCH_ Minutes of Meeting for Date_ May
175
      FBI-00053081            FBI-00053083                     06th to May 10th_ 2019.pdf


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176   FBI-00053181              FBI-00053182                       AML BitCoin Mail - Uphold Sep 20_ 2017.pdf
177   FBI-00054273              FBI-00054289                       NAC_ Dover Feb 2018 (1).pptm
178   FBI-00054290              FBI-00054312                       NAC_ Gibraltar metings_ Feb 2018.pptm
179   FBI-00054313              FBI-00054336                       NAC_ Kazach metings_ Feb 2018 (1).pptm
                                                                   RE_ Freedom Caucus eyes controversial former DeLay aide for top job -
180
      FBI-00068754              FBI-00068755                       POLITICO[460864].html
181   FBI-00085058              FBI-00085058                       hi[1239041].html
182   FBI-00085568              FBI-00085584                       NAC_ SF Port March 2018.pptm
183   FBI-00086388              FBI-00086389                       Re_ For Marcus[1241060].html
184   FBI-00086390              FBI-00086391                       RE_ For Marcus[1241061].html
                                                                   Email thread between Abramoff and Darling, titled "For Marcus." They brainstorm
185
      FBI-00086392              FBI-00086394                       press options for Versace and Ferrara.
186   FBI-00088288              FBI-00088289                       FW_ Digital Identity Network & Port of San Francisco.html
187   FBI-00098663              FBI-00098668                       RE_ FW_ Updates.html
                                                                   RE_ Law Office of Neil M. Sunkin_ APC Trust Account for NAC
188
      FBI-00099134              FBI-00099135                       Foundation[943794].html
189   FBI-00101045              FBI-00101052                       eStmt_2017-09-29 (1).pdf
190   FBI-00112276              FBI-00112277                       Intro.html
191   FBI-00119778              FBI-00119786                       058D-SF-2113481-302_0000254.pdf
192   FBI-302-000487            FBI-302-000492                     058D-SF-2113481-302_0000011_1A0000008_0000002.pdf
193   FBI-302-000493            FBI-302-000504                     058D-SF-2113481-302_0000011_1A0000008_0000003.pdf
194   FBI-302-000691            FBI-302-000693                     058D-SF-2113481-302_0000017_1A0000011_0000001.pdf
                                                                   Published: Versace, "This Could Flip the Digital-Coin Realm", The Street (Sept. 29,
195
      FBI-302-000694            FBI-302-000695                     2017)
                                                                   Published article: Darling, "Soccer Mom-Friendly AML Bitcoin Will Make Digital
196
      FBI-302-000700            FBI-302-000705                     Currencies Mainstream," Observer (Oct. 5, 2017)
197   FBI-302-001373            FBI-302-001374                     058D-SF-2113481-302_0000057_1A0000038_0000002.pdf
198   FBI-302-002104            FBI-302-002104                     Fwd: Welcome to the fund!
199   FBI-302-002625            FBI-302-002629                     058D-SF-2113481-302_0000166.pdf
200   FBI-302-002634            FBI-302-002636                     058D-SF-2113481-302_0000167.pdf
201   FBI-302-002663            FBI-302-002665                     058D-SF-2113481-302_0000171.pdf
202   FBI-302-002667            FBI-302-002673                     058D-SF-2113481-302_0000171_1A0000132_0000001.pdf
203   FBI-302-002885            FBI-302-002893                     058D-SF-2113481-302_0000178.pdf
204   FBI-302-002903            FBI-302-002909                     058D-SF-2113481-302_0000178_1A0000139_0000002.xps
205   FBI-302-002977            FBI-302-002977                     058D-SF-2113481-302_0000192.pdf
206   FBI-302-005287            FBI-302-005293                     058D-SF-2113481-302_0000284.pdf
207   FBI-302-005432            FBI-302-005458                     058D-SF-2113481-302_0000303.pdf


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208   FBI-302-009983            FBI-302-009988                     058D-SF-2113481-302_0000337.pdf
209   FBI-302-010179            FBI-302-010188                     058D-SF-2113481-302_0000351.pdf
210   FBI-302-010189            FBI-302-010194                     058D-SF-2113481-302_0000351_1A0000299_0000001.pdf
211   FBI-302-015578            FBI-302-015582                     058D-SF-2113481-302_0000166.pdf
212   FBI-302-015838            FBI-302-015846                     058D-SF-2113481-302_0000178.pdf
213   FBI-302-018751            FBI-302-018754                     058D-SF-2113481-302_0000265_1A0000218_0000001.pdf
214   FBI-302-018755            FBI-302-018757                     058D-SF-2113481-302_0000265_1A0000218_0000002.pdf
215   FBI-302-018762            FBI-302-018764                     058D-SF-2113481-302_0000265_1A0000218_0000004.pdf
216   FBI-302-019075            FBI-302-019081                     058D-SF-2113481-302_0000284.pdf
217   FBI-302-019493            FBI-302-019494                     058D-SF-2113481-302_0000310.pdf
218   FBI-302-023413            FBI-302-023418                     058D-SF-2113481-302_0000337.pdf
219   FBI-302-024676            FBI-302-024685                     058D-SF-2113481-302_0000351.pdf
220   FBI-302-026508            FBI-302-026508                     Cell or skype?
221   FBI-302-026509            FBI-302-026509                     Cloudflare
222   FBI-302-026510            FBI-302-026514                     Re: Contract Approval
223   FBI-302-026515            FBI-302-026519                     Re: Contract
224   FBI-302-026533            FBI-302-026534                     Re: Hello
225   FBI-302-026559            FBI-302-026559                     Introduction
226   FBI-302-026562            FBI-302-026562                     Re: Paperwork follow up
227   FBI-302-026563            FBI-302-026565                     Re: public facing CTO
228   FBI-302-026566            FBI-302-026566                     Re: can you get me John Szeder's bio and picture (jpg) asap? thanks .
229   FBI-302-026959            FBI-302-027116                     058D-SF-2113481-302_0000399_1A0000348_0000001.pdf
230   FBI-302-027117            FBI-302-027117                     058D-SF-2113481-302_0000399_1A0000348_0000002.pdf
231   FBI-302-027423            FBI-302-027428                     2015-08-20 Rene Acuna Purchase Agreement
232   FBI-302-027429            FBI-302-027429                     058D-SF-2113481-302_0000409_1A0000357_0000002.jpg
233   FBI-302-027430            FBI-302-027430                     058D-SF-2113481-302_0000409_1A0000357_0000003.jpg
234   FBI-302-027431            FBI-302-027431                     058D-SF-2113481-302_0000409_1A0000357_0000004.jpg
235   FBI-302-027432            FBI-302-027432                     058D-SF-2113481-302_0000409_1A0000357_0000005.jpg
236   FBI-302-027433            FBI-302-027433                     2014-07-23 Email to R. Acuna from Support Aten Coin
237   FBI-302-027434            FBI-302-027434                     058D-SF-2113481-302_0000409_1A0000357_0000007.jpg
238   FBI-302-027435            FBI-302-027435                     058D-SF-2113481-302_0000409_1A0000357_0000008.jpg
239   FBI-302-027469            FBI-302-027474                     058D-SF-2113481-302_0000413_1A0000362_0000001.pdf
240   FBI-302-027475            FBI-302-027475                     Darling's AML Bitcoin Token Log spreadsheet
241   FBI-302-027476            FBI-302-027476                     AML Bitcoin Post Log for Brian Darling
242   FBI-302-027477            FBI-302-027479                     058D-SF-2113481-302_0000413_1A0000364_0000001.pdf
243   FBI-302-027480            FBI-302-027485                     058D-SF-2113481-302_0000414.pdf
244   FBI-302-027486            FBI-302-027486                     058D-SF-2113481-302_0000414_1A0000365_0000001.TIF


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245   FBI-302-027487            FBI-302-027487                     058D-SF-2113481-302_0000414_1A0000365_0000002.tif
246   FBI-302-027488            FBI-302-027488                     058D-SF-2113481-302_0000414_1A0000365_0000003.tif
247   FBI-302-027489            FBI-302-027489                     058D-SF-2113481-302_0000414_1A0000365_0000004.tif
248   FBI-302-027490            FBI-302-027490                     058D-SF-2113481-302_0000414_1A0000365_0000005.tif
249   FBI-302-027491            FBI-302-027496                     058D-SF-2113481-302_0000414_1A0000365_0000006.pdf
250   FBI-302-027497            FBI-302-027497                     058D-SF-2113481-302_0000414_1A0000365_0000007.tif
251   FBI-302-027501            FBI-302-027505                     302 of McKenna of NBC
252   FBI-302-027509            FBI-302-027527                     Emails from McKenna at NBC
253   FBI-302-027528            FBI-302-027533                     FBI 302 of Tunis
                                                                   2018-01-23 Tunis email to NBC. "Fishing expedition for the Super Bowl". Attaches
254
      FBI-302-027537            FBI-302-027543                     AML Bitcoin script "AML Bitcoin Hacking V_1.pdf"
255   FBI-302-027544            FBI-302-027546                     AML Bitcoin ad script.
256   FBI-302-027559            FBI-302-027559                     2018-01-30 Tunis email to her supervisor: "Popping by shortly".
257   FBI-302-027571            FBI-302-027572                     058D-SF-2113481-302_0000418_1A0000375_0000001.pdf
258   FBI-302-027573            FBI-302-027575                     058D-SF-2113481-302_0000418_1A0000375_0000002.pdf
259   FBI-302-027578            FBI-302-027586                     058D-SF-2113481-302_0000419.pdf
                                                                   The published version of U.S. News article: Peter Roff, "The Future of
260
      FBI-302-027592            FBI-302-027597                     Cryptocurrency May be Now Thanks to More Mainstream Bitcoin".
261   FBI-302-027598            FBI-302-027598                     058D-SF-2113481-302_0000419_1A0000378_0000001.tif
                                                                   Abramoff sends a draft story to Peter Roff on AML Bitcoin. Abramoff also says "I'll
262
      FBI-302-027599            FBI-302-027599                     get the Marcus quotes to you asap."
263   FBI-302-027600            FBI-302-027600                     058D-SF-2113481-302_0000419_1A0000378_0000003.tif
264   FBI-302-027601            FBI-302-027601                     058D-SF-2113481-302_0000419_1A0000378_0000004.tif
265   FBI-302-027602            FBI-302-027602                     058D-SF-2113481-302_0000419_1A0000379_0000001.tif
266   FBI-302-027603            FBI-302-027604                     058D-SF-2113481-302_0000419_1A0000380_0000001.pdf
267   FBI-302-027605            FBI-302-027607                     058D-SF-2113481-302_0000419_1A0000380_0000002.pdf
268   FBI-GJ-0001079            FBI-GJ-0001081                     058D-SF-2113481-GJ-GJ_0000187_1A0000228_0000284.pdf
269   FBI-GJ-0003051            FBI-GJ-0003053                     058D-SF-2113481-GJ_0000182.pdf
270   FBI-GJ-0003055            FBI-GJ-0003056                     058D-SF-2113481-GJ_0000182_1A0000221_0000002.pdf
271   FBI-GJ-0003066            FBI-GJ-0003067                     058D-SF-2113481-GJ_0000182_1A0000221_0000006.pdf
272   FBI-GJ-0003083            FBI-GJ-0003086                     058D-SF-2113481-GJ_0000182_1A0000221_0000009.pdf
273   FBI-GJ-0003111            FBI-GJ-0003112                     058D-SF-2113481-GJ_0000182_1A0000222_0000007.pdf
274   FBI-GJ-0003122            FBI-GJ-0003123                     058D-SF-2113481-GJ_0000182_1A0000222_0000009.xls
275   FBI-GJ-0003129            FBI-GJ-0003130                     058D-SF-2113481-GJ_0000182_1A0000223_0000001.xlsx
276   FBI-GJ-0003131            FBI-GJ-0003132                     058D-SF-2113481-GJ_0000182_1A0000223_0000002.xls
277   FBI-GJ-0004949            FBI-GJ-0004951                     058D-SF-2113481-GJ_0000182.pdf
278   FBI-GJ-0004961            FBI-GJ-0004961                     NACFoundation_000056_CONFIDENTIAL.pdf



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279   FBI-GJ-0004962            FBI-GJ-0004963                     NACFoundation_000057_CONFIDENTIAL.pdf
280   FBI-GJ-0004964            FBI-GJ-0004964                     NACFoundation_000059_CONFIDENTIAL.pdf
281   FBI-GJ-0004974            FBI-GJ-0004974                     Subpoenaed image advertising ALM Bitcoin as "only digital currency you need"
282   FBI-GJ-0004975            FBI-GJ-0004975                     NACFoundation_000070_CONFIDENTIAL.pdf
283   FBI-GJ-0004976            FBI-GJ-0004976                     NACFoundation_000071_CONFIDENTIAL.pdf
284   FBI-GJ-0004978            FBI-GJ-0004978                     NACFoundation_000073_CONFIDENTIAL.pdf
285   FBI-GJ-0004979            FBI-GJ-0004979                     NACFoundation_000074_CONFIDENTIAL.pdf
286   FBI-GJ-0004980            FBI-GJ-0004980                     NACFoundation_000075_CONFIDENTIAL.pdf
287   FBI-GJ-0004981            FBI-GJ-0004981                     NACFoundation_000076_CONFIDENTIAL.pdf
288   FBI-GJ-0004982            FBI-GJ-0004982                     NACFoundation_000077_CONFIDENTIAL.pdf
289   FBI-GJ-0004984            FBI-GJ-0004984                     NACFoundation_000079_CONFIDENTIAL.pdf
290   FBI-GJ-0004985            FBI-GJ-0004985                     NACFoundation_000080_CONFIDENTIAL.pdf
291   FBI-GJ-0004989            FBI-GJ-0004989                     NACFoundation_000084_CONFIDENTIAL.pdf
292   FBI-GJ-0004990            FBI-GJ-0004990                     NACFoundation_000085_CONFIDENTIAL.pdf
293   FBI-GJ-0004994            FBI-GJ-0004994                     NACFoundation_000089_CONFIDENTIAL.pdf
294   FBI-GJ-0004998            FBI-GJ-0004998                     NACFoundation_000093_CONFIDENTIAL.pdf
295   FBI-GJ-0005000            FBI-GJ-0005000                     NACFoundation_000095_CONFIDENTIAL.pdf
296   FBI-GJ-0005001            FBI-GJ-0005001                     NACFoundation_000096_CONFIDENTIAL.pdf
297   FBI-GJ-0005004            FBI-GJ-0005004                     NACFoundation_000099_CONFIDENTIAL.pdf
298   FBI-GJ-0005008            FBI-GJ-0005008                     NACFoundation_000103_CONFIDENTIAL.pdf
299   FBI-GJ-0005009            FBI-GJ-0005009                     NACFoundation_000104_CONFIDENTIAL.pdf
300   FBI-GJ-0005011            FBI-GJ-0005011                     NACFoundation_000106_CONFIDENTIAL.pdf
301   FBI-GJ-0005013            FBI-GJ-0005013                     NACFoundation_000108_CONFIDENTIAL.pdf
302   FBI-GJ-0005014            FBI-GJ-0005014                     NACFoundation_000109_CONFIDENTIAL.pdf
303   FBI-GJ-0005016            FBI-GJ-0005016                     NACFoundation_000111_CONFIDENTIAL.pdf
304   FBI-GJ-0005023            FBI-GJ-0005023                     NACFoundation_000118_CONFIDENTIAL.pdf
305   FBI-GJ-0005028            FBI-GJ-0005028                     Twitter - AML Bitcoin Token Sale
306   FBI-GJ-0005033            FBI-GJ-0005033                     Twitter - AML Bitcoin Token Sale
307   FBI-GJ-0005036            FBI-GJ-0005036                     Twitter - AML Bitcoin Token Sale
308   FBI-GJ-0005040            FBI-GJ-0005040                     Twitter - AML Bitcoin Token Sale
309   FBI-GJ-0005041            FBI-GJ-0005041                     Twitter - AML Bitcoin Token Sale
310   FBI-GJ-0005042            FBI-GJ-0005042                     Twitter - AML Bitcoin Token Sale
311   FBI-GJ-0005043            FBI-GJ-0005043                     Twitter - AML Bitcoin Token Sale
312   FBI-GJ-0005044            FBI-GJ-0005044                     Twitter - AML Bitcoin Token Sale
313   FBI-GJ-0005045            FBI-GJ-0005045                     Ad - AML Bitcoin Token Sale
314   FBI-GJ-0005048            FBI-GJ-0005048                     Ad - AML Bitcoin Token Sale
315   FBI-GJ-0005049            FBI-GJ-0005049                     Ad - AML Bitcoin Token Sale


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316   FBI-GJ-0005050              FBI-GJ-0005050                     Ad - AML Bitcoin Token Sale
317   FBI-GJ-0005051              FBI-GJ-0005051                     Ad - AML Bitcoin
318   FBI-GJ-0005052              FBI-GJ-0005052                     Ad - AML Bitcoin
319   FBI-GJ-0005053              FBI-GJ-0005053                     Ad - AML Bitcoin
320   FBI-GJ-0005054              FBI-GJ-0005054                     Ad - AML Bitcoin
321   FBI-GJ-0005055              FBI-GJ-0005055                     Ad - AML Bitcoin
322   FBI-GJ-0005058              FBI-GJ-0005058                     Ad - AML Bitcoin
323   FBI-GJ-0005059              FBI-GJ-0005059                     Ad - AML Bitcoin
324   FBI-GJ-0005060              FBI-GJ-0005060                     Ad - AML Bitcoin
325   FBI-GJ-0005065              FBI-GJ-0005065                     Ad - AML Bitcoin
326   FBI-GJ-0005067              FBI-GJ-0005067                     Ad - AML Bitcoin
327   FBI-GJ-0005093              FBI-GJ-0005093                     Twitter - AML Bitcoin Token Sale
328   FBI-GJ-0005095              FBI-GJ-0005095                     Twitter - AML Bitcoin Token Sale
329   FBI-GJ-0006712              FBI-GJ-0006712                     Abramoff jokes to Roff about the approval process for quotes.
330   FBI-GJ-0006713              FBI-GJ-0006713                     ROFF_00018.txt
331   FBI-GJ-0006720              FBI-GJ-0006720                     ROFF_00025.txt
332   FBI-GJ-0006728              FBI-GJ-0006731                     ROFF_00032.txt
333   FBI-GJ-0006733              FBI-GJ-0006733                     ROFF_00002.tif
                                                                     Abramoff emails Roff: "Marcus prefers this: 'Andrade is the software engineer and
334
      FBI-GJ-0006744              FBI-GJ-0006744                     Texas entrepreneur'…"
335   FBI-GJ-0006763              FBI-GJ-0006763                     Roff Email; Abramoff TV show
336   FBI-GJ-0026395              FBI-GJ-0026397                     LK000890.pdf
337   FBI-MAIN-0000416            FBI-MAIN-0000417                   058D-SF-2113481_0000238.pdf
338   FBI-MAIN-0000418            FBI-MAIN-0000418                   058D-SF-2113481_0000238_1A0000112_0000001.png
339   FBI-MAIN-0000421            FBI-MAIN-0000421                   058D-SF-2113481_0000238_1A0000112_0000004.png
340   FBI-MAIN-0000422            FBI-MAIN-0000422                   058D-SF-2113481_0000238_1A0000112_0000005.png
341   FBI-MAIN-0000423            FBI-MAIN-0000423                   058D-SF-2113481_0000238_1A0000112_0000006.png
342   FBI-MAIN-0000566            FBI-MAIN-0000566                   Abramoff House Picture
343   FBI-MAIN-0000567            FBI-MAIN-0000567                   Abramoff House Picture
344   FBI-MAIN-0000568            FBI-MAIN-0000568                   Abramoff House- Trucks Picture
345   FBI-MAIN-0000725            FBI-MAIN-0000725                   Ablett 302 - Screenshots of amlbitcoin.com website
346   FBI-MAIN-0000726            FBI-MAIN-0000726                   058D-SF-2113481_0000358_1A0000169_0000001.zipx
347   FBI-MAIN-0000874            FBI-MAIN-0000874                   Abramoff House- Trucks Picture
348   FBI-MAIN-0000875            FBI-MAIN-0000875                   Abramoff House- Trucks Picture
349   FBI-MAIN-0001199            FBI-MAIN-0001201                   Press release on AtenCoin and NAC Foundation.
350   FBI-MAIN-0002236            FBI-MAIN-0002236                   NBCU_012.JPG. McKenna email to NBC team re unsigned credit application.
351   FBI-MAIN-0002237            FBI-MAIN-0002237                   NBCU_013.JPG. Clachko email re sending to McKenna for financial approval.



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352   FBI-MAIN-0002240            FBI-MAIN-0002240                 NBCU_016.JPG. McKenna email
353   FBI-MAIN-0002241            FBI-MAIN-0002241                 NBCU_017.JPG. McKenna email
354   FBI-MAIN-0002242            FBI-MAIN-0002242                 NBCU_018.JPG. Chet Fenster email
355   FBI-MAIN-0002243            FBI-MAIN-0002243                 NBCU_019.JPG
356   FBI-MAIN-0002244            FBI-MAIN-0002244                 NBCU_020.JPG
357   FBI-MAIN-0002245            FBI-MAIN-0002245                 NBCU_021.JPG
358   FBI-MAIN-0002246            FBI-MAIN-0002246                 NBCU_022.JPG
359   FBI-MAIN-0002247            FBI-MAIN-0002247                 NBCU_023.JPG
360   FBI-MAIN-0002248            FBI-MAIN-0002248                 NBCU_024.JPG
361   FBI-MAIN-0002249            FBI-MAIN-0002249                 NBCU_025.JPG
362   FBI-MAIN-0002250            FBI-MAIN-0002250                 NBCU_026.JPG
363   FBI-MAIN-0002251            FBI-MAIN-0002251                 NBCU_027.JPG
364   FBI-MAIN-0002252            FBI-MAIN-0002252                 NBCU_028.TIF. John Bryan credit application to NBC.
365   FBI-MAIN-0002253            FBI-MAIN-0002253                 NBCU_029.TIF. Bryan tax form for NBC
366   FBI-MAIN-0002259            FBI-MAIN-0002259                 NBCU_035.JPG. Bryan tax form for NBC
367   FBI-MAIN-0002262            FBI-MAIN-0002262                 NBCU_038.JPG. McKenna email
368   FBI-MAIN-0002265            FBI-MAIN-0002265                 NBCU_041.JPG. McKenna email re Bridger check
369   FBI-MAIN-0002268            FBI-MAIN-0002268                 NBCU_044.JPG. Email re Bridger check
370   FBI-MAIN-0002269            FBI-MAIN-0002269                 NBCU_045.JPG
371   FBI-MAIN-0002274            FBI-MAIN-0002274                 NBCU_050.TIF
                                                                   NBCU_051.TIF. Tunis email to her supervisor: "Popping by shortly". Duplicate of
372
      FBI-MAIN-0002275            FBI-MAIN-0002275                 Ex. 256
373
      FBI-MAIN-0002276            FBI-MAIN-0002276                 NBCU_052.TIF. Kay responds to Tunis's request to look for "fishing expedition."
374   FBI-MAIN-0002277            FBI-MAIN-0002277                 NBCU_053.JPG. End of email in Ex. 374
375   FBI-MAIN-0002278            FBI-MAIN-0002278                 NBCU_054.JPG. Email from Lovinger.
376   FBI-MAIN-0002280            FBI-MAIN-0002280                 NBCU_056.TIF. Bitcoin ad script, title page
377   FBI-MAIN-0002282            FBI-MAIN-0002282                 NBCU_058.TIF. Bitcoin ad script, page 1
378   FBI-MAIN-0002283            FBI-MAIN-0002283                 NBCU_059.TIF. Bitcoin ad script, page 2
379   FBI-MAIN-0002284            FBI-MAIN-0002284                 NBCU_060.TIF. Bitcoin ad script, page 3
380   FBI-MAIN-0050976            FBI-MAIN-0050978                 Andrade Bio
381   FBI-MAIN-0051084            FBI-MAIN-0051084                 Andrade Rolls Royce Picture
382   FBI-MEDIA-000029            FBI-MEDIA-000032                 Port Strategy article titled "Ports wary of the bitcoin bubble."
383   FBI-MEDIA-000045            FBI-MEDIA-000047                 FBI download of May 25, 2015 press release about Aten "Black Gold" Coin
                                                                   FBI download of March 23, 2015 press release about National Aten Coin
384
      FBI-MEDIA-000048            FBI-MEDIA-000049                 Foundation accepted into American Bankers Association




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                                                                     FBI download of article in Coindesk. Article quotes Andrade's claims that DOJ is
385
      FBI-MEDIA-000072            FBI-MEDIA-000074                   extorting him.
386   FBI-MEDIA-000075            FBI-MEDIA-000075                   FBI screenshot of AML Bitcoin social media post - Twitter banner
                                                                     FBI screenshot of AML Bitcoin social media post - Tweet (Compliant with
387
      FBI-MEDIA-000102            FBI-MEDIA-000102                   Biometric Identification; IDAX exchange listing)
                                                                     FBI screenshot of AML Bitcoin social media post - Tweet (Link to AMLtoken.com
388                                                                  with AML & KYC Complaint Cryptocurrency with Biometric Identity; HITbtc
      FBI-MEDIA-000149            FBI-MEDIA-000149                   exchange)
389
      FBI-MEDIA-000150            FBI-MEDIA-000150                   FBI screenshot of AML Bitcoin social media post - Tweet (HitBTC coming soon)
                                                                     FBI screenshot of AML Bitcoin social media post - Tweet (only 8 days left to
390
      FBI-MEDIA-000171            FBI-MEDIA-000171                   purchase first AML/KYC/Patriot Act Coin that's compliant; ICO)
                                                                     FBI screenshot of AML Bitcoin social media post - Tweet (Phase 2 of
391
      FBI-MEDIA-000244            FBI-MEDIA-000244                   AML/KYC/Patriot Act Coin)
                                                                     FBI screenshot of AML Bitcoin social media post - Tweet (token Sale Is Happening
392
      FBI-MEDIA-000254            FBI-MEDIA-000254                   NOW!)
393   FBI-PHY3-0141110            FBI-PHY3-0142018                   Andrade/John Crawford email chain - payment dispute
394   FBI-PHY3-0142019            FBI-PHY3-0143181                   Naimer email on Panama Trip; Morgan & Morgan
395   FBI-PHY3-0146359            FBI-PHY3-0153777                   DocumentsReport_2020-08-18_13-54-41_13.pdf
396   FBI-PHY3-0153778            FBI-PHY3-0154646                   DocumentsReport_2020-08-18_13-54-41_2.pdf
397   FBI-PHY3-0154647            FBI-PHY3-0156576                   DocumentsReport_2020-08-18_13-54-41_3.pdf
398   FBI-PHY3-0162302            FBI-PHY3-0163465                   DocumentsReport_2020-08-18_13-54-41_9.pdf
                                                                     Email from Melanie Cowan to Michael Witte regarding Texas lawsuit against Ralph
399
      IRS-DOCS-00000379           IRS-DOCS-00000379                  Horne.
400   IRS-DOCS-00032082           IRS-DOCS-00032090                  302 Foteh Melissa 2019-02-13.pdf
401   SEC-USAO-EPROD-000011409    SEC-USAO-EPROD-000011520           Press_Releases from FBI (2020-06-20).pdf
402   SEC-USAO-EPROD-000012584    SEC-USAO-EPROD-000012668           screencapture-twitter-amlbitcoin-2020-11-06-14_28_22.pdf
403   FBI-PHY-045346              FBI-PHY-045346                     Photo of Gavin Newsom and Andrade.
404
      FBI-PHY-045348              FBI-PHY-045348                     Screenshot of online photo of Gavin Newsom and Andrade. (same as PHY-045346)
405   FBI-PHY-074693              FBI-PHY-074695                     RE: Please confirm PR 1
406   FBI-PHY-074765              FBI-PHY-074766                     Shows Andrade controls AML Bitcoin Facebook page
                                                                     Abramoff email to Bryan. Abramoff asks if there any other action items for Marcus
407
      FBI-PHY-099349              FBI-PHY-099350                     to take, and edits Bryan's draft of "CRITICAL ISSUES"
408   FBI-PHY-099543              FBI-PHY-099543                     Abramoff sending NDA to John Byran, Ccing Andrade and Foteh
                                                                     NAC Foundation and Andrade's template for his non-disclosure agreements
409
      FBI-PHY-099544              FBI-PHY-099552                     (NDAs).


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410   FBI-PHY-102343            FBI-PHY-102344                     Re: CONFERENCE CALL
411   FBI-PHY-102349            FBI-PHY-102350                     Re: CONFERENCE CALL
412   FBI-PHY-102644            FBI-PHY-102644                     FW: SIGNED AGREEMENT
413   FBI-PHY-103239            FBI-PHY-103242                     AMA with AML BitCoin's Marcus Andrade
414   FBI-PHY-103779            FBI-PHY-103779                     Re: AML Bitcoin
415   FBI-PHY-103837            FBI-PHY-103839                     AML Bitcoin Token Sale: ID Verification
416   FBI-PHY-103840            FBI-PHY-103842                     AML Bitcoin Token Sale Update
                                                                   Email thread discussing market making / market manipulation plan. John Bryan
417
      FBI-PHY-104589            FBI-PHY-104590                     emails group and attaches "Project Sunshine" plan.
                                                                   Bryan emails "Project Sunshine" market making plan to Andrade, Abramoff, and
418
      FBI-PHY-104604            FBI-PHY-104605                     others.
                                                                   Market making plan, which Bryan attached to June 5, 2018 email to Andrade and
419
      FBI-PHY-104606            FBI-PHY-104609                     others.
                                                                   Email: Andrade asks Karl Ruzicka to send money to John Bryan. Bryan asks
420
      FBI-PHY-104877            FBI-PHY-104877                     Abramoff if Andrade could wire instead.
421   FBI-PHY-108086            FBI-PHY-108087                     A withdrawal of $4,000.00 USD has been started
422   FBI-PHY-108088            FBI-PHY-108089                     A withdrawal of $10,000.00 USD has been started
423   FBI-PHY-108092            FBI-PHY-108093                     You just sent 1.94751181 BTC to GDAX
424   FBI-PHY-108094            FBI-PHY-108095                     You just received 1.94751181 BTC
425   FBI-PHY-108273            FBI-PHY-108274                     Your money transfer is ready for pickup
426   FBI-PHY-108275            FBI-PHY-108278                     Your transfer has been sent
427   FBI-PHY-108293            FBI-PHY-108294                     Your money transfer is ready for pickup
                                                                   Bryan emails Abramoff a document of "DETAILED SPENDING" on marketing
428
      FBI-PHY-108356            FBI-PHY-108356                     campaign.
                                                                   Bryan emails Abramoff a document of "DETAILED SPENDING" on marketing
429
      FBI-PHY-108357            FBI-PHY-108358                     campaign.
                                                                   Abramoff drafts, for Bryan, a letter from Bryan to an "Eric Olsen" in Vegas about
430
      FBI-PHY-108759            FBI-PHY-108760                     the Super Bowl.
                                                                   130916 - The Watly Group LLC - GME - Executive Producer Term Sheet (Fully
431
      FBI-PHY-108761            FBI-PHY-108766                     Executed).pdf
432   FBI-PHY-108767            FBI-PHY-108767                     Marcus Email.pdf
433   FBI-PHY-108768            FBI-PHY-108769                     Summary Super Bowl Ad Jume 1 18.pdf
434   FBI-PHY-108770            FBI-PHY-108771                     RE: for letterhead/signature/pdf asap
435   FBI-PHY-108792            FBI-PHY-108792                     RE: Super Bowl Commercial
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts. -
436
      FBI-PHY-110550            FBI-PHY-110550                     Facebook (@AMLBlockchain) About page




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                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts. -
437                                                                Instagram top of page (world's 1st AML/KYC/Patriot Act Coin with Biometric
      FBI-PHY-110551            FBI-PHY-110551                     Identification.)
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts. -
438
      FBI-PHY-110553            FBI-PHY-110553                     Instagram (many features of AML BitCoin)
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts. -
439
      FBI-PHY-110554            FBI-PHY-110554                     Instagram (link to Andrade AMA)
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts. -
440
      FBI-PHY-110555            FBI-PHY-110555                     Instagram (Join the Crypto Revolution)
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts. -
441
      FBI-PHY-110556            FBI-PHY-110556                     Instagram (Now Available On: IDAX, OVIS, EXRATES)
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts. -
442
      FBI-PHY-110557            FBI-PHY-110557                     Instagram (Compliance is Key)
443   FBI-PHY-110558            FBI-PHY-110558                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
444   FBI-PHY-110560            FBI-PHY-110560                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
445   FBI-PHY-110561            FBI-PHY-110561                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
446
      FBI-PHY-110562            FBI-PHY-110562                     AMA
447   FBI-PHY-110563            FBI-PHY-110563                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
448   FBI-PHY-110564            FBI-PHY-110564                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
449
      FBI-PHY-110565            FBI-PHY-110565                     Links to White Paper.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
450
      FBI-PHY-110569            FBI-PHY-110569                     Coin can't be stolen
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
451
      FBI-PHY-110574            FBI-PHY-110574                     Andrade CEO Founder Creator
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
452
      FBI-PHY-110576            FBI-PHY-110576                     Photo of Andrade meeting at the Port of San Francisco.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
453
      FBI-PHY-110577            FBI-PHY-110577                     Instagram photo with Gavin Newsom.
454   FBI-PHY-110585            FBI-PHY-110585                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
455
      FBI-PHY-110596            FBI-PHY-110596                     High demand for ICO; ICO extended
456   FBI-PHY-110597            FBI-PHY-110597                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
457   FBI-PHY-110598            FBI-PHY-110598                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts. 5
458
      FBI-PHY-110599            FBI-PHY-110599                     days until ICO closing


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459   FBI-PHY-110602            FBI-PHY-110602                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
460
      FBI-PHY-110603            FBI-PHY-110603                     Super Bowl ad that NFL refused to air.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
461
      FBI-PHY-110605            FBI-PHY-110605                     Super Bowl ad that NFL refused to air.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
462
      FBI-PHY-110607            FBI-PHY-110607                     Super Bowl founder's letter.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts. 18
463
      FBI-PHY-110609            FBI-PHY-110609                     days until ICO close; big logo.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
464
      FBI-PHY-110612            FBI-PHY-110612                     Hours left to buy.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
465
      FBI-PHY-110619            FBI-PHY-110619                     Date of Phase II; comments on AtenCoin.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
466
      FBI-PHY-110627            FBI-PHY-110627                     Checklist of compliance.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
467
      FBI-PHY-110630            FBI-PHY-110630                     AML and KYC strict compliance.
468   FBI-PHY-110631            FBI-PHY-110631                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
469   FBI-PHY-110632            FBI-PHY-110632                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
470   FBI-PHY-110634            FBI-PHY-110634                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
471
      FBI-PHY-110641            FBI-PHY-110641                     Link to White Paper.
472   FBI-PHY-110645            FBI-PHY-110645                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
473
      FBI-PHY-110652            FBI-PHY-110652                     Twitter splash page with banner.
474   FBI-PHY-110656            FBI-PHY-110656                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
475   FBI-PHY-110657            FBI-PHY-110657                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
476   FBI-PHY-110659            FBI-PHY-110659                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
477   FBI-PHY-110660            FBI-PHY-110660                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
478   FBI-PHY-110662            FBI-PHY-110662                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
479   FBI-PHY-110663            FBI-PHY-110663                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
480   FBI-PHY-110664            FBI-PHY-110664                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
481   FBI-PHY-110666            FBI-PHY-110666                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
482   FBI-PHY-110667            FBI-PHY-110667                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
483   FBI-PHY-110668            FBI-PHY-110668                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
484   FBI-PHY-110669            FBI-PHY-110669                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
485   FBI-PHY-110678            FBI-PHY-110678                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.



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                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
486
      FBI-PHY-110679            FBI-PHY-110679                     Biometrics and IDAX exchange.
487   FBI-PHY-110684            FBI-PHY-110684                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
488
      FBI-PHY-110689            FBI-PHY-110689                     Tweet of Port of SF photo
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
489
      FBI-PHY-110690            FBI-PHY-110690                     Newsom photo on Twitter.
490   FBI-PHY-110727            FBI-PHY-110727                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
491
      FBI-PHY-110728            FBI-PHY-110728                     IBD article on AML Bitcoin Revolution
492   FBI-PHY-110735            FBI-PHY-110735                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
493   FBI-PHY-110745            FBI-PHY-110745                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
494
      FBI-PHY-110749            FBI-PHY-110749                     Super Bowl
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
495
      FBI-PHY-110750            FBI-PHY-110750                     Link to Super Bowl commercial on YouTube
496   FBI-PHY-110751            FBI-PHY-110751                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
497
      FBI-PHY-110754            FBI-PHY-110754                     Super Bowl alternate endings
498   FBI-PHY-110755            FBI-PHY-110755                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
499   FBI-PHY-110756            FBI-PHY-110756                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
500   FBI-PHY-110757            FBI-PHY-110757                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
501   FBI-PHY-110758            FBI-PHY-110758                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
502                                                                Tweet link to Ferrara's Spectator article: "New AML Bitcoin Can Shut Down North
      FBI-PHY-110760            FBI-PHY-110760                     Korea Abuse of Old Bitcoin" (February 2, 2018)
503   FBI-PHY-110761            FBI-PHY-110761                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
504   FBI-PHY-110762            FBI-PHY-110762                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
505
      FBI-PHY-110763            FBI-PHY-110763                     Tweet link to NFL letter.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
506
      FBI-PHY-110778            FBI-PHY-110778                     Twitter link to "Soccer Mom" Observer article.
507   FBI-PHY-110796            FBI-PHY-110796                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
508   FBI-PHY-110805            FBI-PHY-110805                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
509   FBI-PHY-110807            FBI-PHY-110807                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
510   FBI-PHY-110808            FBI-PHY-110808                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
511   FBI-PHY-110809            FBI-PHY-110809                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.


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                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
512
      FBI-PHY-110815            FBI-PHY-110815                     Link to What is AML Bitcoin on Youtube; Tweet.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
513
      FBI-PHY-110817            FBI-PHY-110817                     ICO extended to meet demand.
514   FBI-PHY-110821            FBI-PHY-110821                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
515                                                                Retweet of Panama news article "AML Bitcoin Negotiating with Panamanian
      FBI-PHY-110838            FBI-PHY-110838                     Government"
516   FBI-PHY-110861            FBI-PHY-110861                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
517
      FBI-PHY-110864            FBI-PHY-110864                     Founder on track to partner with Panama Canal.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
518
      FBI-PHY-110869            FBI-PHY-110869                     Founder on track to partner with Panama Canal.
519   FBI-PHY-110893            FBI-PHY-110893                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
520   FBI-PHY-110944            FBI-PHY-110944                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
521   FBI-PHY-110949            FBI-PHY-110949                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
522   FBI-PHY-110953            FBI-PHY-110953                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
523                                                                Tweet to link of "Soccer Mom" article. Tweeted again in Exhibit 506 in January
      FBI-PHY-110991            FBI-PHY-110991                     2018.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
524
      FBI-PHY-111000            FBI-PHY-111000                     Public token sale coming in one day.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
525
      FBI-PHY-111001            FBI-PHY-111001                     Public token sale coming in one day.
526   FBI-PHY-111005            FBI-PHY-111005                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
527   FBI-PHY-111008            FBI-PHY-111008                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
528
      FBI-PHY-111009            FBI-PHY-111009                     Link to White Paper.
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
529                                                                Retweet of The Street article written by Versace: "This New Bitcoin Could Totally
      FBI-PHY-111013            FBI-PHY-111013                     Change the Game"
                                                                   FBI screenshot of online content posted by AML Bitcoin's social media accounts.
530
      FBI-PHY-111035            FBI-PHY-111035                     "Government Panama launched AML Bitcoin"; links to an article.

531                                                                FBI screenshot of online content posted by AML Bitcoin's social media accounts.
      FBI-PHY-111045            FBI-PHY-111045                     Twitter link to US News "Future May Be Now" article about Port of San Francisco.
532   FBI-PHY-111048            FBI-PHY-111048                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.


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                                                                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
533
      FBI-PHY-111054              FBI-PHY-111054                     Tweet defining the NAC Foundation.
534   FBI-PHY-111059              FBI-PHY-111059                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
535   FBI-PHY-111087              FBI-PHY-111087                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
536   FBI-PHY-111099              FBI-PHY-111099                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
537   FBI-PHY-111100              FBI-PHY-111100                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
                                                                     FBI screenshot of online content posted by AML Bitcoin's social media accounts.
538
      FBI-PHY-111118              FBI-PHY-111118                     AtenCoin representations; "100%" compliant AML KYC
539   FBI-PHY-111336              FBI-PHY-111336                     Screenshot_20190623-093025.png
540   FBI-PHY-111456              FBI-PHY-111456                     Screenshot_20190619-074956.png
541   FBI-PHY-111478              FBI-PHY-111478                     Screenshot_20190810-232102.png
542   FBI-PHY2-2926257            FBI-PHY2-2926257                   FW: pre-ICOs email addresses
543   FBI-PHY2-3056031            FBI-PHY2-3056392                   a WhatsApp thread between Andrade and Abramoff.
                                                                     Nevada Secretary of State Incorporation documents for NAC Foundation. Starts at
544
      FBI-PHY3-0035554            FBI-PHY3-0035604                   FBI-PHY3-0035572
545   FBI-PHY3-0093421            FBI-PHY3-0093421                   GAvinNewsome.PNG
546   FBI-PHY3-0093430            FBI-PHY3-0093430                   LateNightCall1.PNG
547   FBI-PHY3-0093465            FBI-PHY3-0093465                   Urgency2.PNG
548   FBI-PHY3-0093796            FBI-PHY3-0093797                   Re: CRAFT Follow Up Regarding Digital Advertising
549   FBI-PHY3-0093798            FBI-PHY3-0093798                   Letter from Andrade to NFL's Goodell.
550   FBI-PHY3-0093805            FBI-PHY3-0093807                   A media advisory titled Cryptocurrency 2.0: AML Bitcoin vs. The Bitcoin Elite
551   FBI-PHY3-0097518            FBI-PHY3-0097671                   List of people invoiced for buying AML Bitcoin during the ICO.
552   FBI-PHY3-0104491            FBI-PHY3-0104497                   NAC's 2014 Aten Coin Summary Report.pdf
553   FBI-PHY3-0104510            FBI-PHY3-0104514                   NAC's 2015 Aten Coin Summary Report.pdf
                                                                     Abramoff emails to Foteh the electronically signed version of Andrade's letter to the
554
      FBI-PHY3-0105773            FBI-PHY3-0105773                   NFL about the Super Bowl ad "rejection."
555   FBI-PHY3-0105812            FBI-PHY3-0105812                   FW: Order Confirmation
556   FBI-PHY3-0105892            FBI-PHY3-0105892                   RE: AMA on AMLBitcointalk
557   FBI-PHY3-0105924            FBI-PHY3-0105925                   RE: AMA Questions
558   FBI-PHY3-0105936            FBI-PHY3-0105940                   RE: AMA with AML BitCoin's Marcus Andrade
559   FBI-PHY3-0105941            FBI-PHY3-0105941                   RE: AMA With Marcus: Update
560   FBI-PHY3-0107034            FBI-PHY3-0107034                   Andrade asks Foteh to have Melanie Cowan create accounts and press.
561   FBI-PHY3-0107386            FBI-PHY3-0107387                   Re: FW: AMA Questions- Second Round
562   FBI-PHY3-0107388            FBI-PHY3-0107395                   AMA Questions 2 MA, 5-19-18.docx
563   FBI-PHY3-0112342            FBI-PHY3-0112342                   031319_2 719.png
564   FBI-PHY3-0112349            FBI-PHY3-0112349                   031319_2 726.png
565   FBI-PHY3-0112350            FBI-PHY3-0112350                   031319_2 727.png



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566   FBI-PHY3-0112369            FBI-PHY3-0112369                 031319_2 747.png
567   FBI-PHY3-0112453            FBI-PHY3-0112453                 031319_2 831.png
568   FBI-PHY3-0112454            FBI-PHY3-0112454                 031319_2 832.png
569   FBI-PHY3-0112456            FBI-PHY3-0112456                 031319_2 834.png
570   FBI-PHY3-0112458            FBI-PHY3-0112458                 031319_2 836.png
571   FBI-PHY3-0112460            FBI-PHY3-0112460                 031319_2 838.png
572   FBI-PHY3-0112461            FBI-PHY3-0112461                 031319_2 839.png
573   FBI-PHY3-0112462            FBI-PHY3-0112462                 031319_2 840.png
574   FBI-PHY3-0112463            FBI-PHY3-0112463                 031319_2 841.png
575   FBI-PHY3-0112479            FBI-PHY3-0112479                 031319_2 857.png
576   FBI-PHY3-0112520            FBI-PHY3-0112520                 031319_2 898.png
577   FBI-PHY3-0112523            FBI-PHY3-0112523                 031319_2 901.png
578   FBI-PHY3-0143182            FBI-PHY3-0145335                 DocumentsReport_2020-08-18_13-54-41_11.pdf
579   FBI-MAIN-0003758            FBI-MAIN-0003758                 Recording of phone call between Ben Boyer and Andrade.
580   FBI-00119946                FBI-00119946                     UCE-7410's video recording of Skype call with Andrade.
581   FBI-PHY3-0132371            FBI-PHY3-0132371                 YouTube video, 2 minutes long, titled "What is AML Bitcoin"
582   FBI-PHY3-0132357            FBI-PHY3-0132357                 YouTube video of AML Bitcoin's Super Bowl ad
583   FBI-PHY3-0142019            FBI-PHY3-0142022                 Naimer emails, Morgan & Morgan
584   FBI-PHY3-0142060            FBI-PHY3-0142064                 DITN Financial Projections
585   FBI-PHY3-0142065            FBI-PHY3-0142068                 Morgan & Morgan MOU
586   FBI-PHY3-0141124            FBI-PHY3-0141129                 Mata/Andrade negotiations about Mata possibly becoming AML Bitcoin CEO
                                                                   Darling/Andrade emails. Darling complains to Andrade about wallet not working
                                                                   and Andrade's threatened litigation. Andrade writes that he's aware of tehcnical
587   FBI-PHY3-0141172            FBI-PHY3-0141173                 issues.
588   FBI-PHY3-0141174            FBI-PHY3-0141179                 Andrade/Ovis share listing
589   FBI-PHY3-0141191            FBI-PHY3-0141191                 Darling email to Andrade/Abramoff
                                                                   Andrade/Mata email. Andrade says "Please know that I am no longer able to make
590   FBI-PHY3-0141192            FBI-PHY3-0141193                 any type of coin offers for compliance reasons."
591   FBI-PHY3-0141301            FBI-PHY3-0141313                 Andrade/Naimer stock transfer email
592   FBI-PHY3-0141336            FBI-PHY3-0141343                 Andrade/Naimer stock transfer email 2
                                                                   Andrade/Mata email about Boyer. Mata forwards (to Andrade) Boyer's contact
593   FBI-PHY3-0141962            FBI-PHY3-0141980                 information.
594   FBI-PHY3-0141930            FBI-PHY3-0141934                 Naimer/Quantick email
                                                                   Naimer/Abramoff email. Abramoff forwards Naimer's email, and asks Andrade what
595   FBI-00026329                FBI-00026330                     he wants to do about DIT/Cross-Verify shutting down.
596   FBI-00026333                FBI-00026335                     Naimer/Andrade email




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                                                                   Jodoins' timeline of events starting in early 2015; Business Plan document to
597   FBI-PHY3-0004928            FBI-PHY3-0004932                 Andrade and Jodoins.
                                                                   Andrade email to Thomas Kane re AtenCoin and CrossVerify. "Tie biometrics
                                                                   actually to AML-KYC … We will be announcing a government contract soon.
598   FBI-PHY3-0160342            FBI-PHY3-0160344                 Worth 30M a year."
                                                                   Abramoff email to Andrade, forwarding from Foteh. Foteh states that C-CEX is a
599   FBI-PHY3-0160474            FBI-PHY3-0160479                 scam. Abramoff asks "what is our response .. Are we concerned"?

                                                                   Andrade emails Foteh for how many coins have been issued, how many are in
600   FBI-PHY3-0158073            FBI-PHY3-0158075                 reserve, and who holds coins. Foteh responds with a summary of Aten distribution.
                                                                   Mata emails Andrade an invoice for Aharonoff and Boyer purchases. Invoice shows
601   FBI-PHY3-0154696            FBI-PHY3-0154698                 $50K from each; 25% commission for Mata.
602   FBI-PHY3-0154699            FBI-PHY3-0154713                 Mata emails Andrade the purchase agreement for Ben Boyer.
603   FBI-PHY3-0154734            FBI-PHY3-0154748                 Mata emails Andrade the purchase agreement for Daniel Aharonoff
604   FBI-PHY3-0154083            FBI-PHY3-0154085                 Andrade tells Karl Ruzicka to pay Mata for $150K Aharonoff sale.

605   FBI-PHY3-0155132            FBI-PHY3-0155163                 Abramoff forwards Andrade his Whatsapp/emails with DeLaGuardia about Panama.
                                                                   At Andrade's request, Ruzicka forwards Chase bank statements for audit of the ICO.
606   FBI-PHY3-0155595            FBI-PHY3-0155676                 The bank statements show balances over $2M in the accounts.
                                                                   Abramoff forwards an email that Abramoff sent to UCE. Abramoff tells Andrade to
607   ANDRADE_DOJ_00029343        ANDRADE_DOJ_00029343             keep an eye out for UCE's call.
                                                                   Andrade email stating "the list of names below are the purchases that belong to
608   ANDRADE_DOJ_00029384        ANDRADE_DOJ_00029384             Corey Jodoin"
609   ANDRADE_DOJ_00034222        ANDRADE_DOJ_00034223             Andrade email pitching UCE.
                                                                   Jodoin email to Carl Weir to let him know that "Marcus and I will be traveling to
610   ANDRADE_DOJ_00054322        ANDRADE_DOJ_00054324             London"
611   ANDRADE_DOJ_00054325        ANDRADE_DOJ_00054325             Letter attached to email from Jodoin
612   ANDRADE_DOJ_00055974        ANDRADE_DOJ_00055975             Fwd: Offer
613   ANDRADE_DOJ_00059998        ANDRADE_DOJ_00059999             Fwd: Offer
614   ANDRADE_DOJ_00061145        ANDRADE_DOJ_00061145             [No Subject]
615   ANDRADE_DOJ_00061146        ANDRADE_DOJ_00061147             Terms Sheet.docx
616   ANDRADE_DOJ_00062711        ANDRADE_DOJ_00062712             Share Agreement
617   ANDRADE_DOJ_00066167        ANDRADE_DOJ_00066167             SHARE Term Sheet
618   ANDRADE_DOJ_00066168        ANDRADE_DOJ_00066170             TermSheetMar03.docx
619   ANDRADE_DOJ_00068753        ANDRADE_DOJ_00068754             Fwd: Aten coin article
620   ANDRADE_DOJ_00068812        ANDRADE_DOJ_00068812             Brandi Jodoin Agnieska Bilinska marketing email
621   ANDRADE_DOJ_00068813        ANDRADE_DOJ_00068826             docs Comparison between Aten Coin & Bitcoin 20151001 (4).docx


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622   ANDRADE_DOJ_00068827        ANDRADE_DOJ_00068828             Aten Coin vs Bitcoin: Your Questions Answered Flyer (no attribution)
623   ANDRADE_DOJ_00068887        ANDRADE_DOJ_00068887             Brandi Jodoin Agnieska Bilinska marketing email
624   ANDRADE_DOJ_00068888        ANDRADE_DOJ_00068888             NAC Foundation website info.pdf
625   FBI-00094363                FBI-00094364                     Bryant [944827].html
626   FBI-00119934                FBI-00119945                     FBI Screenshot of AML Bitcoin website.
627   FBI-00119946                FBI-00119946                     Marcus Andrade 2018-07-14.mov
628   FBI-302-001717              FBI-302-001717                   058D-SF-2113481-302_0000096.pdf
                                                                   UCE's recording of Dillman's presentation at a "VC taskforce" panel hosted by a law
629   FBI-ELSUR-000617            FBI-ELSUR-000617                 firm.
                                                                   UCE's recording of Dillman's presentation at a "VC taskforce" panel hosted by a law
630   FBI-ELSUR-000746            FBI-ELSUR-000746                 firm.
                                                                   UCE's recording of Dillman's presentation at a "VC taskforce" panel hosted by a law
631   FBI-ELSUR-000897            FBI-ELSUR-000897                 firm.
                                                                   UCE's recording of Dillman's presentation at a "VC taskforce" panel hosted by a law
632   FBI-ELSUR-001036            FBI-ELSUR-001036                 firm.
                                                                   UCE's recording of Dillman's presentation at a "VC taskforce" panel hosted by a law
633   FBI-ELSUR-001175            FBI-ELSUR-001175                 firm.
                                                                   UCE's recording of Dillman's presentation at a "VC taskforce" panel hosted by a law
634   FBI-ELSUR-001315            FBI-ELSUR-001315                 firm.
635   FBI-ELSUR-002214            FBI-ELSUR-002214                 UCE's recording of a dinner with Dillman.
636   FBI-ELSUR-002286            FBI-ELSUR-002286                 UCE's recording of a dinner with Dillman.
637   FBI-ELSUR-002363            FBI-ELSUR-002363                 UCE's recording of a dinner with Dillman.
638   FBI-ELSUR-002426            FBI-ELSUR-002426                 UCE's recording of a dinner with Dillman.
639   FBI-ELSUR-002485            FBI-ELSUR-002485                 UCE's recording of a dinner with Dillman.
640   FBI-ELSUR-002542            FBI-ELSUR-002542                 UCE's recording of a dinner with Dillman.
641   FBI-ELSUR-002604            FBI-ELSUR-002604                 UCE's recording of a dinner with Dillman.
642   FBI-ELSUR-002663            FBI-ELSUR-002663                 UCE's recording of a dinner with Dillman.
643   FBI-ELSUR-002722            FBI-ELSUR-002722                 UCE's recording of a dinner with Dillman.
                                                                   UCE recording. Abramoff tells UCE that Andrade will call him in about an hour.
644   FBI-ELSUR-002845            FBI-ELSUR-002845                 According to Abramoff, Andrade says he's willling to do a sale.
645   FBI-ELSUR-002847            FBI-ELSUR-002847                 UCE recording of Andrade calling UCE.
646   FBI-ELSUR-002897            FBI-ELSUR-002897                 UCE recording of Abramoff calling UCE.
647   FBI-ELSUR-002905            FBI-ELSUR-002905                 UCE recording of UCE calling Abramoff.
648   FBI-MAIN-0000369            FBI-MAIN-0000373                 Letter from patent attorney to Morgna Stanely re Block Gold Coin patents.
649   FBI-MAIN-0000384            FBI-MAIN-0000393                 2018 NAC Purchase Agreement for $2M, unsigned.
650   FBI-PHY3-0159717            FBI-PHY3-0160745                 DocumentsReport_2020-08-18_13-54-41_5.pdf
651   FBI-GJ-0011702              FBI-GJ-0011702                   Subscriber information for the Twitter Account @AMLBitcoin.



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                                                                   Subscriber information for the Twitter Account @AMLBitcoin, shows Andrade's
652   FBI-GJ-0011703            FBI-GJ-0011703                     telephone number.

653   FBI-GJ-0011705            FBI-GJ-0011705                     Explanatory key for subscriber information for the Twitter Account @AMLBitcoin
654   FBI-00026307              FBI-00026307                       Andrade hand-written notes of investors in 2018-2019
655   FBI-00026329              FBI-00026330                       Naimer Email to Andrade re; license/sale of company
656   FBI-00026334              FBI-00026335                       Andrade Response to Naimer on buyout/license offer
657   FBI-00028548              FBI-00028855                       List of AML Bitcoin Token buyers 2017
658   FBI-302-004884            FBI-302-004890                     Port of SF documents, emails
659   FBI-302-006436            FBI-302-006599                     Andrade Pro Se Answer to In Rem civil complaint against property
660   FBI-00119775              FBI-00119775                       Placeholder for Motorola 2020-08-17_Report (after taint) (originals)
                                                                   Emails between Peter Roff and Abramoff. Abramoff sends Roff a draft article with
                                                                   quotes from Andrade and Dillman. Roff asks Abramoff for a couple quotes from
661   FBI-302-027598            FBI-302-027600                     Marcus. Abramoff says ok.
662   ANDRADE_DOJ_00000027      ANDRADE_DOJ_00000027               Carlsen's proposal re AML Bitcoin
663   ANDRADE_DOJ_00000180      ANDRADE_DOJ_00000180               Spreadsheet tracking media on cryptocurrency
664   ANDRADE_DOJ_00001042      ANDRADE_DOJ_00001049               Draft of Andrade's AMA responses
                                                                   John Bryan AML Bitcoin purchase agreement. Watley Group agrees to buy $5.7M
665   ANDRADE_DOJ_00001124      ANDRADE_DOJ_00001137               in AML Tokens.
666   ANDRADE_DOJ_00001317      ANDRADE_DOJ_00001325               Darling Purchase Agreement for $20K in AML Tokens.
667   ANDRADE_DOJ_00005467      ANDRADE_DOJ_00005469               Andrade's comments on Word doc of his biography
                                                                   Andrade's responses on a form, for listing AML Bitcoin on an exchange called
668   ANDRADE_DOJ_00005562      ANDRADE_DOJ_00005565               LBank. See ANDRADE_DOJ_00026465.
                                                                   ICOBox's edits to "Cryptocurrency's Future May Be Now." In email from Dima
                                                                   Zaitsev of ICOBox, ICOBox asks Marcus "could you be so kind to check the text
669   ANDRADE_DOJ_00005596      ANDRADE_DOJ_00005597               I've attached"?
                                                                   Word doc of "Cryptocurrency's Future May Be Now." Monex 247 is the author in
670   ANDRADE_DOJ_00005598      ANDRADE_DOJ_00005600               metadata.
                                                                   Andrade email to Rajesh Satkartar, Ccing info@amltoken.com and
671   ANDRADE_DOJ_00059825      ANDRADE_DOJ_00059825               ceo@atencoin.com. Subject is AtenCoin's AML Token Raise.
672   ANDRADE_DOJ_00059826      ANDRADE_DOJ_00059832               AML Token Pre-ICO Private Offering document, written by Monex 247.
673   ANDRADE_DOJ_00059887      ANDRADE_DOJ_00059887               NAC_Presentation that has cover page of "Aten Coin Roadmap to Success"
                                                                   Slide deck on AtenCoin. Andrade emails it and 3 other files to Rajesh Satkartar on
674   ANDRADE_DOJ_00005670      ANDRADE_DOJ_00005709               July 20, 2017. See Andrade_DOJ_00059825.
                                                                   Slide deck on AtenCoin. Andrade emails it and 3 other files to Rajesh Satkartar on
675   ANDRADE_DOJ_00005710      ANDRADE_DOJ_00005723               July 20, 2017. See Andrade_DOJ_00059825.
676   ANDRADE_DOJ_00006341      ANDRADE_DOJ_00006341               Updated Shares Breakdown as of May 2017_AF_Final (2).xlsx


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                                                               ATEN GROUP LTD SHARE PURCHASE AGREEMENT-MICHAEL WITTE-3-
677   ANDRADE_DOJ_00006835    ANDRADE_DOJ_00006843             Signed.pdf
                                                               ATEN GROUP LTD SHARE PURCHASE AGREEMENT- FINTECH FUND,
678   ANDRADE_DOJ_00006889    ANDRADE_DOJ_00006897             FLP.pdf
679   ANDRADE_DOJ_00007830    ANDRADE_DOJ_00007832             Marcus Andrade's sales of Aten stock DEC 2016 UPDATE 120716.pdf
680   ANDRADE_DOJ_00007833    ANDRADE_DOJ_00007833             Updated Shares Breakdown as of May 2017.xlsx
681   ANDRADE_DOJ_00010601    ANDRADE_DOJ_00010609             NAC Purchase Agreement, Sugar Mountain Holdings.PDF
                                                               Re: AML Bitcoin Purchase Confirmation ID f6b8e760af28 - i need a FULL refund
682   ANDRADE_DOJ_00012143    ANDRADE_DOJ_00012144             right now!
683   ANDRADE_DOJ_00013606    ANDRADE_DOJ_00013608             Re: I need an immediate resolution
684   ANDRADE_DOJ_00017355    ANDRADE_DOJ_00017358             Follow up: request 2nd sample of Invoices report.
685   ANDRADE_DOJ_00017359    ANDRADE_DOJ_00017359             INVOICED_1-8__1-17_.xlsx
686   ANDRADE_DOJ_00018288    ANDRADE_DOJ_00018288             RE: ICO Documents
687   ANDRADE_DOJ_00018289    ANDRADE_DOJ_00018289             INVOICED_2-1__2-9_.xlsx
688   ANDRADE_DOJ_00018290    ANDRADE_DOJ_00018290             INVOICED_2-1__2-14_.xlsx
689   ANDRADE_DOJ_00018291    ANDRADE_DOJ_00018291             INVOICES_KR_3.2.xlsx
690   ANDRADE_DOJ_00018292    ANDRADE_DOJ_00018333             KR_INVpdfsTest_Feb1.pdf
691   ANDRADE_DOJ_00018334    ANDRADE_DOJ_00018355             KR_INVpdfsTest_Feb10-Feb15.pdf
692   ANDRADE_DOJ_00018356    ANDRADE_DOJ_00018449             PDFCOPIES_1-25wkEND_KR1.pdf
693   ANDRADE_DOJ_00018450    ANDRADE_DOJ_00018450             0INVOICES_KR_F14.xlsx
694   ANDRADE_DOJ_00018451    ANDRADE_DOJ_00018504             2nd INVOICES_PDFs rec'd 1-24-18.pdf
695   ANDRADE_DOJ_00018505    ANDRADE_DOJ_00018532             3rd additional samople INVOICES_PDFs_ADDITION.pdf
696   ANDRADE_DOJ_00018533    ANDRADE_DOJ_00018533             AML_FEB_ALL_FINAL_V2 rec'd 3-6-18.xlsx
697   ANDRADE_DOJ_00018534    ANDRADE_DOJ_00018534             Copy of INVOICES_CREDIT_ KR_J8-J17.xlsx
698   ANDRADE_DOJ_00018535    ANDRADE_DOJ_00018536             Invoice INV-4781.pdf
699   ANDRADE_DOJ_00018537    ANDRADE_DOJ_00018537             INVOICED_1-8__1-17_.xlsx
700   ANDRADE_DOJ_00018538    ANDRADE_DOJ_00018538             INVOICED_1-18__1-25_.xlsx
701   ANDRADE_DOJ_00018539    ANDRADE_DOJ_00018539             INVOICED_1-26__1-31_.xlsx
702   ANDRADE_DOJ_00019715    ANDRADE_DOJ_00019724             AML BitCoin Website Text.docx
703   ANDRADE_DOJ_00021690    ANDRADE_DOJ_00021691             Re: Uphold
                                                               Dillman follows up on "timeline" thread with Andrade still on it. He writes "if
                                                               Marcus is awake then I'll invite him to the call to answer any further details you may
704   ANDRADE_DOJ_00022460    ANDRADE_DOJ_00022464             want to know."
705   ANDRADE_DOJ_00024272    ANDRADE_DOJ_00024274             Bio of Marcus Andrade 9.3.17.pdf
                                                               Abramoff sends Andrade the press clips from Darling. (Abramoff writes, "Not sure
                                                               what we do with this, but perhaps we print it as a second handout for the NY
706   ANDRADE_DOJ_00026281    ANDRADE_DOJ_00026281             meetings"?)


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707   ANDRADE_DOJ_00026282      ANDRADE_DOJ_00026292               Darling emails Abramoff a series of press clips on AML Bitcoin.
708   ANDRADE_DOJ_00034219      ANDRADE_DOJ_00034221               Fwd:
709   FBI-302-001769            FBI-302-001769                     Mata 302
710   FBI-302-002649            FBI-302-002657                     Mata 302
711   FBI-302-003527            FBI-302-003531                     Aharonoff 302
712   FBI-302-004722            FBI-302-004730                     058D-SF-2113481-302_0000208.pdf
713   FBI-302-004901            FBI-302-004903                     A Quesada AML Bitcoin Docs 5.21.19.pdf
714   FBI-302-004973            FBI-302-004975                     058D-SF-2113481-302_0000232.pdf
715   FBI-302-005052            FBI-302-005064                     058D-SF-2113481-302_0000258.pdf
716   FBI-302-026472            FBI-302-026506                     White Paper 4 October 2017 Version
717   FBI-302-026922            FBI-302-026926                     058D-SF-2113481-302_0000398.pdf
718   FBI-GJ-0000996            FBI-GJ-0000999                     058D-SF-2113481-GJ-GJ_0000187_1A0000228_0000211.pdf
719   FBI-GJ-0003413            FBI-GJ-0003414                     Mata email to Dillman, BCCing Boyer.
720   FBI-GJ-0003415            FBI-GJ-0003417                     BOYER0001568_CONFIDENTIAL.pdf
721   FBI-GJ-0003425            FBI-GJ-0003425                     BOYER0001578_CONFIDENTIAL.pdf
722   FBI-GJ-0003426            FBI-GJ-0003426                     Text message thread between Dillman and Boyer. Annotated in handwriting
723   FBI-GJ-0003843            FBI-GJ-0003845                     BOYER0002028_CONFIDENTIAL.pdf
724   FBI-GJ-0003847            FBI-GJ-0003848                     BOYER0002032_CONFIDENTIAL.pdf
725   FBI-GJ-0005084            FBI-GJ-0005084                     NACFoundation_000179_CONFIDENTIAL.pdf
726   FBI-GJ-0005085            FBI-GJ-0005085                     NACFoundation_000180_CONFIDENTIAL.pdf
727   FBI-GJ-0005360            FBI-GJ-0005361                     Dillman sending Boyer the AML 2-Pager.
                                                                   The 2-pager that Dillman sent externally, including to Ben Boyer at FBI-PHY-
728   FBI-GJ-0005362            FBI-GJ-0005363                     069002 (Dec. 26, 2017)
                                                                   Emails from "AML Bitcoin" to Boyer. The emails provide an update on the token
729   FBI-GJ-0005365            FBI-GJ-0005366                     sale.
730   FBI-GJ-0005369            FBI-GJ-0005370                     BOYER0000011_CONFIDENTIAL.pdf
                                                                   BOYER0000016_HIGHLY CONFIDENTIAL.pdf: 2017-12-27 Email between
731   FBI-GJ-0005374            FBI-GJ-0005375                     Boyer and Dillman. "I'm ready to go with the AML (I read the whitepaper)."
732   FBI-GJ-0005387            FBI-GJ-0005387                     BOYER0000029_HIGHLY CONFIDENTIAL.pdf
                                                                   BOYER0000037_CONFIDENTIAL.pdf: 2018-01-03 Email from AML Bitcoin to
                                                                   Ben Boyer, subject line: "AML Bitcoin Token Sale Update." Links to
733   FBI-GJ-0005395            FBI-GJ-0005396                     Twitter/Facebook pages, Youtube, Telegram group, and other content.
                                                                   Email from Dillman to Boyer. He writes "the company is purchasing a SuperBowl
734   FBI-GJ-0005402            FBI-GJ-0005403                     spot for marketing"
735   FBI-GJ-0005407            FBI-GJ-0005409                     BOYER0000049_HIGHLY CONFIDENTIAL.pdf
736   FBI-GJ-0005477            FBI-GJ-0005477                     Purchase agreement with BlockBits
737   FBI-GJ-0005708            FBI-GJ-0005710                     BOYER0000417_CONFIDENTIAL.pdf


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738   FBI-GJ-0005747            FBI-GJ-0005747                     BOYER0000456_HIGHLY CONFIDENTIAL.pdf
                                                                   Dillman emailing Boyer: "Marcus has just paid the fee to list to get the tokens on 6
739   FBI-GJ-0005978            FBI-GJ-0005980                     more exchanges this week…"

                                                                   BOYER0000713_CONFIDENTIAL.pdf: 2018-03-27 Emails between Ben Boyer
740   FBI-GJ-0005984            FBI-GJ-0005987                     and Japheth Dillman re "makes me question everything Marcus is telling you."
                                                                   Boyer emailing Mata. He says "JD is f[***]ed. You guys should be reading about
741   FBI-GJ-0010309            FBI-GJ-0010309                     financial fraud laws." And he includes thread from Dillman
742   FBI-GJ-0010476            FBI-GJ-0010481                     Boyer emailing Dillman. Including quotes from Dillman.
                                                                   Boyer emailing Dillman and Mata. Mata claims he's trying to protect the company
743   FBI-GJ-0011231            FBI-GJ-0011233                     from Andrade.
744   FBI-GJ-0026398            FBI-GJ-0026401                     LK000893.pdf
745   USAO-0000171              USAO-0000181                       Mata Plea Agreement SIGNED 6.20.22 (002).pdf
746   USAO-0000182              USAO-0000187                       Darrow plea.pdf
747   USAO-0000233              USAO-0000242                       Abramoff NDCA plea agreement.pdf
748   USAO-0000247              USAO-0000255                       Brian Darrow NDCA plea agreement.pdf
                                                                   Andrade emails Bit-Z form for listing on the exchange, and links to the "Landfall"
749   FBI-PHY-109689            FBI-PHY-109690                     article.
750   FBI-PHY-063178            FBI-PHY-063317                     Corey & Brandi Skype Convers.pdf. Timeline of events.
751   FBI-PHY-068103            FBI-PHY-068103                     Email from Dillman, subject "AML Bitcoin".
752   FBI-PHY-068104            FBI-PHY-068115                     Dillman's attahcment to prior email, titled "AML Bitcoin Opportunity.pdf"
                                                                   Dillman emails potential investor that "AML Bitcoin is the ONLY solution in the
753   FBI-PHY-068300            FBI-PHY-068302                     market that complies with the legislation being drafted."

754   FBI-PHY-068308            FBI-PHY-068310                     Investor says he wants to buy some AML Coin, and Dillman sends his referral code.
                                                                   Mata emails Aharonoff and CCs Dillman. He writes that AML Bitcoin "is an
                                                                   AML/KYC compliant crypotcurrency that has a significant amount of business
                                                                   development ... some of the biz dev deals they've had include a deal with the Panama
755   FBI-PHY-068420            FBI-PHY-068420                     Canal to be the only currency accepted to pay transit fees".
                                                                   Emails from Mata to Dillman and others. Mata says "They have a deal closed with
                                                                   the Panama Canal that the AML coin will be the sole method of payment once
                                                                   issued. Japheth and I are connecting them to the general counsel for the port of san
756   FBI-PHY-068433            FBI-PHY-068433                     francisco for a simliar deal. [...] That's an immediate profit.""
                                                                   Dillman trying to sell and investor on "MASSIVE project" with "a lot of deals not
757   FBI-PHY-068713            FBI-PHY-068715                     announced publicly.
758   FBI-PHY-068716            FBI-PHY-068718                     Dillman tells investor he has "call with CEO later"




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                                                                     The 2-pager that Dillman sent externally, including to Ben Boyer at FBI-PHY-
759   FBI-PHY-068737              FBI-PHY-068738                     069002 (Dec. 26, 2017)
                                                                     Dillman sends Boyer 2-Pager (exhibit 759). Boyer says he wants to buy $250K of
760   FBI-PHY-069002              FBI-PHY-069003                     AML.
761   FBI-PHY-069143              FBI-PHY-069144                     Email re "public facing CTO"
                                                                     Later version of thread above. Abramoff says he doesn't "want anyone to see my
                                                                     helping out here if not necessary." And that Marcus only needs John for 10
762   FBI-PHY-069147              FBI-PHY-069148                     hours/month.
                                                                     Dillman's pitch and detailed outline for becoming Chief Strategy Officer (CSO) of
763   FBI-PHY-071049              FBI-PHY-071052                     AML Bitcoin.
                                                                     Dillman email to CEO of Bittrex exchange, introducing him and Andrade on the
764   FBI-PHY-071183              FBI-PHY-071183                     same thread. Abramoff is BCCed.
                                                                     Template for series of Dillman emails, Ccing Andrade and Abramoff, in which
                                                                     Dillman lies about AML Bitcoin and tries to sell it. "The coin used to trade at $80
                                                                     under the name AtenCoin" ... "Marcus is currently on a whirlwind tour between
                                                                     Central America and Europe literally speaking with Presidents and Prime Ministers
                                                                     of several countries." ... "There are literally billions of dollars in deals that are
765   FBI-PHY-072259              FBI-PHY-072259                     currently being negotiated"
766   FBI-PHY-073722              FBI-PHY-073723                     Copy-of-AMLBC-2-Pager.pdf
767   FBI-PHY-073744              FBI-PHY-073747                     Email from Dillman to potential investors
768   FBI-PHY-074152              FBI-PHY-074152                     Email from Andrade re Ralph Horne call
769   FBI-PHY-074565              FBI-PHY-074566                     Email from Dillman re AML Bitcoin
770   FBI-PHY-094166              FBI-PHY-094168                     Email from Aharnoff re ICOs
771   FBI-PHY-109432              FBI-PHY-109773                     Large compilation of documents. Excerpts are exhibits.
772   FBI-PHY2-3019599            FBI-PHY2-3019664                   2015-10-26 10:33:40 -04:00 - 2018-09-05 09:53:03 -04:00: [2 participants]

773   FBI-PHY3-0000289            FBI-PHY3-0000290                   058D-SF-2113481-302_0000090_1A0000063_0000001_PHYSICAL_scanned.pdf
774   FBI-PHY3-0000291            FBI-PHY3-0000291                   Possibly recorded call with Ortiz-Andrade
775   FBI-PHY3-0010292            FBI-PHY3-0010293                   Email on IBD press article.
                                                                     Series of Dillman emails, Ccing Andrade and Abramoff. Dillman writes: "The coin
                                                                     used to trade at $80 under the name AtenCoin" ... "Marcus is currently on a
                                                                     whirlwind tour between Central America and Europe literlaly speaking with
                                                                     Presidents and Prime Ministers of several countries." ... "There are literally billions
776   FBI-PHY3-0011480            FBI-PHY3-0011480                   of dollars in delas that are currently being negotiated"
777   FBI-PHY3-0011481            FBI-PHY3-0011481                   Series of Dillman emails referenced above.
778   FBI-PHY3-0011482            FBI-PHY3-0011482                   Series of Dillman emails referenced above.
779   FBI-PHY3-0011483            FBI-PHY3-0011483                   Series of Dillman emails referenced above.


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780   FBI-PHY3-0011484            FBI-PHY3-0011484                   Series of Dillman emails referenced above.
781   FBI-PHY3-0011485            FBI-PHY3-0011485                   Series of Dillman emails referenced above.
782   FBI-PHY3-0011486            FBI-PHY3-0011486                   Series of Dillman emails referenced above.
783   FBI-PHY3-0011487            FBI-PHY3-0011487                   Series of Dillman emails referenced above.
784   FBI-PHY3-0011488            FBI-PHY3-0011488                   Series of Dillman emails referenced above.
785   FBI-PHY3-0011489            FBI-PHY3-0011489                   Series of Dillman emails referenced above.
786   FBI-PHY3-0011490            FBI-PHY3-0011490                   Series of Dillman emails referenced above.
787   FBI-PHY3-0093802            FBI-PHY3-0093804                   Email to Foteh, Darling, and others re Media Advisory
788   FBI-PHY3-0132371            FBI-PHY3-0132371                   What is AML BitCoin.mp4 Youtube video
                                                                     Andrade emails Boyer: Andrade says "I truly feel you are an unknowingly puppet
                                                                     for Jack Abramoff … The project is coming along fine. The public will see that very
789   FBI-00052633                FBI-00052638                       soon." Andrade also claims he tried to reach out to Boyer multiple times.
                                                                     Andrade emails Boyer: "Actually as crazy as it sounds ,I am more than happy for
                                                                     you to join the company and take a look from inside out." Boyer responds in PHY3-
                                                                     0137580 that Blockbits has his tokens, and that Boyer will get the tokens back when
790   FBI-PHY3-0137582            FBI-PHY3-0137583                   Japheth declares bankruptcy.
                                                                     Dillman emails Abramoff and Andrade: "I'm at your disposal. 100% AML is my top
                                                                     priority". He's responding to Abramoff's request for a phone call to discuss Panama,
791   FBI-PHY-072866              FBI-PHY-072870                     SF Port, etc. All during ICO.
                                                                     Dillman emails Andrade and Kris Kitto. He says "I have include Marcus on this
                                                                     email so he can provide other detalis I'm leaving out that are relevant." Dillman
                                                                     represents that "This deal is already in place to begin testing with AML Bitcoin
                                                                     before the end of the year." He also represents that, for Port of SF, AML Bitcoin
792   FBI-PHY-072966              FBI-PHY-072969                     "will win the bid."
                                                                     Email from Abrmaoff to Dillman and Andrade. Links to several articles, including
                                                                     US News ("More Mainstream Bitcoin"), Washington Times ("Bitcoin Offers a Way
793   FBI-PHY-069211              FBI-PHY-069215                     Around Economic Sanctions", and others.

                                                                     Subset of text messages between Boyer and Dillman spanning 1/29/18 - 2/6/18;
                                                                     5/1/18 - 5/2/18; 7/30/18 - 11/30/18 (entire text chain produced within Bates FBI-GJ-
                                                                     0028263, specifically, 058D-SF-2113481-GJ_0000156_1A0000193_0000006 with
794   FBI-GJ-0028263              FBI-GJ-0028263                     the internal BOYER Bates stamp of BOYER0007459)
                                                                     Dillman emails Andrade and Foteh. He writes "Please don't contact Ben" in response
795   FBI-PHY-070874              FBI-PHY-070877                     to Discord notifications.




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                                                                       Andrade emails Dillman in the PR "timeline" thread. Andrade asks Dillman to
                                                                       "please read below," apparently referring to an email from Abramoff to Andrade.
                                                                       Abramoff wants to push SHIFT to "revivify the previous articles, as they had real
796   FBI-PHY-073187                FBI-PHY-073192                     meat."

797   FBI-PHY2-0228579              FBI-PHY2-0228579                   Email thread shows Andrade, Mata, Abramoff, and Dillman all know who Boyer is.
                                    FBI-00119775 (excerpt from         Image quoting Andrade, seized from his phone: "Our approach of compliant digital
798   FBI-00119775                  placeholder)                       currency was ahead of its time when wwe were creating it"
                                    FBI-00119775 (excerpt from
799   FBI-00119775                  placeholder)                       "The Future of Crypto" image
                                    FBI-00119775 (excerpt from         olitical AML Bitcoin image shown on phone. Was also published on AML Bitcoin
800   FBI-00119775                  placeholder)                       Twitter
                                    FBI-00119775 (excerpt from         POTUS Trump holding up image of AML Bitcoin in meme format. Was also
801   FBI-00119775                  placeholder)                       published on AML Bitcoin Twitter
                                    FBI-00119775 (excerpt from
802   FBI-00119775                  placeholder)                       Secure to its core. image
                                    FBI-00119775 (excerpt from         We believe that our supporters will soon have much to celebrate in that regard, i.e.
803   FBI-00119775                  placeholder)                       "acceptance by governments and industry". Andrade quote on phone.
                                    FBI-00119775 (excerpt from
804   FBI-00119775                  placeholder)                       Why is AML Bitcoin the next Bitcoin? image on Andrade's phone.
                                    FBI-00119775 (excerpt from
805   FBI-00119775                  placeholder)                       List of passwords for social media accounts & AML Bitcoin employees’ accounts.
                                    FBI-00119775 (excerpt from
806   FBI-00119775                  placeholder)                       Photo on Andrade's phone of some other passwords.

807   ANDRADE_DOJ00000_00070988 ANDRADE_DOJ00000_00070995 Marketing material about AtenCoin
                                                          Email from Brian Darrow, Ccing Andrade, about Michael Witte and Lavern
808   ANDRADE_DOJ00000_00071002 ANDRADE_DOJ00000_00071003 Davidhizar.
                                                          Email from Brian Darrow to Lavern Davidhizar. "Per the NAC Foundation's strict
809   ANDRADE_DOJ00000_00071004 ANDRADE_DOJ00000_00071008 adherence to our AML Compliance". $30K

810   ANDRADE_DOJ00000_00071026 ANDRADE_DOJ00000_00071033 Email from Brian Darrow to Michael Witte.
                                                          Brian forwards the "Comparison between Aten Coin & Bitcoin.pdf", which Andrade
811   ANDRADE_DOJ00000_00071318 ANDRADE_DOJ00000_00071332 also sends others in 2017.

812   ANDRADE_DOJ00000_00072760 ANDRADE_DOJ00000_00072762 Signed purchased agreement for Lavern Davidhizar for $21.5K Aten Black Coins




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                                                          Email from Blake at Bitcoin PR Buzz to Marcus Andrade (info@atencoin.com).
813   ANDRADE_DOJ00000_00074717 ANDRADE_DOJ00000_00074760 Includes several attachments
814   FBI-PHY-071057            FBI-PHY-071058            Email from Abramoff to Dillman. Draft U.S. News story with Dillman quote in it.
                                                          Email from Abramoff to Dillman. Abramoff tells Dillman "Please do not shrae this
815   FBI-PHY-071338            FBI-PHY-071339            with anyone, but this is the draft article for US News."
                                                          Email from Abramoff to Dillman. Abramoff asks Dillman to get the team to "get this
816   FBI-PHY-071514            FBI-PHY-071514            out there as widely as possible," referring to article from TheStreet
                                                          Email from Andrade to Dillman, DiAdamo, ICO Box, and others. Andrade attaches
                                                          draft AML Token Maketing Strategy DRAFT and strategy paper. "Make sure all
817   FBI-PHY-073298            FBI-PHY-073299            proposed edits are approved by Japheth or myself."
                                                          Email from Andrade to Dillman, DiAdamo, ICO Box, and others. Andrade asks for
818   FBI-PHY-073483            FBI-PHY-073483            a weekly call with large team to discuss marketing.
819   FBI-PHY2-6308552          FBI-PHY2-6308576          Project Sunshine document, updated
820   FBI-PHY2-6308603          FBI-PHY2-6308603          Project Sunshine, updated draft. Abramoff emails to John Bryan.
                                                          Abramoff circulates the updated Project Sunshine document, which Andrade had
821   FBI-PHY2-6310138          FBI-PHY2-6310140          forgotten to attach.
                                                          Mata email to Dillman, Andrade, and others. Mata flags the need for more online
                                                          marketing in places like Facebook and reddit forums. He says he has some people
                                                          who might help.

822   FBI-PHY3-0007898               FBI-PHY3-0007899                 Part of larger thread with Dillman, Andrade, and others.
                                                                      Andrade's signature giving signature authority to Ruzicka and Foteh on NAC Payroll
823   FBI-PHY3-0107033               FBI-PHY3-0107033                 Services at Bank of America.
824   ANDRADE_DOJ_00000262           ANDRADE_DOJ_00000263             IDAX PR.docx
825   ANDRADE_DOJ_00005640           ANDRADE_DOJ_00005641             Aten Coin FAQ's.pdf
826   ANDRADE_DOJ_00016325           ANDRADE_DOJ_00016325             Re: Post ICO Exchange Question
827   ANDRADE_DOJ_00017065           ANDRADE_DOJ_00017067             Re: AML Bitcoin - Actual SEO Media, Inc.
828   ANDRADE_DOJ_00017075           ANDRADE_DOJ_00017077             Re: AML Bitcoin - Actual SEO Media, Inc.
829   ANDRADE_DOJ_00018634           ANDRADE_DOJ_00018635             Re: HitBTC listing coming.
830   ANDRADE_DOJ_00021587           ANDRADE_DOJ_00021587             ICOBox's text
831   ANDRADE_DOJ_00025660           ANDRADE_DOJ_00025660             Re: Our meeting
                                                                      Email: [LBank.info] Partnership: Hello LBank Team, I have completed the form and
832   ANDRADE_DOJ_00026465           ANDRADE_DOJ_00026467             it is attached for the coin listing process. …
                                                                      Dillman, Mata, and Andrade email each other. Mata says that investor Aharanoff
                                                                      will have questions about why Andrade is selling, and that they should enact a price
                                                                      floor. Dillman says he told Aharanoff that the seller was selling "due to family
833   ANDRADE_DOJ_00030916           ANDRADE_DOJ_00030916             personal issues" because it will look bad otherwise.


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834   ANDRADE_DOJ_00033132      ANDRADE_DOJ_00033134               Re: FW: London Presentations
835   ANDRADE_DOJ_00035643      ANDRADE_DOJ_00035643               SPA
836   ANDRADE_DOJ_00035644      ANDRADE_DOJ_00035653               AML Bitcoin Special Purchase Agreement Setp.2018.pdf
                                                                   Fwd: FW: AML purchase agreement. Abramoff writes to Andrade that they "want
                                                                   anything we can get obviously". Andrade replies "found it" and attaches Purchase
837   ANDRADE_DOJ_00035657      ANDRADE_DOJ_00035657               Agreement.
838   ANDRADE_DOJ_00059825      ANDRADE_DOJ_00059825               AtenCoin's AML Token Raise
839   ANDRADE_DOJ_00059826      ANDRADE_DOJ_00059832               AML TOKEN OVERVIEW.pdf
840   ANDRADE_DOJ_00059833      ANDRADE_DOJ_00059846               Comparison between Aten Coin & Bitcoin 20151001 (4).pdf
841   ANDRADE_DOJ_00059847      ANDRADE_DOJ_00059886               AtenCoin Presentation.pdf
842   ANDRADE_DOJ_00059887      ANDRADE_DOJ_00059887               NAC_Presentation.ppt
843   ANDRADE_DOJ_00061030      ANDRADE_DOJ_00061030               Documents for the folders
844   ANDRADE_DOJ_00061031      ANDRADE_DOJ_00061031               NAC_Investor_Presentation 15012015 v4.ppt
845   ANDRADE_DOJ_00072061      ANDRADE_DOJ_00072064               Re: [Bittrex] Re: Coin Listing Requirements
846   ANDRADE_DOJ_00074144      ANDRADE_DOJ_00074144               AtenCoin Conferenece
847   FBI-00030042              FBI-00030047                       Bookmark_bk_ID404001(3).html
848   FBI-00034912              FBI-00034935                       Japheth Signed NAC Employment Agreement.pdf
849   FBI-00052561              FBI-00052561                       AML BitCoin Mail - 2-6-18 - GFSC-NAC meeting this week.pdf
850   FBI-00119797              FBI-00119798                       2019.03.04 - Letter to Richard Naimer (1).pdf
851   FBI-00119875              FBI-00119877                       Fw: Fwd: Response to your email Richard
                                                                   Published article: Ferrara, "AML Bitcoin Strides Onto the World Stage,"
                                                                   Washington Times (October 3, 2017). Alternative title is "Bitcoin offers a way
852   FBI-302-000706            FBI-302-000709                     around economic sanctions."
853   FBI-302-001793            FBI-302-001793                     058D-SF-2113481-302_0000138.pdf
854   FBI-302-001795            FBI-302-001795                     058D-SF-2113481-302_0000139.pdf
855   FBI-302-001974            FBI-302-001974                     058D-SF-2113481-302_0000149.pdf
856   FBI-302-003844            FBI-302-003844                     Call between Daniel and Marcus
857   FBI-302-004759            FBI-302-004766                     058D-SF-2113481-302_0000208_1A0000164_0000002.pdf
858   FBI-302-004959            FBI-302-004960                     058D-SF-2113481-302_0000228.pdf
859   FBI-302-009896            FBI-302-009896                     Re: SCENARIO 1.docx
860   FBI-302-009897            FBI-302-009898                     SCENARIOS.docx
861   FBI-302-009901            FBI-302-009901                     Re: NAC Representation
862   FBI-302-009902            FBI-302-009902                     Re: Spend
863   FBI-302-009906            FBI-302-009906                     Re: Super Bowl Commercial
                                                                   Published: Ferrara, "A New Digital Currency, AML Bitcoin, Makes Landfall in
864   FBI-302-012169            FBI-302-012172                     Panama," Investor's Business Daily (IBD) (Sept. 20, 2017).




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                                                                       AMLBitcoin account's posts on Bitcointalk.org, starting on July 31, 2017 and
                                                                       running through September 19, 2017. Screenshots captured on October 16, 2017.
                                                                       The posts advertise how "Aten 'Black Gold' Coin is rebranded to AML Bitcoin," and
865   FBI-302-012389              FBI-302-012407                       the links to the token sale, among other things.
866   FBI-302-023364              FBI-302-023385                       058D-SF-2113481-302_0000334_1A0000284_0000004.pptm
867   FBI-GJ-0004323              FBI-GJ-0004323                       BOYER0003273_HIGHLY CONFIDENTIAL.pdf
868   FBI-GJ-0004340              FBI-GJ-0004347                       BOYER0003338_CONFIDENTIAL.pdf
                                                                       BOYER0007446.pdf: 2018-01-03 Email notification from LinkedIn that Marcus
869   FBI-GJ-0005241              FBI-GJ-0005241                       Andrade has accepted Ben Boyer's invitation.
870   FBI-GJ-0006326              FBI-GJ-0006326                       BOYER0001088_CONFIDENTIAL.pdf
871   FBI-GJ-0006330              FBI-GJ-0006330                       BOYER0001134_CONFIDENTIAL.pdf
872   FBI-GJ-0006342              FBI-GJ-0006342                       BOYER0001286_CONFIDENTIAL.pdf
873   FBI-GJ-0009194              FBI-GJ-0009195                       BOYER0005808.pdf
874   FBI-GJ-0009230              FBI-GJ-0009231                       BOYER0005844.pdf
875   FBI-GJ-0015839              FBI-GJ-0015839                       NS004508.pdf: Email invoice for Scott Bruffey.
876   FBI-GJ-0016889              FBI-GJ-0016890                       NS005558.pdf
877   FBI-GJ-0028263              FBI-GJ-0028263                       Placeholder for Boyer documents about AML Bitcoin produced in native format
878   FBI-MAIN-0002185            FBI-MAIN-0002186                     NBCU_001.txt
                                                                       Compilation of many documents. Excerpts comprise exhibits.
879   FBI-PHY3-0136516            FBI-PHY3-0141109                     DocumentsReport_2020-08-18_13-54-41.pdf
                                  Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Abramoff messages about the
880   FBI-00123203                Abramoff Phone                       agenda for a Panama trip.
                                  Placeholder - Excerpt from
881   FBI-00123203                Abramoff Phone                       WhatsApp message from Abramoff's seized phone. Andrade wants material for PR.
                                  Placeholder - Excerpt from
882   FBI-00123203                Abramoff Phone                       WhatsApp message from Abramoff's seized phone. Attempt to schedule Tbilisi trip.
                                  Placeholder - Excerpt from
883   FBI-00123203                Abramoff Phone                       WhatsApp message from Abramoff's seized phone. Tbilisi trip objective for the ICO.
                                  Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Abramoff urges Panamanian
884   FBI-00123203                Abramoff Phone                       associate to explain what's happening to Andrade in more detail.
                                  Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Draft of news article on AML
885   FBI-00123203                Abramoff Phone                       Bitcoin making "landfall" in Panama.
                                  Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Abramoff shares published
886   FBI-00123203                Abramoff Phone                       Panama article.
                                  Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Associate tells Abramoff about
887   FBI-00123203                Abramoff Phone                       alleged interest from Panama Maritime Authority.




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                              Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Abramoff tells Panamanian
888   FBI-00123203            Abramoff Phone                       associate that biometric technology is possibly "just about to be completed."
                                                                   WhatsApp message from Abramoff's seized phone. In response to Panamanian
                              Placeholder - Excerpt from           associate's concerns about Andrade, Abramoff claims confusion and offers to set up
889   FBI-00123203            Abramoff Phone                       a call with Andrade.
                              Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Abramoff sends draft press
890   FBI-00123203            Abramoff Phone                       release information/requests to Panamanian associate.
                              Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Abramoff relays a request from
891   FBI-00123203            Abramoff Phone                       Andrade, which is for a quote from a banker for press release.
                              Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Abramoff tries to manage
892   FBI-00123203            Abramoff Phone                       blowback from Panama Canal.
                                                                   WhatsApp message from Abramoff's seized phone. Abramoff asks Panamanian
                              Placeholder - Excerpt from           associate to write memo for Andrade on how banks don't have plans to move into
893   FBI-00123203            Abramoff Phone                       crypto, and that press release "is toast".
                                                                   WhatsApp message from Abramoff's seized phone. Abramoff and Panamanian
                              Placeholder - Excerpt from           associate discussion resignation of another associate, and that Andrade will be
894   FBI-00123203            Abramoff Phone                       "furious" at competition.
                              Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Abramoff writes to Panamanian
895   FBI-00123203            Abramoff Phone                       associate that Andrade "sometimes gives into conspiracy theories."
                                                                   WhatsApp message from Abramoff's seized phone. Abramoff dismisses concerns
                              Placeholder - Excerpt from           about Andrade's judgment, and says the best solution is to move forward. Abramoff
896   FBI-00123203            Abramoff Phone                       asks, "what do you need from us to make this happen?"
                              Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Abramoff and Bryan discuss
897   FBI-00123203            Abramoff Phone                       sham Super Bowl ad.
                              Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Abramoff and Andrade discuss
898   FBI-00123203            Abramoff Phone                       sham Super bowl ad.
                              Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Abramoff and Andrade discuss
899   FBI-00123203            Abramoff Phone                       sham Super bowl ad.
                                                                   WhatsApp message from Abramoff's seized phone. Abramoff and Andrade discuss
                              Placeholder - Excerpt from           sham Super bowl ad, and debate whether to tell Dillman given that he will find out
900   FBI-00123203            Abramoff Phone                       on set.
                                                                   WhatsApp message from Abramoff's seized phone. Abramoff and Andrade discuss
                              Placeholder - Excerpt from           what to do about people "dumping" the token. Andrade says "please get me the pr
901   FBI-00123203            Abramoff Phone                       from your side" and Abramoff says "pedal to the metal".
                              Placeholder - Excerpt from           2018-05-22 WhatsApp message from Abramoff's seized phone. Abramoff conveys
902   FBI-00123203            Abramoff Phone                       Andrade's market making plan ($250K) to Bryan.




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                              Placeholder - Excerpt from           WhatsApp message from Abramoff's seized phone. Abramoff tells Panamanian
903   FBI-00123203            Abramoff Phone                       associate that Andrade and others "don't think Panama will ever move."
                              Placeholder - Excerpt from
904   FBI-00123203            Abramoff Phone                       WhatsApp with Andrade. WhatsApp encrypted, unlike Skype.
                              Placeholder - Excerpt from
905   FBI-00123203            Abramoff Phone                       WhatsApp with Andrade. "Landfall" article
                              Placeholder - Excerpt from
906   FBI-00123203            Abramoff Phone                       WhatsApp with Andrade. Whole system non-existent so far
                              Placeholder - Excerpt from
907   FBI-00123203            Abramoff Phone                       WhatsApp with Andrade. Andrade asks Abramoff to revise Angela's email
                              Placeholder - Excerpt from
908   FBI-00123203            Abramoff Phone                       WhatsApp with Andrade. Two PR drafts about NAC
                              Placeholder - Excerpt from           WhatsApp with Andrade. Current Canal draft about NAC, Andrade wants to say
909   FBI-00123203            Abramoff Phone                       they have meeting scheduled with Vatican
                              Placeholder - Excerpt from           WhatsApp with Andrade. Draft about how AM Bitcoin can solve cryptocurency
910   FBI-00123203            Abramoff Phone                       concerns in the UK
                              Placeholder - Excerpt from           WhatsApp with Andrade. Abramoff worried about attacks hinting at another bait
911   FBI-00123203            Abramoff Phone                       and witch like Atencoin
                              Placeholder - Excerpt from
912   FBI-00123203            Abramoff Phone                       WhatsApp with Andrade. Articles from Nikita Stepnov
                              Placeholder - Excerpt from           WhatsApp with Andrade. PR discussion about AML Bitcoin and AtenCoin built-in
913   FBI-00123203            Abramoff Phone                       properties
                              Placeholder - Excerpt from
914   FBI-00123203            Abramoff Phone                       WhatsApp with Andrade. PR from Eastonia and UK
                              Placeholder - Excerpt from           WhatsApp with Andrade. Email from Monica Marintez re misleading
915   FBI-00123203            Abramoff Phone                       communications involving Panama Canal
                              Placeholder - Excerpt from
916   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. ICO is failing and Bitcoin Banner ideas
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Revised Canal draft and discussion about UK
917   FBI-00123203            Abramoff Phone                       release
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Andrade says ads and sales ar eup and Eastonia
918   FBI-00123203            Abramoff Phone                       PR out
                              Placeholder - Excerpt from
919   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. Screenshot from Andrade to Abramoff
                              Placeholder - Excerpt from
920   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. We are coming off like a scam, Abramoff says




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                              Placeholder - Excerpt from
921   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. HitBTC press release , with attachment
                              Placeholder - Excerpt from
922   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. AML Bitcoin patent article, with attachments
                              Placeholder - Excerpt from
923   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. ICO Box PR
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Abramoff worried about ICO and how the con
924   FBI-00123203            Abramoff Phone                       price will drop on the exchange
                              Placeholder - Excerpt from
925   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. Andrade needs important meetings for the PR
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Andrade thinks PR will do the rest once listed.
926   FBI-00123203            Abramoff Phone                       Abramoff disagrees
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. ICO in over two weeks and no one is buying
927   FBI-00123203            Abramoff Phone                       coins
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. No coins sold during ICO means there will be
928   FBI-00123203            Abramoff Phone                       no money for this project
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Black Gold PR says AML Bitcoin ICO has
929   FBI-00123203            Abramoff Phone                       surged
                              Placeholder - Excerpt from
930   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. ICO Phase II PR
                              Placeholder - Excerpt from
931   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. Eastonia partnership issues
                              Placeholder - Excerpt from
932   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. 50m coins are for Andrade and Abramoff
                              Placeholder - Excerpt from
933   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. AML Bitcoin fraud article
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Delay trading with M/M and Canada; public
934   FBI-00123203            Abramoff Phone                       spin about branding is BS for the public.
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Abramoff asking Andrade for wire info for the
935   FBI-00123203            Abramoff Phone                       commercial teams
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Two production teams on standby for the
936   FBI-00123203            Abramoff Phone                       commercial (need to launch rejeciton campaign)
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Andrade feels ike nothing is going to come out
937   FBI-00123203            Abramoff Phone                       of London
                              Placeholder - Excerpt from
938   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. AML Bitcoin leter to Goodell




                                                           Page 35 of 57
                     Case 3:20-cr-00249-RS       Document 576-1            Filed 02/18/25     Page 36 of 57
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                              Placeholder - Excerpt from
939   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. Press articles about Super Bowl ad rejection
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Andrae wants to sue NBC about non-existent
940   FBI-00123203            Abramoff Phone                       NDA
                              Placeholder - Excerpt from
941   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. ICO ends today
                              Placeholder - Excerpt from
942   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. Article from Port Strategy
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Andrade says they are no longer doing an ICO
943   FBI-00123203            Abramoff Phone                       (can just change the white paper)
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Demo technology did not work, despite
944   FBI-00123203            Abramoff Phone                       reassurances two weeks ago.
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Andrade feels like he's doing Richard's job re
945   FBI-00123203            Abramoff Phone                       CrossVerify.
                              Placeholder - Excerpt from
946   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. Andrade suing Ralph
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Credibilty has been smashed because AML
947   FBI-00123203            Abramoff Phone                       Bitcoin can't get onto exchange despite promises
                              Placeholder - Excerpt from
948   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. US patent approved
                              Placeholder - Excerpt from
949   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. ABTC will trade on IDAX
                              Placeholder - Excerpt from
950   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. Andrade sends hoto meeting Gavin Newsom
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Online coin holders planning to go to SEC and
951   FBI-00123203            Abramoff Phone                       FBI. Andrade says they've already won lawsuit.
                                                                   Abramoff WhatsApp with Andrade. Andrade says "as soon as Market-making kicks
                              Placeholder - Excerpt from           in will be good to go" in response to Abramoff concerned that price is dropping.
952   FBI-00123203            Abramoff Phone                       "We're at $2 and we're not even market-making"
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Andrade says they'll be the richest men on the
953   FBI-00123203            Abramoff Phone                       planet "if it gets approved."
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Farah to buy coins and bring in Leininger, who
954   FBI-00123203            Abramoff Phone                       is a billionaire.
                                                                   Abramoff WhatsApp with Andrade. Andrade needs to send 100K ABTC to Farah,
                              Placeholder - Excerpt from           and pay Abramoff. Andrade says they can't do the 50/50 deal anymore, and
955   FBI-00123203            Abramoff Phone                       Abramoff says no problem.




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                              Placeholder - Excerpt from
956   FBI-00123203            Abramoff Phone                       Abramoff WhatsApp with Andrade. Andrade says coins were sent to Farah.
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Super Bown letter to Olsen from Bryan.
957   FBI-00123203            Abramoff Phone                       Andrade approves.
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. CrossVerify issues between Andrade, Richard,
958   FBI-00123203            Abramoff Phone                       and Nigel.
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. UCE interested in Panama, and read the White
959   FBI-00123203            Abramoff Phone                       Paper.
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Abramoff rewrites letter for Andrade to send to
960   FBI-00123203            Abramoff Phone                       Bryant
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Andrade's draft of letter to Bryant. States that
961   FBI-00123203            Abramoff Phone                       AtenCoin did very well on the exchange
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Bryant = possible fake or worse, Abramoff
962   FBI-00123203            Abramoff Phone                       fears
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. Abramoff asks if Mark can "regulate" the price
963   FBI-00123203            Abramoff Phone                       on IDAX because "it's kiling me as far as getting us somebody to help."
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. PR play in the UK would be more sigificant
964   FBI-00123203            Abramoff Phone                       than G20, says cointelegraph
                              Placeholder - Excerpt from           Abramoff WhatsApp with Andrade. CrossVerify slidedecks and AML presentation
965   FBI-00123203            Abramoff Phone                       from Andrade
                                                                   Abramoff WhatsApp with Andrade. Andrade says they need more BTC to bring up
                              Placeholder - Excerpt from           the price of ABTC, and says he's been trying to get a hold of John Bryan to take
966   FBI-00123203            Abramoff Phone                       possession of coins in his trading account.
                              Placeholder - Excerpt from           Spreadsheet in Abramoff WhatsApp thread with Andrade. Contains list of Pre-ICO
967   FBI-00123203            Abramoff Phone                       investors
                              Placeholder - Excerpt from
968   FBI-00123203            Abramoff Phone                       2017-09-12_Create buzz stating AMLbitcoin has potential to challenge current swifts
                              Placeholder - Excerpt from
969   FBI-00123203            Abramoff Phone                       2017-09-12_Make it a habit to erase Whatsapp history.pdf"
                              Placeholder - Excerpt from
970   FBI-00123203            Abramoff Phone                       2017-09-28_MOU for the establishment of the Estcoin AML.pdf"
                              Placeholder - Excerpt from
971   FBI-00123203            Abramoff Phone                       2017-10-01_Impossible to go worldwide in 6 months, instructed to start with beta.pdf
                              Placeholder - Excerpt from
972   FBI-00123203            Abramoff Phone                       2017-10-01_Yatom is willing to join.pdf"
                              Placeholder - Excerpt from
973   FBI-00123203            Abramoff Phone                       2017-10-07_Conflicting numbers on tokenlot.com.pdf"


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                              Placeholder - Excerpt from
974   FBI-00123203            Abramoff Phone                       2017-10-08_Thoughts on ways to revive negative chatter.pdf"
                              Placeholder - Excerpt from
975   FBI-00123203            Abramoff Phone                       2017-10-16_Andrade like avihood and claims 60% sold (50m).pdf"
                              Placeholder - Excerpt from
976   FBI-00123203            Abramoff Phone                       2017-10-30_Andrade's conversation with Abramoff about Ralph.pdf"
                              Placeholder - Excerpt from
977   FBI-00123203            Abramoff Phone                       2017-10-24_Naimer updates on avihood and ICO.pdf"
                              Placeholder - Excerpt from
978   FBI-00123203            Abramoff Phone                       2017-10-25_Email about Panama's interest in the DTN.pdf"
                              Placeholder - Excerpt from
979   FBI-00123203            Abramoff Phone                       2017-11-02_Waiting to put effort into the IP.pdf"
                              Placeholder - Excerpt from
980   FBI-00123203            Abramoff Phone                       2017-11-05_Waiting to decide on next steps re Panama.pdf"
                              Placeholder - Excerpt from
981   FBI-00123203            Abramoff Phone                       2017-11-12_Demo is meaningless and can be rigged.pdf"
                              Placeholder - Excerpt from
982   FBI-00123203            Abramoff Phone                       2017-11-12_Product not up to spec but maybe best to not get bogged down in doing i
                              Placeholder - Excerpt from
983   FBI-00123203            Abramoff Phone                       2017-11-22_Andrade wants to discuss CrossVerify program, patents, and the Panama
                              Placeholder - Excerpt from
984   FBI-00123203            Abramoff Phone                       2017-12-18_Lacking management presentation or financials for NAC.pdf"
                              Placeholder - Excerpt from
985   FBI-00123203            Abramoff Phone                       2017-12-20_Andrade can remain president but a CEO is needed.pdf"
                              Placeholder - Excerpt from
986   FBI-00123203            Abramoff Phone                       2018-01-07_Possible concerns about ICO coins once trading begins.pdf"
                              Placeholder - Excerpt from
987   FBI-00123203            Abramoff Phone                       2018-01-09_Bad at presenting himself.pdf"
                              Placeholder - Excerpt from
988   FBI-00123203            Abramoff Phone                       2018-01-09_Why would any serious finance group invest with him in this mix.pdf"
                              Placeholder - Excerpt from
989   FBI-00123203            Abramoff Phone                       2018-01-10_CV team is moving on.pdf"
                              Placeholder - Excerpt from
990   FBI-00123203            Abramoff Phone                       2018-01-14_London dates email from Robertson.pdf"
                              Placeholder - Excerpt from
991   FBI-00123203            Abramoff Phone                       2018-01-18_Pulling off Super Bowl ad will be huge, failing won't be costly or have a




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                               Placeholder - Excerpt from
992    FBI-00123203            Abramoff Phone                       2018-01-18_Super Bowl ad still in play.pdf"
                               Placeholder - Excerpt from
993    FBI-00123203            Abramoff Phone                       2018-01-30_Darling mentions writing a letter to Goodell about NFL broadcast ad.pdf
                               Placeholder - Excerpt from
994    FBI-00123203            Abramoff Phone                       2018-02-05_Use Coincenter and BuzzFeed attack to create new PR wave.pdf"
                               Placeholder - Excerpt from
995    FBI-00123203            Abramoff Phone                       2018-02-06_Abramoff will get comments from DC team for review.pdf"
                               Placeholder - Excerpt from
996    FBI-00123203            Abramoff Phone                       2018-02-06_Does not know selling points for port of SF.pdf"
                               Placeholder - Excerpt from
997    FBI-00123203            Abramoff Phone                       2018-02-06_No deck used and no presentation.pdf"
                               Placeholder - Excerpt from
998    FBI-00123203            Abramoff Phone                       2018-02-12_750 and 1500 for Bloomberg.pdf"
                               Placeholder - Excerpt from
999    FBI-00123203            Abramoff Phone                       2018-03-01_Abramoff calls Andrade incompetent, Andrade not following up with hit
                               Placeholder - Excerpt from
1000   FBI-00123203            Abramoff Phone                       2018-03-01_Andrade not adverse to bsing of creating a reality in his mind.pdf"
                               Placeholder - Excerpt from
1001   FBI-00123203            Abramoff Phone                       2018-03-14_Andrade states deal was completed with Nigel but it is not true.pdf"
                               Placeholder - Excerpt from
1002   FBI-00123203            Abramoff Phone                       WhatsApp - Abramoff texts Andrade about John Bryan having relationship with Mor
                               Placeholder - Excerpt from
1003   FBI-00123203            Abramoff Phone                       2018-03-26_He is nuts.pdf"
                               Placeholder - Excerpt from
1004   FBI-00123203            Abramoff Phone                       2018-03-26_Need 40m purchase plus at least 5 working capital.pdf"
                               Placeholder - Excerpt from
1005   FBI-00123203            Abramoff Phone                       2018-03-26_No idea what it takes to get serious people to participate.pdf"
                               Placeholder - Excerpt from
1006   FBI-00123203            Abramoff Phone                       2018-03-27_Andrade is not an easy client.pdf"
                               Placeholder - Excerpt from
1007   FBI-00123203            Abramoff Phone                       2018-03-28_MO.pdf"
                               Placeholder - Excerpt from
1008   FBI-00123203            Abramoff Phone                       2018-04-20_Assuming Andrade doesn't put Nigel on a hit list.pdf"
                               Placeholder - Excerpt from
1009   FBI-00123203            Abramoff Phone                       2018-04-27_Rumbling online that is going to kill us with Morgan and any other oppo




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                               Placeholder - Excerpt from
1010   FBI-00123203            Abramoff Phone                       2018-04-29_Port is his concoction.pdf"
                               Placeholder - Excerpt from
1011   FBI-00123203            Abramoff Phone                       2018-04-30_Commercial project did not succeed, he has inflated the numbers.pdf"
                               Placeholder - Excerpt from
1012   FBI-00123203            Abramoff Phone                       2018-04-30_The problem is that there is no trading.pdf"
                               Placeholder - Excerpt from
1013   FBI-00123203            Abramoff Phone                       2018-05-01_Fraud fights trump patents in the public area.pdf"
                               Placeholder - Excerpt from
1014   FBI-00123203            Abramoff Phone                       2018-05-08_Project has been a failure (ICO, exchanges, and coin price sinking).pdf
                               Placeholder - Excerpt from
1015   FBI-00123203            Abramoff Phone                       2018-05-14_Counting on Panama deal to meet payroll on London.pdf"
                               Placeholder - Excerpt from
1016   FBI-00123203            Abramoff Phone                       2018-05-27_Andrade et. al wants to pull money off the table.pdf"
                               Placeholder - Excerpt from
1017   FBI-00123203            Abramoff Phone                       2018-05-27_Raise of 125 and taking 25 off the table.pdf"
                               Placeholder - Excerpt from
1018   FBI-00123203            Abramoff Phone                       2018-06-04_US Ambassador to Ukraine Maria Yovanovitch.pdf"
                               Placeholder - Excerpt from
1019   FBI-00123203            Abramoff Phone                       2018-06-06_Naimer hopes it won't kick up his conspiracy theory side too much.pdf"
                               Placeholder - Excerpt from
1020   FBI-00123203            Abramoff Phone                       2018-06-06_Wants Yovanovitch removed and Andrade was attacked.pdf"
                               Placeholder - Excerpt from
1021   FBI-00123203            Abramoff Phone                       2018-06-17_Andrade wants to use Applied Blockchain Technologies Corporation as
                               Placeholder - Excerpt from
1022   FBI-00123203            Abramoff Phone                       2018-07-24_Abramoff asks Naimer about Andrade's Restructuring Plan document.pd
                               Placeholder - Excerpt from
1023   FBI-00123203            Abramoff Phone                       2018-08-03_Biggest red flag for UCE is Andrade.pdf"
                               Placeholder - Excerpt from
1024   FBI-00123203            Abramoff Phone                       2018-08-15_Supposed to have a call but it was rescheduled.pdf"
                               Placeholder - Excerpt from
1025   FBI-00123203            Abramoff Phone                       2018-08-16_Naimer wants to stop funding him.pdf"
                               Placeholder - Excerpt from
1026   FBI-00123203            Abramoff Phone                       2018-08-30_Naimer had a call with Quinton who had a few people in mind regarding
                               Placeholder - Excerpt from
1027   FBI-00123203            Abramoff Phone                       2018-09-12_Issues with the price of ABTC on HitBTC.pdf"




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                                   Placeholder - Excerpt from
1028   FBI-00123203                Abramoff Phone                       Abramoff WhatsApp says "Landfall in Panama Story about to be posted
                                   Placeholder - Excerpt from
1029   FBI-00123203                Abramoff Phone                       2018-01-25_Super Bowl ad needs to be in and rejected.pdf"
                                   Placeholder - Excerpt from           2018-03-02_Naimer asks when the coin will start trading and why it hasn't
1030   FBI-00123203                Abramoff Phone                       happened.pdf"
                                   Placeholder - Excerpt from
1031   FBI-00123203                Abramoff Phone                       2018-03-04_Abramoff asking about HitBTC contract_ Naimer concerned.pdf"
                                   Placeholder - Excerpt from           2018-03-27_Coin trading issue persists and Andrade asked for declaration of what
1032   FBI-00123203                Abramoff Phone                       and who.pdf"
                                   Placeholder - Excerpt from           2018-05-09_Group chat about market making with Abramoff, Naimer, and
1033   FBI-00123203                Abramoff Phone                       Bryan.pdf"
                                   Placeholder - Excerpt from           2018-05-09_Watley Crypto Trading Platform Business May 9 18 v5 document +
1034   FBI-00123203                Abramoff Phone                       notes.pdf"
                                   Placeholder - Excerpt from
1035   FBI-00123203                Abramoff Phone                       2018-05-13_Bryan needs Andrade to send remainder of coins.pdf"
                                   Placeholder - Excerpt from           2018-05-13_Discussions in chat rooms are unrealistic and make it seem like a
1036   FBI-00123203                Abramoff Phone                       scam.pdf"
                                   Placeholder - Excerpt from
1037   FBI-00123203                Abramoff Phone                       2018-05-27_Bryan tells Abramoff they need real buyers and traders.pdf"
                                   Placeholder - Excerpt from
1038   FBI-00123203                Abramoff Phone                       2018-07-17_Timeline for UK patent approval.pdf"
                                   Placeholder - Excerpt from
1039   FBI-00123203                Abramoff Phone                       2018-07-23_Abramoff has already given Bryan $2.5k and paid for 2 flights.pdf"
                                   Placeholder - Excerpt from           2018-09-09_FATF PR, NAC disclaimer, HitBTC PR, DTN blurb, and FCA
1040   FBI-00123203                Abramoff Phone                       release.pdf"
                                   Placeholder - Excerpt from
1041   FBI-00123203                Abramoff Phone                       2018-09-09_More about DIT Network and CrossVerify.pdf"
                                                                        Email form Hung Tran to Andrade. Attaches development plan that was discussed at
1042   FBI-PHY3-0163113            FBI-PHY3-0163116                     length with Terrence.
                                                                        Andrade emails Ruzicka, Ccing Mata. Andrade asks Ruzicka to pay the attached
1043   FBI-PHY3-0155083            FBI-PHY3-0155085                     $37.5K invoice, which is for Aharonoff sale.
1044   FBI-PHY3-0141638            FBI-PHY3-0141641                     Mata and Andrade accusing each other of misrepresentations.
                                                                        Naimer and Andrade discuss hard drive. Naimer claims Andrade wanted to hide the
1045   FBI-PHY3-0141408            FBI-PHY3-0141412                     drive from the FBI and SEC.
                                                                        Andrade emails Mata. He writes "the ABTC is being designed to be AML and KYC
1046   FBI-PHY3-0141245            FBI-PHY3-0141245                     compliant". (He also attaches four letters about patent applications.)



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                                                                Andrade-Boyer email thread. Boyer sends Andrade his messages with Dillman and
1047   FBI-PHY3-0138634        FBI-PHY3-0138642                 Mata. Andrade tells Boyer that he will countersue.
1048   FBI-PHY3-0137444        FBI-PHY3-0137446                 Andrade answers Michael Witte's questions about AML Bitcoin.
1049   ANDRADE_DOJ_00005426    ANDRADE_DOJ_00005426             2017-19-07 AtenCoinPPP.pptx
1050   ANDRADE_DOJ_00007902    ANDRADE_DOJ_00007905             2018-10-05 Watley IR Services Agreement May 10 18.docx
1051   ANDRADE_DOJ_00014475    ANDRADE_DOJ_00014476             2017-03-12 Re: Interview about your ICO
1052   ANDRADE_DOJ_00016198    ANDRADE_DOJ_00016198             AML Blog 1 (word).docx
1053   ANDRADE_DOJ_00016199    ANDRADE_DOJ_00016199             AML Blog 2 (word).docx
1054   ANDRADE_DOJ_00016200    ANDRADE_DOJ_00016201             AML Blog 12 (word).docx
1055   ANDRADE_DOJ_00017086    ANDRADE_DOJ_00017086             2018-20-09 AML BitCoin Website Text
1056   ANDRADE_DOJ_00017087    ANDRADE_DOJ_00017096             AML BitCoin Website Text.docx
1057   ANDRADE_DOJ_00017097    ANDRADE_DOJ_00017097             2018-21-09 Re: New Staging Link
1058   ANDRADE_DOJ_00018889    ANDRADE_DOJ_00018889             2018-12-09 RE: PR
1059   ANDRADE_DOJ_00021694    ANDRADE_DOJ_00021696             2017-23-09 Re: Call Request
                                                                2017-04-10 Fwd: Listing Services, White Paper Attached. Andrade emailing White
1060   ANDRADE_DOJ_00022158    ANDRADE_DOJ_00022159             Paper on October 1, 2017.
1061   ANDRADE_DOJ_00022538    ANDRADE_DOJ_00022538             2017-17-10 Fwd: Confirmation instructions
1062   ANDRADE_DOJ_00023293    ANDRADE_DOJ_00023294             2017-13-11 RE: Estonia, please confirm
1063   ANDRADE_DOJ_00024167    ANDRADE_DOJ_00024169             AML BitCoin Enters Phase II of ICO_PR.docx
                                                                2018-21-01 RE: ad storyboard video. Abramoff emails Andrade: "This will get
1064   ANDRADE_DOJ_00025196    ANDRADE_DOJ_00025197             rejected because of the subject matter alone."
1065   ANDRADE_DOJ_00025251    ANDRADE_DOJ_00025251             2018-24-01 RE: NAC Representation
1066   ANDRADE_DOJ_00025825    ANDRADE_DOJ_00025827             2018-12-02 talking points for the Financial Times piece
1067   ANDRADE_DOJ_00027210    ANDRADE_DOJ_00027210             2018-03-04 FW: Permission
1068   ANDRADE_DOJ_00027211    ANDRADE_DOJ_00027212             NAC Foundation Invoice Mar 30 18 Final pdf final PDF2.pdf
1069   ANDRADE_DOJ_00027427    ANDRADE_DOJ_00027430             2018-12-04 RE: FW: NEW YORK UPDATE
1070   ANDRADE_DOJ_00027506    ANDRADE_DOJ_00027506             2018-16-04 Shell Company
1071   ANDRADE_DOJ_00027693    ANDRADE_DOJ_00027695             2018-18-04 RE: Information
1072   ANDRADE_DOJ_00027754    ANDRADE_DOJ_00027759             NAC AML Bitcoin Menu of Services Apr 19 18.docx
1073   ANDRADE_DOJ_00028133    ANDRADE_DOJ_00028133             2018-08-05 10,000 ABTC for Watley Group
1074   ANDRADE_DOJ_00028514    ANDRADE_DOJ_00028514             2018-13-05 RE: Final Memo - Including Richard & Jack Comments
1075   ANDRADE_DOJ_00029283    ANDRADE_DOJ_00029283             2018-11-07 DRAFT PURCHASE AGREEMENT
1076   ANDRADE_DOJ_00029284    ANDRADE_DOJ_00029294             AML Bitcoin Purchase Agreement Special Purchase July 11 18 REDLINE.docx
1077   ANDRADE_DOJ_00029314    ANDRADE_DOJ_00029314             2018-12-07 FW: DRAFT PURCHASE AGREEMENT
1078   ANDRADE_DOJ_00029648    ANDRADE_DOJ_00029649             2018-20-07 Fwd: Trip Report
1079   ANDRADE_DOJ_00029882    ANDRADE_DOJ_00029885             2018-29-07 RE: Agreements




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                                                                    2018-01-08 RE: FW: I am sharing 'Price Volume Calculations July 30 18 v2.xlsx'
1080   ANDRADE_DOJ_00029913        ANDRADE_DOJ_00029915             with you
1081   ANDRADE_DOJ_00030143        ANDRADE_DOJ_00030144             2018-06-08 RE: SIGNED AGREEMENT
1082   ANDRADE_DOJ_00030239        ANDRADE_DOJ_00030240             2018-08-08 Re: SIGNED AGREEMENT
1083   ANDRADE_DOJ_00030241        ANDRADE_DOJ_00030241             2018-08-08 MEXICO
1084   ANDRADE_DOJ_00030871        ANDRADE_DOJ_00030876             2018-13-09 Fwd: Interesting short piece (written in June)
1085   ANDRADE_DOJ_00031073        ANDRADE_DOJ_00031074             2018-24-09 RE: SIGNED AGREEMENT
1086   ANDRADE_DOJ_00034977        ANDRADE_DOJ_00034977             2018-24-01 Fwd: RE: NAC Representation
1087   ANDRADE_DOJ_00057001        ANDRADE_DOJ_00057002             Aten Coin Promo email from Andrade
1088   ANDRADE_DOJ_00059757        ANDRADE_DOJ_00059760             2016-07-09 Re: Moving Forward
1089   ANDRADE_DOJ_00062136        ANDRADE_DOJ_00062137             2017-10-08 RE: FW: Purchase Agreements
1090   ANDRADE_DOJ_00065646        ANDRADE_DOJ_00065647             2015-09-08 RE: NAC Employment. Working with The Aten Black Gold" Coin"
1091   ANDRADE_DOJ_00065825        ANDRADE_DOJ_00065826             2015-30-09 RE: Sepo Holdings, LLC
1092   ANDRADE_DOJ_00065884        ANDRADE_DOJ_00065885             2015-18-10 RE: agreement
1093   ANDRADE_DOJ_00083264        ANDRADE_DOJ_00083265             2019-05-09 Summary Super Bowl Ad Jume 1 18.pdf
1094   FBI-00020911                FBI-00020949                     RM L-MISC FOLDER..pdf. Physical documents sezied from Andrade SW.
1095   FBI-00021000                FBI-00021363                     COIN PAYMENTS CREDT.pdf Physical documents sezied from Andrade SW.
                                                                    CRYPTO CURRENCY P1 1-7-18_3-19-18.pdf Physical documents sezied from
1096   FBI-00021364                FBI-00021489                     Andrade SW.
                                                                    CRYPTO CURRENCY P2 10-17-17_1-7-18.pdf Physical documents sezied from
1097   FBI-00021490                FBI-00021580                     Andrade SW.
                                                                    CRYPTO STATEMENTS 11-11-17_3-12-19.pdf Physical documents sezied from
1098   FBI-00021581                FBI-00021616                     Andrade SW.
1099   FBI-00021617                FBI-00021703                     MISC BINDER.pdf Physical documents sezied from Andrade SW.
1100   FBI-00022207                FBI-00022446                     MISC DOCS 002.pdf Physical documents sezied from Andrade SW.
                                                                    ATENCOIN DISTRIBUTIONS A-P.pdf Physical documents sezied from Andrade
1101   FBI-00023255                FBI-00023719                     SW.
                                                                    ATENCOIN DISTRIBUTIONS Q-Z.pdf Physical documents sezied from Andrade
1102   FBI-00023720                FBI-00023851                     SW.
1103   FBI-00027571                FBI-00027676                     FINTECH FUND 9668.pdf Physical documents sezied from Andrade SW.
1104   FBI-00087123                FBI-00087126                     Re_ Why the New AML Bitcoin Offers New Horizons for Bitcoin.html
1105   FBI-MAIN-0000727            FBI-MAIN-0000727                 FBI screenshot of online content taken on January 3, 2018
1106   FBI-MAIN-0000728            FBI-MAIN-0000728                 FBI screenshot of online content taken on January 3, 2018
1107   FBI-MAIN-0000729            FBI-MAIN-0000729                 FBI screenshot of online content taken on January 3, 2018
1108   FBI-MAIN-0000730            FBI-MAIN-0000730                 FBI screenshot of online content taken on January 3, 2018
1109   FBI-MAIN-0000731            FBI-MAIN-0000731                 FBI screenshot of online content taken on January 3, 2018
1110   FBI-MAIN-0000732            FBI-MAIN-0000732                 FBI screenshot of online content taken on January 3, 2018



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1111   FBI-MAIN-0000733            FBI-MAIN-0000733                 FBI screenshot of online content taken on January 3, 2018
1112   FBI-MAIN-0000734            FBI-MAIN-0000734                 FBI screenshot of online content taken on January 3, 2018
1113   FBI-MAIN-0000735            FBI-MAIN-0000735                 FBI screenshot of online content taken on January 3, 2018
1114   FBI-MAIN-0000736            FBI-MAIN-0000736                 FBI screenshot of online content taken on January 3, 2018
1115   FBI-MAIN-0000737            FBI-MAIN-0000737                 FBI screenshot of online content taken on January 3, 2018
1116   FBI-MAIN-0000738            FBI-MAIN-0000738                 FBI screenshot of online content taken on January 3, 2018
1117   FBI-MAIN-0000739            FBI-MAIN-0000739                 FBI screenshot of online content taken on January 3, 2018. AML Bitcoin Specs
1118   FBI-MAIN-0000740            FBI-MAIN-0000740                 FBI screenshot of online content taken on January 3, 2018
1119   FBI-MAIN-0000741            FBI-MAIN-0000741                 FBI screenshot of online content taken on January 3, 2018
1120   FBI-MAIN-0000742            FBI-MAIN-0000742                 FBI screenshot of online content taken on January 3, 2018
1121   FBI-MAIN-0000743            FBI-MAIN-0000743                 FBI screenshot of online content taken on January 3, 2018
1122   FBI-MAIN-0000744            FBI-MAIN-0000744                 FBI screenshot of online content taken on January 3, 2018. 1000 banks
1123   FBI-MAIN-0000745            FBI-MAIN-0000745                 FBI screenshot of online content taken on January 3, 2018
1124   FBI-MAIN-0000746            FBI-MAIN-0000746                 FBI screenshot of online content taken on January 3, 2018
1125   FBI-MAIN-0000747            FBI-MAIN-0000747                 FBI screenshot of online content taken on January 3, 2018
1126   FBI-MAIN-0000748            FBI-MAIN-0000748                 FBI screenshot of online content taken on January 3, 2018
1127   FBI-MAIN-0000749            FBI-MAIN-0000749                 FBI screenshot of online content taken on January 3, 2018
1128   FBI-MAIN-0000750            FBI-MAIN-0000750                 FBI screenshot of online content taken on January 3, 2018
1129   FBI-MAIN-0000751            FBI-MAIN-0000751                 FBI screenshot of online content taken on January 3, 2018
1130   FBI-MAIN-0000752            FBI-MAIN-0000752                 FBI screenshot of online content taken on January 3, 2018
1131   FBI-MAIN-0000753            FBI-MAIN-0000753                 FBI screenshot of online content taken on January 3, 2018
1132   FBI-MAIN-0000754            FBI-MAIN-0000754                 FBI screenshot of online content taken on January 3, 2018
1133   FBI-MAIN-0000755            FBI-MAIN-0000755                 FBI screenshot of online content taken on January 3, 2018
1134   FBI-MAIN-0000756            FBI-MAIN-0000756                 FBI screenshot of online content taken on January 3, 2018
1135   FBI-MAIN-0000757            FBI-MAIN-0000757                 FBI screenshot of online content taken on January 3, 2018
1136   FBI-MAIN-0000758            FBI-MAIN-0000758                 FBI screenshot of online content taken on January 3, 2018
1137   FBI-MAIN-0000759            FBI-MAIN-0000759                 FBI screenshot of online content taken on January 3, 2018
1138   FBI-MAIN-0000760            FBI-MAIN-0000760                 FBI screenshot of online content taken on January 3, 2018
1139   FBI-MAIN-0000761            FBI-MAIN-0000761                 FBI screenshot of online content taken on January 27, 2018
1140   FBI-MAIN-0000762            FBI-MAIN-0000762                 FBI screenshot of online content taken on January 27, 2018
1141   FBI-MAIN-0000763            FBI-MAIN-0000763                 FBI screenshot of online content taken on January 27, 2018
1142   FBI-MAIN-0000764            FBI-MAIN-0000764                 FBI screenshot of online content taken on January 27, 2018
                                                                    Download of Ferrara, "New AML Bitcoin Can Shut Down North Korea Abuse of
1143   FBI-MEDIA-000019            FBI-MEDIA-000020                 Old Bitcoin" (February 2, 2018) article in Spectator
                                                                    FBI screenshot of online content taken on January 27, 2018 - Tweet (link to
1144   FBI-MEDIA-000183            FBI-MEDIA-000183                 Spectator article on Super Bowl)




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                                                                      FBI screenshot of online content thru May 27, 2018 - Tweet (link to Super Bowl and
1145   FBI-MEDIA-000186            FBI-MEDIA-000186                   Andrade's NFL Letter)
                                                                      FBI screenshot of online content thru May 27, 2018. Tweet linking to article and
1146   FBI-MEDIA-000341            FBI-MEDIA-000341                   claiming that AML Bitcoin being tested by American banks
1147   FBI-MEDIA-000380            FBI-MEDIA-000380                   FBI screenshot of online content thru May 27, 2018
1148   FBI-MEDIA-000450            FBI-MEDIA-000450                   FBI screenshot of online content thru May 27, 2018
1149   FBI-MEDIA-000458            FBI-MEDIA-000458                   FBI screenshot of online content thru May 27, 2018
                                                                      FBI screenshot of online content thru May 27, 2018. Tweet of Cryptocurrency's
1150   FBI-MEDIA-000465            FBI-MEDIA-000465                   Future May Be Now.
                                                                      John Bryan "Project Sunshine" market making document. This one is "Market
1151   FBI-PHY-108107              FBI-PHY-108108                     Makingv2.docx" dated May 11, 2018.
                                                                      FBI screenshot of online content thru May 27, 2018. Twitter link to US News SF
1152   FBI-PHY-110772              FBI-PHY-110772                     Port article.
                                                                      FBI screenshot of online content thru May 27, 2018. Tweet of Washington Times
1153   FBI-PHY-110997              FBI-PHY-110997                     article, "Strides onto the World Stage"
                                                                      FBI screenshot of online content thru May 27, 2018. Link to Washington Times
1154   FBI-PHY-111002              FBI-PHY-111002                     "AML Bitcoin Strides"
1155   FBI-PHY-111042              FBI-PHY-111042                     FBI screenshot of online content thru May 27, 2018
                                                                      FBI screenshot of online content thru May 27, 2018. Tweet announcing De La
1156   FBI-PHY-111049              FBI-PHY-111049                     Guardia joining.
1157   FBI-PHY3-0136516            FBI-PHY3-0141109                   Compilation of documents. Excerpts are exhibits.
1158   FBI-PHY3-0141110            FBI-PHY3-0142018                   Compilation of documents. Excerpts are exhibits.
1159   FBI-PHY3-0154647            FBI-PHY3-0156576                   Compilation of documents. Excerpts are exhibits.
1160   FBI-PHY3-0162302            FBI-PHY3-0163465                   Compilation of documents. Excerpts are exhibits.
1161   IRS-GJ-0003070              IRS-GJ-0003070                     Bank of America 318x6488 NAC Payroll Services Inc Sign Card.pdf
1162   IRS-GJ-0003507              IRS-GJ-0003507                     Bank of America x6488 NAC Payroll Services Debit.pdf
1163   IRS-GJ-0003508              IRS-GJ-0003508                     Bank of America x6488 NAC Payroll Services Deposit B.pdf
1164   IRS-GJ-0003509              IRS-GJ-0003509                     Bank of America x6488 NAC Payroll Services Deposit.pdf
                                                                      Bank of America x6488 NAC Payroll Services Inc Statements 02-23-2018 to 04-30-
1165   IRS-GJ-0003510              IRS-GJ-0003519                     2018.pdf
1166   IRS-GJ-0007398              IRS-GJ-0007398                     Bank of America x5018 NAC Foundation LLC Deposit A.pdf
1167   IRS-GJ-0007399              IRS-GJ-0007400                     Bank of America x5018 NAC Foundation LLC Sign Card.pdf
1168   IRS-GJ-0007401              IRS-GJ-0007408                     Bank of America x5018 NAC Foundation LLC Statements A.pdf
1169   IRS-GJ-0007409              IRS-GJ-0007416                     Bank of America x5018 NAC Foundation LLC Statements.pdf
1170   IRS-GJ-0007417              IRS-GJ-0007418                     Bank of America x5018 NAC Foundation Sign Card.pdf
1171   IRS-GJ-0009253              IRS-GJ-0009253                     Bank of America Cover Letter 2018-05-14.pdf
1172   IRS-GJ-0009255              IRS-GJ-0009255                     Bank of America Cover Letter 2018-11-16 D110818000752.pdf


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1173   IRS-GJ-0016450            IRS-GJ-0016472                     Capital One Bank x1839 Rowland Marcus Andrade Checks A.pdf
                                                                    Capital One Bank x1839 Rowland Marcus Andrade Checks B 2018-10-16 to 2019-
1174   IRS-GJ-0016473            IRS-GJ-0016477                     05-16.pdf
1175   IRS-GJ-0016478            IRS-GJ-0016530                     Capital One Bank x1839 Rowland Marcus Andrade Checks.pdf
1176   IRS-GJ-0016531            IRS-GJ-0016533                     Capital One Bank x1839 Rowland Marcus Andrade Cover Letter ACH.pdf
1177   IRS-GJ-0016534            IRS-GJ-0016539                     Capital One Bank x1839 Rowland Marcus Andrade Cover Letter Wire.pdf
1178   IRS-GJ-0016540            IRS-GJ-0016558                     Capital One Bank x1839 Rowland Marcus Andrade Credit Wires.pdf
1179   IRS-GJ-0016559            IRS-GJ-0016574                     Capital One Bank x1839 Rowland Marcus Andrade Debit Wires.pdf
1180   IRS-GJ-0016575            IRS-GJ-0016588                     Capital One Bank x1839 Rowland Marcus Andrade Deposits A.pdf
                                                                    Capital One Bank x1839 Rowland Marcus Andrade Deposits B 2018-07-24 to 2019-
1181   IRS-GJ-0016589            IRS-GJ-0016605                     04-17.pdf
1182   IRS-GJ-0016606            IRS-GJ-0016627                     Capital One Bank x1839 Rowland Marcus Andrade Deposits.pdf
1183   IRS-GJ-0016628            IRS-GJ-0016628                     Capital One Bank x1839 Rowland Marcus Andrade Signature Card.pdf
1184   IRS-GJ-0016629            IRS-GJ-0016629                     Capital One Bank x1839 Rowland Marcus Andrade Signature Card B.pdf
                                                                    Capital One Bank x1839 Rowland Marcus Andrade Statements 2018-05-08 to 2019-
1185   IRS-GJ-0016630            IRS-GJ-0016753                     07-08.pdf
1186   IRS-GJ-0016754            IRS-GJ-0016923                     Capital One Bank x1839 Rowland Marcus Andrade Statements.pdf
                                                                    Capital One Bank x1839 Rowland Marcus Andrade Wires 2016-12-16 to 2018-05-
1187   IRS-GJ-0016924            IRS-GJ-0016926                     01.pdf
1188   IRS-GJ-0016927            IRS-GJ-0016941                     Capital One Bank x1839 Rowland Marcus Andrade Wires.pdf
                                                                    Capital One Bank x1839 Rowland Marcus Andrade Withdrawals 2018-06-12 to
1189   IRS-GJ-0016942            IRS-GJ-0016957                     2019-05-14.pdf
1190   IRS-GJ-0016958            IRS-GJ-0017008                     Capital One Bank x1839 Rowland Marcus Andrade Withdrawals.pdf
1191   IRS-GJ-0017009            IRS-GJ-0017011                     Capital One Bank x1839 Wires 2017-10-01 to 2018-07-24.pdf
                                                                    Capital One Bank x4915 Rowland Marcus Andrade International Wire 2019-03-
1192   IRS-GJ-0017012            IRS-GJ-0017025                     12.pdf
1193   IRS-GJ-0017026            IRS-GJ-0017026                     Capital One Bank x4915 Rowland Marcus Andrade Signature Card B.pdf
1194   IRS-GJ-0017027            IRS-GJ-0017027                     Capital One Bank x4915 Rowland Marcus Andrade Signature Card.pdf
                                                                    Capital One Bank x4915 Rowland Marcus Andrade Statements 2018-04-01 to 2019-
1195   IRS-GJ-0017028            IRS-GJ-0017037                     06-28.pdf
1196   IRS-GJ-0017038            IRS-GJ-0017059                     Capital One Bank x4915 Rowland Marcus Andrade Statements.pdf
                                                                    Capital One Bank x4915 Rowland Marcus Andrade Wires 2017-10-01 to 2018-07-
1197   IRS-GJ-0017060            IRS-GJ-0017061                     24.pdf
1198   IRS-GJ-0017062            IRS-GJ-0017063                     Capital One Bank x4915 Rowland Marcus Andrade Wires.pdf
1199   IRS-GJ-0017064            IRS-GJ-0017072                     Capital One Bank x4915 Rowland Marcus Andrade Withdrawal.pdf
1200   IRS-GJ-0017073            IRS-GJ-0017073                     Capital One Bank x5736 NAC Foundation LLC Account Information Sheet.pdf
1201   IRS-GJ-0017074            IRS-GJ-0017075                     Capital One Bank x5736 NAC Foundation LLC Statements.pdf


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1202   IRS-GJ-0017651            IRS-GJ-0017664                     Capital One Bank x6094 Rowland Marcus Andrade Debit Wires.pdf
1203   IRS-GJ-0017665            IRS-GJ-0017670                     Capital One Bank x6094 Rowland Marcus Andrade Deposits.pdf
1204   IRS-GJ-0017671            IRS-GJ-0017671                     Capital One Bank x6094 Rowland Marcus Andrade Signature Card.pdf
1205   IRS-GJ-0017672            IRS-GJ-0017672                     Capital One Bank x6094 Rowland Marcus Andrade Signature Card B.pdf
                                                                    Capital One Bank x6094 Rowland Marcus Andrade Statements 2018-05-08 to 2019-
1206   IRS-GJ-0017673            IRS-GJ-0017724                     07-08.pdf
1207   IRS-GJ-0017725            IRS-GJ-0017822                     Capital One Bank x6094 Rowland Marcus Andrade Statements.pdf
1208   IRS-GJ-0017823            IRS-GJ-0017824                     Capital One Bank x6094 Rowland Marcus Andrade Withdrawals.pdf
1209   IRS-GJ-0017825            IRS-GJ-0017826                     Capital One Bank Cover Letter 2017-11-07.pdf
1210   IRS-GJ-0017827            IRS-GJ-0017828                     Capital One Bank Cover Letter 2018-05-17.pdf
                                                                    Capital One Bank Cover Letter 2019-023867 Response Letter & Affidavit 2019-08-
1211   IRS-GJ-0017829            IRS-GJ-0017830                     20.pdf
1212   IRS-GJ-0017831            IRS-GJ-0017833                     Chase Bank x4618 Marcus Andrade Car Loan Credit Application.pdf
                                                                    Chase Bank x4618 Marcus Andrade Car Loan Statements 2018-06-20 to 2019-01-
1213   IRS-GJ-0017834            IRS-GJ-0017851                     20.pdf
1214   IRS-GJ-0017852            IRS-GJ-0017967                     Chase Bank x4618 Marcus Andrade Car Loan Statements.pdf
1215   IRS-GJ-0017968            IRS-GJ-0018098                     Chase Bank x4618 Marcus Andrade Loan Statements.pdf
                                                                    Chase Bank x1500 Marcus Andrade Loan Statement 2018-06-13 to 2019-12-13.pdf
1216   IRS-GJ-0018099            IRS-GJ-0018119
1217   IRS-GJ-0018120            IRS-GJ-0018127                     Chase Bank x1500 Marcus Andrade Loan Statement.pdf
1218   IRS-GJ-0018128            IRS-GJ-0018154                     Chase Bank x1500 Marcus Andrade Loan Statements.pdf
1219   IRS-GJ-0018726            IRS-GJ-0018731                     Chase Bank x8602 x5836 x7620 Block Bits David Salmon Transfers.pdf
1220   IRS-GJ-0018732            IRS-GJ-0018733                     Chase Bank x8602 Block Bits Capital LLC Sign Card.pdf
1221   IRS-GJ-0018734            IRS-GJ-0018761                     Chase Bank x8602 Block Bits Capital LLC Statements.pdf
1222   IRS-GJ-0018762            IRS-GJ-0018774                     Chase Bank x8602 Block Bits Capital LLC Wires.pdf
1223   IRS-GJ-0018775            IRS-GJ-0018775                     Chase Bank x7620 David Salmon Sign Card.pdf
1224   IRS-GJ-0018776            IRS-GJ-0018924                     Chase Bank x7620 David Salmon Statement Offset.pdf
1225   IRS-GJ-0018925            IRS-GJ-0018949                     Chase Bank x7620 David Salmon Statements 06-30-2018 to 06-28-2019.pdf
1226   IRS-GJ-0018950            IRS-GJ-0019048                     Chase Bank x7620 David Salmon Statements.pdf
1227   IRS-GJ-0019049            IRS-GJ-0019423                     Chase Bank x7620 David Salmon Wires.pdf
1228   IRS-GJ-0019434            IRS-GJ-0019434                     Chase Bank x9113 NAC Foundation Sign Card B.pdf
1229   IRS-GJ-0019435            IRS-GJ-0019435                     Chase Bank x9113 NAC Foundation Sign Card.pdf
1230   IRS-GJ-0019436            IRS-GJ-0019441                     Chase Bank x9113 NAC Foundation Statement Partial.pdf
1231   IRS-GJ-0019442            IRS-GJ-0019519                     Chase Bank x9113 NAC Foundation Statement.pdf
1232   IRS-GJ-0020051            IRS-GJ-0020053                     Chase Bank x6915 Marcus Andrade Sign Card.pdf
                                                                    Chase Bank x6915 Marcus Andrade Statement Offsets 2019-05-31 to 2019-09-
1233   IRS-GJ-0020054            IRS-GJ-0020069                     25.pdf


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                                                                    Chase Bank x6915 Marcus Andrade Statements 2019-05-31 to 2019-06-25.pdf
1234   IRS-GJ-0020070            IRS-GJ-0020075
1235   IRS-GJ-0020076            IRS-GJ-0020081                     Chase Bank x6915 Marcus Andrade Wires 2020-01-21.pdf
1236   IRS-GJ-0020082            IRS-GJ-0020083                     Chase Bank x9087 ABTC Corp Sign Card.pdf
1237   IRS-GJ-0020084            IRS-GJ-0020094                     Chase Bank x9087 ABTC Corp Statements 2019-05-31 to 2019-06-28.pdf
                                                                    Chase Bank x9087 ABTC Corp Statements Offsets 2019-05-31 to 2019-11-06.pdf
1238   IRS-GJ-0020095            IRS-GJ-0020118
1239   IRS-GJ-0020119            IRS-GJ-0020122                     Chase Bank x9087 ABTC Corp Wires 2020-01-20.pdf
1240   IRS-GJ-0020138            IRS-GJ-0020149                     Chase Bank x9891 630263031 Wires.pdf
1241   IRS-GJ-0020150            IRS-GJ-0020150                     Chase Bank x9891 NAC Foundation Sign Card B.pdf
1242   IRS-GJ-0020151            IRS-GJ-0020151                     Chase Bank x9891 NAC Foundation Sign Card.pdf
1243   IRS-GJ-0020152            IRS-GJ-0020229                     Chase Bank x9891 NAC Foundation Statement.pdf
1244   IRS-GJ-0020230            IRS-GJ-0020289                     Chase Bank x9891 NAC Foundation Statements B.pdf
1245   IRS-GJ-0020290            IRS-GJ-0020345                     Chase Bank x9891 NAC Foundation Statements.pdf
1246   IRS-GJ-0022336            IRS-GJ-0022340                     Chase Bank Cover Letter 2018-05-09.pdf
1247   IRS-GJ-0022345            IRS-GJ-0022345                     Chase Bank Cover Letter 2019-06-07 sb959771-f3.pdf
1248   IRS-GJ-0022350            IRS-GJ-0022353                     Chase Bank Cover Letter SB1052595F1 2019-08-05.pdf
1249   IRS-GJ-0022357            IRS-GJ-0022359                     Chase Bank Cover Letter SB1103594F1 2020-01-21.pdf
1250   IRS-GJ-0022363            IRS-GJ-0022364                     Chase Bank Cover Letter SB927578 F2 2018-07-23.pdf
1251   IRS-GJ-0022367            IRS-GJ-0022370                     Chase Bank Cover Letter SB959771-F1 2018-08-31.pdf
1252   IRS-GJ-0022371            IRS-GJ-0022373                     Chase Bank Cover Letter SB959771-F2 2019-05-08.pdf
1253   IRS-GJ-0022394            IRS-GJ-0022396                     Chase Bank Marcus Andrade Account Opening Docs.pdf
1254   IRS-GJ-0022402            IRS-GJ-0022403                     Chase Bank Unknown.pdf
1255   IRS-GJ-0024203            IRS-GJ-0024355                     Citibank 205855554 NAC Foundation Offset.pdf
1256   IRS-GJ-0024356            IRS-GJ-0024498                     Citibank 205855554 NAC Foundation Statement.pdf
                                                                    Citibank 42013931144 42013931151 205855554 206367633 Marcus Andrade NAC
1257   IRS-GJ-0024953            IRS-GJ-0024975                     Foundation Sign Card.pdf
1258   IRS-GJ-0024976            IRS-GJ-0025021                     Citibank 42013931144 42013931151 Marcus Andrade Statement.pdf
1259   IRS-GJ-0025022            IRS-GJ-0025030                     Citibank 42013931144 Marcus Andrade Offset.pdf
1260   IRS-GJ-0025031            IRS-GJ-0025032                     Citibank 42013931151 Marcus Andrade Offset.pdf
1261   IRS-GJ-0027591            IRS-GJ-0027605                     Citibank adtl records requested LSI-10042017-4438185-002.pdf
1262   IRS-GJ-0027609            IRS-GJ-0027610                     Citibank Cover Letter 2018-04-30.pdf
                                                                    Citibank Wires GJS#R18CANR1111, USAO#2018R00368 CITI RESP 4-26-18.pdf
1263   IRS-GJ-0027613            IRS-GJ-0027732
1264   IRS-GJ-0030465            IRS-GJ-0030472                     Comerica Bank x7567 Neil Sunkin Deposits.pdf
1265   IRS-GJ-0030473            IRS-GJ-0030474                     Comerica Bank x7567 Neil Sunkin Sign Card.pdf
1266   IRS-GJ-0030475            IRS-GJ-0030492                     Comerica Bank x7567 Neil Sunkin Statements.pdf


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1267   IRS-GJ-0030493            IRS-GJ-0030976                     Comerica Bank x7567 Neil Sunkin Wires.pdf
1268   IRS-GJ-0031487            IRS-GJ-0031488                     Comerica Bank Cover Letter L18159 2018-06-15.pdf
1269   IRS-GJ-0031489            IRS-GJ-0031490                     Comerica Bank Cover Letter L18159 Affidavit 2018-06-15.pdf
1270   IRS-GJ-0031730            IRS-GJ-0032403                     First American Title 2314137-FAST.pdf
1271   IRS-GJ-0032404            IRS-GJ-0032404                     First American Title Declaration.pdf
1272   IRS-GJ-0033228            IRS-GJ-0033242                     Frost Bank x5911 Rowland Andrade Checks.pdf
1273   IRS-GJ-0033243            IRS-GJ-0033246                     Frost Bank x5911 Rowland Andrade Deposits.pdf
1274   IRS-GJ-0033247            IRS-GJ-0033248                     Frost Bank x5911 Rowland Andrade SignatureCards.pdf
                                                                    Frost Bank x5911 Rowland Andrade Statements 2019-09-20 to 2020-01-22.pdf
1275   IRS-GJ-0033249            IRS-GJ-0033272
1276   IRS-GJ-0033273            IRS-GJ-0033289                     Frost Bank x5911 Rowland Andrade Wires_Credit.pdf
1277   IRS-GJ-0033290            IRS-GJ-0033295                     Frost Bank x5911 Rowland Andrade Wires_Debit.pdf
                                                                    Frost Bank 502527200 Andrade Investment Group Sieana Developers Statements
1278   IRS-GJ-0033296            IRS-GJ-0033296                     2019-09-12 to 2019-09-12.pdf
1279   IRS-GJ-0033297            IRS-GJ-0033298                     Frost Bank x7219 Andrade Investment Group Sieana Developers Deposits.pdf
                                                                    Frost Bank x7219 Andrade Investment Group Sieana Developers
1280   IRS-GJ-0033299            IRS-GJ-0033302                     SignatureCards.pdf
                                                                    Frost Bank x7219 Andrade Investment Group Sieana Developers Statements 2019-
1281   IRS-GJ-0033303            IRS-GJ-0033308                     09-10 to 2020-01-31.pdf
                                                                    Frost Bank x7219 Andrade Investment Group Sieana Developers Wires_Credit.pdf
1282   IRS-GJ-0033309            IRS-GJ-0033311
1283   IRS-GJ-0033312            IRS-GJ-0033313                     Frost Bank Cover Letter 2020-02-20.pdf
1284   IRS-GJ-0034680            IRS-GJ-0034682                     Nevada State Bank Account x0964 Cashiers Check.pdf
1285   IRS-GJ-0034683            IRS-GJ-0034690                     Nevada State Bank Account x0964 Checks.pdf
1286   IRS-GJ-0034691            IRS-GJ-0034692                     Nevada State Bank Account x0964 Correspondence.pdf
1287   IRS-GJ-0034693            IRS-GJ-0034700                     Nevada State Bank Account x0964 Depsoits.pdf
1288   IRS-GJ-0034701            IRS-GJ-0034702                     Nevada State Bank Account x0964 Sig Card.pdf
1289   IRS-GJ-0034703            IRS-GJ-0034716                     Nevada State Bank Account x0964 Statements.pdf
1290   IRS-GJ-0034717            IRS-GJ-0034746                     Nevada State Bank Account x0964 Wires.pdf
1291   IRS-GJ-0034747            IRS-GJ-0034748                     Nevada State Bank Attachment Release.pdf
1292   IRS-GJ-0034749            IRS-GJ-0034863                     Nueces Title Records.pdf
1293   IRS-GJ-0035187            IRS-GJ-0036494                     Recovco Mortgage 2020.01.13 Andrade Responsive Loan Docs.pdf
1294   IRS-GJ-0036495            IRS-GJ-0036495                     Recovco Mortgage Andrade_Wire Instructions.pdf
1295   IRS-GJ-0036496            IRS-GJ-0036497                     Stewart Title Company Cover Letter 2020-02-04.pdf
                                                                    Stewart Title Company Resware File #
1296   IRS-GJ-0036498            IRS-GJ-0036897                     NSWREF19158851_Part1_Bates_numbering.pdf




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                                                                    Stewart Title Company Resware File #
1297   IRS-GJ-0036898            IRS-GJ-0037297                     NSWREF19158851_Part2_Bates_numbering.pdf
                                                                    Stewart Title Company Resware File #
1298   IRS-GJ-0037298            IRS-GJ-0037695                     NSWREF19158851_Part3_Bates_numbering.pdf
1299   IRS-GJ-0044107            IRS-GJ-0044112                     Wells Fargo Bank x8065 x8252 Fintech Fund Family Sign Card.pdf
1300   IRS-GJ-0044113            IRS-GJ-0044115                     Wells Fargo Bank x8065 Fintech Fund Family Checks B.pdf
1301   IRS-GJ-0044116            IRS-GJ-0044128                     Wells Fargo Bank x8065 Fintech Fund Family Checks.pdf
1302   IRS-GJ-0044129            IRS-GJ-0044129                     Wells Fargo Bank x8065 Fintech Fund Family Deposits B.pdf
1303   IRS-GJ-0044130            IRS-GJ-0044165                     Wells Fargo Bank x8065 Fintech Fund Family Deposits.pdf
1304   IRS-GJ-0044166            IRS-GJ-0044167                     Wells Fargo Bank x8065 Fintech Fund Family Sign Card B.pdf
1305   IRS-GJ-0044168            IRS-GJ-0044169                     Wells Fargo Bank x8065 Fintech Fund Family Sign Card.pdf
                                                                    Wells Fargo Bank x8065 Fintech Fund Family Statement 2018-01-01 to 2019-02-
1306   IRS-GJ-0044170            IRS-GJ-0044218                     28.pdf
                                                                    Wells Fargo Bank x8065 Fintech Fund Family Statement 2019-01-01 to 2019-07-
1307   IRS-GJ-0044219            IRS-GJ-0044242                     30.pdf
1308   IRS-GJ-0044243            IRS-GJ-0044313                     Wells Fargo Bank x8065 Fintech Fund Family Statements.pdf
1309   IRS-GJ-0044314            IRS-GJ-0044329                     Wells Fargo Bank x8065 Fintech Fund Family Wires.pdf
1310   IRS-GJ-0044330            IRS-GJ-0044333                     Wells Fargo Bank x9532 Rowland Andrade Deposits.pdf
1311   IRS-GJ-0044334            IRS-GJ-0044366                     Wells Fargo Bank x9532 Rowland Andrade Statements.pdf
1312   IRS-GJ-0044367            IRS-GJ-0044373                     Wells Fargo Bank x9532 Rowland Andrade Withdrawals.pdf
1313   IRS-GJ-0045114            IRS-GJ-0045121                     Wells Fargo Bank x3757 Rowland Andrade Statements B.pdf
1314   IRS-GJ-0045122            IRS-GJ-0045129                     Wells Fargo Bank x3757 Rowland Andrade Statements C.pdf
1315   IRS-GJ-0045130            IRS-GJ-0045132                     Wells Fargo Bank x3757 Rowland Andrade Statements.pdf
1316   IRS-GJ-0047595            IRS-GJ-0047599                     Wells Fargo Bank x8252 Fintech Fund Family Checks.pdf
1317   IRS-GJ-0047600            IRS-GJ-0047601                     Wells Fargo Bank x8252 Fintech Fund Family Deposits A.pdf
1318   IRS-GJ-0047602            IRS-GJ-0047607                     Wells Fargo Bank x8252 Fintech Fund Family Deposits.pdf
1319   IRS-GJ-0047608            IRS-GJ-0047609                     Wells Fargo Bank x8252 Fintech Fund Family Sign Card.pdf
                                                                    Wells Fargo Bank x8252 Fintech Fund Family Statement 2018-01-01 to 2018-12-
1320   IRS-GJ-0047610            IRS-GJ-0047634                     31.pdf
                                                                    Wells Fargo Bank x8252 Fintech Fund Family Statements 2019-01-01 to 2019-06-
1321   IRS-GJ-0047635            IRS-GJ-0047641                     30.pdf
1322   IRS-GJ-0047642            IRS-GJ-0047675                     Wells Fargo Bank x8252 Fintech Fund Family Statements.pdf
1323   IRS-GJ-0047676            IRS-GJ-0047683                     Wells Fargo Bank x8252 Fintech Fund Family Wires.pdf
1324   IRS-GJ-0047684            IRS-GJ-0047690                     Wells Fargo Bank x8252 Fintech Fund Family Withdrawals.pdf
1325   IRS-GJ-0054772            IRS-GJ-0054773                     Wells Fargo Bank x4402 Rowland Andrade Deposits.pdf
1326   IRS-GJ-0054774            IRS-GJ-0054776                     Wells Fargo Bank x4402 Rowland Andrade Statements.pdf




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                                                                    Wells Fargo Bank x6362 Rowland Andrade CC Statement 2017-12-19 to 2018-03-
1327   IRS-GJ-0054777            IRS-GJ-0054792                     18.pdf
                                                                    Wells Fargo Bank x5736 Marcus Andrade CC Statement 2017-12-19 to 2019-02-
1328   IRS-GJ-0054793            IRS-GJ-0054838                     15.pdf
                                                                    Wells Fargo Bank x5736 Marcus Andrade Credit Card Statements 2018-12-19 to
1329   IRS-GJ-0055125            IRS-GJ-0055148                     2019-06-17.pdf
1330   IRS-GJ-0055620            IRS-GJ-0055622                     Wells Fargo Bank x8623 x3757 Rowland Marcus Andrade Sign Card.pdf
1331   IRS-GJ-0055623            IRS-GJ-0055649                     Wells Fargo Bank x8623 Rowland Marcus Andrade Statements.pdf
                                                                    Wells Fargo Bank x9155 NAC Payroll Services Inc 2019-01-01 to 2019-03-31
1332   IRS-GJ-0055650            IRS-GJ-0055661                     Closed.pdf
1333   IRS-GJ-0055662            IRS-GJ-0055669                     Wells Fargo Bank x9155 NAC Payroll Services Inc Cashier Checks.pdf
1334   IRS-GJ-0055670            IRS-GJ-0055740                     Wells Fargo Bank x9155 NAC Payroll Services Inc Checks B.pdf
1335   IRS-GJ-0055741            IRS-GJ-0055741                     Wells Fargo Bank x9155 NAC Payroll Services Inc Checks C.pdf
1336   IRS-GJ-0055742            IRS-GJ-0055761                     Wells Fargo Bank x9155 NAC Payroll Services Inc Checks.pdf
1337   IRS-GJ-0055762            IRS-GJ-0055772                     Wells Fargo Bank x9155 NAC Payroll Services Inc Deposits B.pdf
1338   IRS-GJ-0055773            IRS-GJ-0055778                     Wells Fargo Bank x9155 NAC Payroll Services Inc Deposits.pdf
1339   IRS-GJ-0055779            IRS-GJ-0055779                     Wells Fargo Bank x9155 NAC Payroll Services Inc Offsets.pdf
1340   IRS-GJ-0055780            IRS-GJ-0055781                     Wells Fargo Bank x9155 NAC Payroll Services Inc Sign Card B.pdf
1341   IRS-GJ-0055782            IRS-GJ-0055785                     Wells Fargo Bank x9155 NAC Payroll Services Inc Sign Card C.pdf
1342   IRS-GJ-0055786            IRS-GJ-0055789                     WElls Fargo Bank x9155 NAC Payroll Services Inc Sign Card.pdf
                                                                    Wells Fargo Bank x9155 NAC Payroll Services Inc Statements 2018-01-19 to 2019-
1343   IRS-GJ-0055790            IRS-GJ-0055875                     02-28.pdf
1344   IRS-GJ-0055876            IRS-GJ-0055896                     Wells Fargo Bank x9155 NAC Payroll Services Inc Statements.pdf
1345   IRS-GJ-0055897            IRS-GJ-0055927                     Wells Fargo Bank x9155 NAC Payroll Services Inc Wires B.pdf
1346   IRS-GJ-0055928            IRS-GJ-0055933                     Wells Fargo Bank x9155 NAC Payroll Services Inc Wires.pdf
1347   IRS-GJ-0055934            IRS-GJ-0055934                     Wells Fargo Bank x9155 NAC Payroll Services Inc Withdrawals B.pdf
1348   IRS-GJ-0055935            IRS-GJ-0055936                     Wells Fargo Bank x9155 NAC Payroll Services Inc Withdrawals.pdf
1349   IRS-GJ-0056856            IRS-GJ-0056860                     Wells Fargo Bank x5907 x0458 NAC Foundation LLC Sign Card.pdf
1350   IRS-GJ-0056861            IRS-GJ-0056862                     Wells Fargo Bank x5907 NAC Foundation LLC Deposits.pdf
1351   IRS-GJ-0056863            IRS-GJ-0056882                     Wells Fargo Bank x5907 NAC Foundation LLC Statement.pdf
1352   IRS-GJ-0056883            IRS-GJ-0056883                     Wells Fargo Bank x5907 NAC Foundation LLC Withdrawals.pdf
1353   IRS-GJ-0056884            IRS-GJ-0056884                     Wells Fargo Bank x5964 NAC Foundation LLC Deposits.pdf
1354   IRS-GJ-0066771            IRS-GJ-0066773                     Wells Fargo Bank x2870 Rowland Andrade Deposits.pdf
1355   IRS-GJ-0066774            IRS-GJ-0066794                     Wells Fargo Bank x2870 Rowland Andrade Statements B.pdf
1356   IRS-GJ-0066795            IRS-GJ-0066815                     Wells Fargo Bank x2870 Rowland Andrade Statements.pdf
1357   IRS-GJ-0066816            IRS-GJ-0066817                     Wells Fargo Bank x2870 Rowland Andrade Withdrawals.pdf
1358   IRS-GJ-0067656            IRS-GJ-0067656                     Wells Fargo Bank x0325 Marcus Andrade Deposits.pdf


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1359   IRS-GJ-0067657            IRS-GJ-0067659                     Wells Fargo Bank x76767 3163750692 Rowland Andrade Sign Card.pdf
1360   IRS-GJ-0067660            IRS-GJ-0067690                     Wells Fargo Bank x76767 Rowland Andrade Statements B.pdf
1361   IRS-GJ-0067691            IRS-GJ-0067703                     Wells Fargo Bank x76767 Rowland Andrade Statements.pdf
1362   IRS-GJ-0067790            IRS-GJ-0067792                     Wells Fargo Bank x4330 x4402 Rowland Andrade Sign Card.pdf
1363   IRS-GJ-0067793            IRS-GJ-0067794                     Wells Fargo Bank x4330 Rowland Andrade Deposits.pdf
1364   IRS-GJ-0067795            IRS-GJ-0067797                     Wells Fargo Bank x4330 Rowland Andrade Sign Card.pdf
1365   IRS-GJ-0067798            IRS-GJ-0067800                     Wells Fargo Bank x4330 Rowland Andrade Statements B.pdf
1366   IRS-GJ-0067801            IRS-GJ-0067803                     Wells Fargo Bank x4330 Rowland Andrade Statements.pdf
1367   IRS-GJ-0067804            IRS-GJ-0067808                     Wells Fargo Bank x0458 NAC Foundation LLC Deposits.pdf
1368   IRS-GJ-0067809            IRS-GJ-0067843                     Wells Fargo Bank x0458 NAC Foundation LLC Statement.pdf
1369   IRS-GJ-0067844            IRS-GJ-0067878                     Wells Fargo Bank x0458 NAC Foundation LLC Statements.pdf
1370   IRS-GJ-0067879            IRS-GJ-0067961                     Wells Fargo Bank x0458 NAC Foundation LLC Wires.pdf
1371   IRS-GJ-0067962            IRS-GJ-0067980                     Wells Fargo Bank x0458 NAC Foundation LLC Withdrawals.pdf
                                                                    Wells Fargo Bank x9668 Fintech Fund Family Cashier's Check Electronic Image.pdf
1372   IRS-GJ-0071636            IRS-GJ-0071639
1373   IRS-GJ-0071640            IRS-GJ-0071659                     Wells Fargo Bank x9668 Fintech Fund Family Checks B.pdf
1374   IRS-GJ-0071660            IRS-GJ-0071678                     Wells Fargo Bank x9668 Fintech Fund Family Checks.pdf
1375   IRS-GJ-0071679            IRS-GJ-0071680                     Wells Fargo Bank x9668 Fintech Fund Family Deposits.pdf
1376   IRS-GJ-0071681            IRS-GJ-0071684                     Wells Fargo Bank x9668 Fintech Fund Family Offsets B.pdf
1377   IRS-GJ-0071685            IRS-GJ-0071692                     Wells Fargo Bank x9668 Fintech Fund Family Offsets.pdf
1378   IRS-GJ-0071693            IRS-GJ-0071694                     Wells Fargo Bank x9668 Fintech Fund Family Sign Card B.pdf
1379   IRS-GJ-0071695            IRS-GJ-0071699                     Wells Fargo Bank x9668 Fintech Fund Family Sign Card C.pdf
1380   IRS-GJ-0071700            IRS-GJ-0071704                     Wells Fargo Bank x9668 Fintech Fund Family Sign Card.pdf
                                                                    Wells Fargo Bank x9668 Fintech Fund Family Statement 2018-01-05 to 2019-02-
1381   IRS-GJ-0071705            IRS-GJ-0071762                     28.pdf
                                                                    Wells Fargo Bank x9668 Fintech Fund Family Statements 2019-01-01 to 2019-07-
1382   IRS-GJ-0071763            IRS-GJ-0071789                     31.pdf
1383   IRS-GJ-0071790            IRS-GJ-0071807                     Wells Fargo Bank x9668 Fintech Fund Family Statements.pdf
1384   IRS-GJ-0071808            IRS-GJ-0071817                     Wells Fargo Bank x9668 Fintech Fund Family Wires.pdf
1385   IRS-GJ-0071818            IRS-GJ-0071822                     Wells Fargo Bank x0135 x5964 NAC Foundation LLC Sign Card.pdf
1386   IRS-GJ-0071823            IRS-GJ-0071832                     Wells Fargo Bank x0135 x5964 NAC Foundation LLC Statements.pdf
1387   IRS-GJ-0071833            IRS-GJ-0071842                     Wells Fargo Bank x0135 x5964 NAC Foundation LLC Statement.pdf
1388   IRS-GJ-0071843            IRS-GJ-0071843                     Wells Fargo Bank x0135 NAC Foundation LLC Deposits.pdf
1389   IRS-GJ-0071844            IRS-GJ-0071845                     Wells Fargo Bank x0135 NAC Foundation LLC Sign Card.pdf
1390   IRS-GJ-0071895            IRS-GJ-0071897                     Wells Fargo Bank x6481 x0325 Rowland Andrade Sign Card.pdf
1391   IRS-GJ-0071898            IRS-GJ-0071902                     Wells Fargo Bank x6481 x0325 Rowland Andrade.pdf
1392   IRS-GJ-0071903            IRS-GJ-0071903                     Wells Fargo Bank x6481 Rowland Andrade Deposits.pdf


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1393   IRS-GJ-0072076               IRS-GJ-0072076                     Wells Fargo Bank Cover Letter 2018-08-28 20444586.pdf
1394   IRS-GJ-0072077               IRS-GJ-0072077                     Wells Fargo Bank Cover Letter 2019-05-11 21722016.pdf
1395   IRS-GJ-0072083               IRS-GJ-0072084                     Wells Fargo Bank Cover Letter 21359409 2019-03-14.pdf
1396   IRS-GJ-0072085               IRS-GJ-0072086                     Wells Fargo Bank Cover Letter 21359409.pdf
1397   IRS-GJ-0072092               IRS-GJ-0072093                     Wells Fargo Bank Cover Letter 21651173 2019-05-02.pdf
1398   IRS-GJ-0072094               IRS-GJ-0072095                     Wells Fargo Bank Cover Letter 22134180 2019-08-09.pdf
1399   IRS-GJ-0072097               IRS-GJ-0072108                     Wells Fargo Bank Legal Document 2017-11-28.pdf
1400   IRS-GJ-0072110               IRS-GJ-0072125                     Wells Fargo Bank Visa Card xxx5736 Statement.pdf
1401   IRS-GJ-0072126               IRS-GJ-0072307                     Wells Fargo Bank Visa Card xxx6362 Statement.pdf
1402   IRS-GJ-0073873               IRS-GJ-0073879                     Woodforest Bank x9642 Marcus Andrade Account Opening.pdf
1403   IRS-GJ-0073880               IRS-GJ-0073881                     Woodforest Bank x9642 Marcus Andrade CD 2014-02-13 to 2019-06-12.pdf
1404   IRS-GJ-0073882               IRS-GJ-0073889                     Woodforest Bank 10635357 Marcus Andrade Account Opening.pdf
1405   IRS-GJ-0073890               IRS-GJ-0073890                     Woodforest Bank x5589 Marcus Andrade Sign Card.pdf
                                                                       Woodforest Bank x5589 Marcus Andrade Statements & Offsets 2018-04-28 to 2019-
1406   IRS-GJ-0073891               IRS-GJ-0073944                     07-27.pdf
1407   IRS-GJ-0073945               IRS-GJ-0074487                     Woodforest Bank x5589 Marcus Andrade Statements & Offsets.pdf
1408   IRS-GJ-0074488               IRS-GJ-0074488                     Woodforest Bank x0910 Marcus Andrade Deposits.pdf
1409   IRS-GJ-0074489               IRS-GJ-0074489                     Woodforest Bank x0910 Marcus Andrade Sign Card.pdf
                                                                       Woodforest Bank x0910 Marcus Andrade Statements & Offsets 2018-04-28 to 2019-
1410   IRS-GJ-0074490               IRS-GJ-0074528                     07-27.pdf
1411   IRS-GJ-0074529               IRS-GJ-0074732                     Woodforest Bank x0910 Marcus Andrade Statements & Offsets.pdf
1412   IRS-GJ-0074733               IRS-GJ-0074734                     Woodforest Bank Cover Letter 2018-06-19.pdf
1413   IRS-GJ-0074735               IRS-GJ-0074735                     Woodforest Bank Cover Letter 2018-07-25.pdf
1414   IRS-GJ-0074736               IRS-GJ-0074737                     Woodforest Bank Cover Letter 2019-07-31.pdf
1415   IRS-GJ-0022343               IRS-GJ-0022344                     Chase Bank Cover Letter 2018-07-13.pdf
1416   IRS-GJ-0031493               IRS-GJ-0031493                     David Taylor Andrade - Declaration of Custodian of Records.pdf
1417   IRS-GJ-0031494               IRS-GJ-0031503                     David Taylor Andrade Deal File.pdf
1418   IRS-GJ-0031504               IRS-GJ-0031565                     David Taylor DEAL 33413 DEAL JACKET.pdf
       IRS-DOCS-00002454            IRS-DOCS-00002618                  Coinbase-5951f490feff9f00fe736f23-Compliance-Report-2017-12-07-19_32_39.csv
1419
1420   IRS-DOCS-00003026            IRS-DOCS-00003026                  Pre_ICOSpreadsheetFromJAIPhone-9-28-2017WhatsAppWithMA.xlsx
1421   IRS-DOCS-00015312            IRS-DOCS-00015312                  Recovco Mortgage 2020.01.14 Executed Custodian of Records.pdf
                                                                       Handwritten sticky note labeled (Totals … coin payments). Lists BTC, LTC, ETH,
1422   FBI-00022554                 FBI-00022554                       and BCH.
1423   FBI-PHY-110133               FBI-PHY-110243                     Full printout of Bitcointalk forum
1424   FBI-MAIN-0052391             FBI-MAIN-0052452                   Andrade's military records, including disciplinary action
1425   USAO-0000371                 USAO-0000418                       Transcript of Hung Tran's November 14, 2019 grand jury testimony


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1426   FBI-302-000752            FBI-302-000797                     Bitcointalk thread
1427   USAO-0000332              USAO-0000370                       Transcript of Foteh's November 21, 2019 grand jury testimony
1428   IRS-DOCS-00034054         IRS-DOCS-00034091                  Andrade 2014 Tax Return
1429   ANDRADE_DOJ_00022160      ANDRADE_DOJ_00022194               White Paper.
1430   IRS-DOCS-00034023         IRS-DOCS-00034053                  Andrade 2013 Tax Return
1431   IRS-DOCS-00034092         IRS-DOCS-00034118                  Andrade 2015 Tax Return
1432   FBI-MAIN-0052280          FBI-MAIN-0052302                   Andrade's lawsuit complaint against Boyer and Dillman
1433   IRS-DOCS-00033836         IRS-DOCS-00033857                  Summary of IRS fact of filings + lack of filings
1434   FBI-302-000733            FBI-302-000751                     Bitcointalk thread
1435   IRS-DOCS-00034119         IRS-DOCS-00034137                  IRS system-generated transcript of Andrade taxpayer data
                                                                    SHIFT/Hargreaves follows up with Andrade on funds. Notes that he had a call with
1436   ANDRADE_DOJ_00023401      ANDRADE_DOJ_00023411               Andrade.
1437   FBI-MAIN-0052269          FBI-MAIN-0052279                   Order granting motion to dismiss Andrade's lawsuit against Boyer
                                                                    Signed Purchase Agreement between Dillman and Andrade. Effective August 28,
1438   ANDRADE_DOJ_00001289      ANDRADE_DOJ_00001298               2017
1439   FBI-MAIN-0052305          FBI-MAIN-0052314                   Andrade's lawsuit complaint against Foteh
                                                                    Abramoff emails Andrade. He complains that Shift should "revivify the previous
1440   ANDRADE_DOJ_00022532      ANDRADE_DOJ_00022537               articles, as they had real meat"
                                                                    Published article: Roff, "Cryptocurrency's Future May Be Now," US News
1441   FBI-MEDIA-000647          FBI-MEDIA-000652                   (September 12, 2017). About SF Port
1442   ANDRADE_DOJ_00022455      ANDRADE_DOJ_00022459               Dillman emails Shift and Andrade answer's to Shift's questions re PR timeline.

1443   FBI-302-000798            FBI-302-000802                     Shift press release on "AML Bitcoin ICO Now Accepting All Forms of Currency"
1444   ANDRADE_DOJ_00022352      ANDRADE_DOJ_00022355               Abramoff emails Dillman and Andrade re Shift PR timeline.
                                                                    Abramoff emails Andrade to complain about SHIFT's delay with publishing.

1445   ANDRADE_DOJ_00023058      ANDRADE_DOJ_00023061               Email below Andrade's is Andrade to Hargreaves.
1446   ANDRADE_DOJ_00023357      ANDRADE_DOJ_00023360               SHIFT/Hargreaves follows up with Andrade on funds.
                                                                    Published article: Ferrara, "A New Digital Currency, AML Bitcoin, Makes Landfall
1447   FBI-302-000509            FBI-302-000512                     in Panama," Investor's Business Daily (IBD) (September 20, 2017)
                                                                    Email from Andrade to Witte. He says he will kick start CV again. Andrade also
1448   FBI-302-006855            FBI-302-006858                     disucsses "soft launch" of AML Bitcoin.

1449   ANDRADE_DOJ_00000100      ANDRADE_DOJ_00000102               Press release "Block Bits Capital to Act as USD Escrow Agent for AML BitCoin"
1450   ANDRADE_DOJ_00000730      ANDRADE_DOJ_00000732               Press release "AML Bitcoin Announces Listing on HitBTC Exchange"
1451   ANDRADE_DOJ_00016872      ANDRADE_DOJ_00016874               Email from media@amlbitcoin.com publishing the HitBTC press release.




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                                                                      Bernadette Tran writes Andrade: "Tomorro we will have the ball rolling, on all
1452   ANDRADE_DOJ_00018862        ANDRADE_DOJ_00018864               social medias, have blogs and articles"
1453   ANDRADE_DOJ_00023069        ANDRADE_DOJ_00023071               SHIFT/Hargreaves emails Andrade about what Andrade needs to be successful.

1454   ANDRADE_DOJ_00034871        ANDRADE_DOJ_00034873               Andrade emails a couple Shift executives to complain that Shift hasn't published PR
1455   ANDRADE_DOJ_00075407        ANDRADE_DOJ_00075409               Media@AMLbitcoin.com emails HitBTC press release to info@atencoin.com.
1456   ANDRADE_DOJ_00081451        ANDRADE_DOJ_00081453               Biography of Marcus Andrade.
                                                                      Published Press Release: "Creator of AML Bitcoin on Track to Partner with Panama
1457   FBI-MEDIA-000643            FBI-MEDIA-000645                   Canal" (November 8, 2017)
                                                                      Published article: Darling, "The Coming Cryptocurrency Lobbying War,"
1458   SEC-USAO-EPROD-000011530    SEC-USAO-EPROD-000011532           Investors.com (Feb. 8, 2018)
                                                                      Email from John Bryan to Chet Fenster. Attaches Word doc which is the first draft
1459   FBI-302-009949              FBI-302-009952                     of the Super Bowl ad proposal.
                                                                      Abramoff, Dillman, Mata, and Andrade discuss Mata's connections. Abramoff
1460   ANDRADE_DOJ_00021853        ANDRADE_DOJ_00021854               discusses drafting a Forbes article.
1461   ANDRADE_DOJ_00022292        ANDRADE_DOJ_00022293               Mata sets up his AML Token wallet.
1462   ANDRADE_DOJ_00023346        ANDRADE_DOJ_00023347               SHIFT/Hargreaves follows up with Andrade on funds and to-dos.
1463   ANDRADE_DOJ_00032723        ANDRADE_DOJ_00032724               Andrade emails Hargreaves for status report on Panama Canal PR
1464   FBI-MAIN-0052380            FBI-MAIN-0052381                   NAC Payroll Services, Inc. Articles of Incorporation
                                                                      Andrade, Abramoff, and Dillman email each other shortly after ICO (October 26,
                                                                      2017). Andrade says they should remove Neil Sunkin (their lawyer) from the press
                                                                      loop because it is delaying press releases. He directs Dillman to send press release
                                                                      drafts, which Andrade will then forward to Abramoff.

                                                                      Dillman replies that he is "forging some agreements to buy a large bulk (in the
1465   FBI-PHY-073476              FBI-PHY-073477                     millions)".
1466   FBI-PHY-108107              FBI-PHY-108108                     Market Makingv2.docx. Long written "Project Sunshine" plan on market making.
                                                                      SHIFT Communications thanks Andrade for speaking with them and asks for follow-
1467   ANDRADE_DOJ_00022254        ANDRADE_DOJ_00022254               ups. Introduces the team.
1468   ANDRADE_DOJ_00022687        ANDRADE_DOJ_00022687               SHIFT/Hargreaves tells Andrade that the press has not been receptive.
1469   FBI-00034985                FBI-00034985                       MASTER ATEN LIST 2014-2016.xlsx
1470   FBI-00034986                FBI-00034986                       MASTER AUDIT LIST(AutoRecovered).xlsx
1471   FBI-00083481                FBI-00083481                       AML BitCoin Posts Spreadsheet - 2-26-18.xlsx. Darling's list of paid articles.
                                                                      SA Quinn's 302 memorializing download of "AML Bitcoin ICO Now Accepting All
1472   FBI-302-000732              FBI-302-000732                     Forms of Currency" and Bitcointalk forum thread.
                                                                      Telegram message from Josee Henriquez relaying updates and information from
1473   FBI-302-001796              FBI-302-001799                     Marcus Andrade. Defenses.


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1474   FBI-MAIN-0002270            FBI-MAIN-0002270                    Email from Kieran McCavanagh re pre-game rates and agency of record letter.

1475   FBI-MAIN-0002272            FBI-MAIN-0002272                    McCavanagh receives email from Andrade and request to decide on ad by 10:30am.
1476   FBI-MAIN-0052315            FBI-MAIN-0052315                    Notice of voluntary dismissal of lawsuit against Foteh
1477   FBI-MAIN-0052382            FBI-MAIN-0052382                    Certificate of Authenticity for NAC Payroll Articles of Incorporation
                                                                       NAC Payroll Services: Statement of Information. Includes Andrade as CEO,
1478   FBI-MAIN-0052383            FBI-MAIN-0052383                    Secretary, and CFO.
                                                                       AML Bitcoin tweet (January 2018) of US News article on SF Port: Cryptocurrency's
1479   FBI-PHY-110772              FBI-PHY-110772                      Future May Be Now.
                                                                       AML Bitcoin tweet of Washington Times article on AML Bitcoin: AML Bitcoin
1480   FBI-PHY-110997              FBI-PHY-110997                      strides onto the world stage (photo of print article).
                                                                       AML Bitcoin tweet of Washington Times article on AML Bitcoin: AML Bitcoin
1481   FBI-PHY-111002              FBI-PHY-111002                      strides onto the world stage (tweeting link).
                                                                       AML Bitcoin tweet (Sept 2017) of US News article on SF Port: Cryptocurrency's
1482   FBI-PHY-111042              FBI-PHY-111042                      Future May Be Now.
                                                                       AML Bitcoin tweet (Sept 2017) announcing Carlos De La Guardia being appointed
1483   FBI-PHY-111049              FBI-PHY-111049                      VP of Latin America
                                                                       Excerpt of Exhibit 5: Audio recording of Marcus Andrade during March 2020
1484   FBI-ELSUR-004458            Excerpt of prior exhibit            search warrant of his residence
                                                                       Excerpt of Exhibit 5: Audio recording of Marcus Andrade during March 2020
1485   FBI-ELSUR-004458            Excerpt of prior exhibit            search warrant of his residence
                                                                       Excerpt of Exhibit 5: Audio recording of Marcus Andrade during March 2020
1486   FBI-ELSUR-004458            Excerpt of prior exhibit            search warrant of his residence
                                                                       Excerpt of Exhibit 5: Audio recording of Marcus Andrade during March 2020
1487   FBI-ELSUR-004458            Excerpt of prior exhibit            search warrant of his residence
                                                                       Excerpt of Exhibit 645: Audio recording of Marcus Andrade calling UCE Bryant on
1488   FBI-ELSUR-002847            Excerpt of prior exhibit            July 2018
                                                                       Excerpt of Exhibit 645: Audio recording of Marcus Andrade calling UCE Bryant on
1489   FBI-ELSUR-002847            Excerpt of prior exhibit            July 2018
                                                                       Excerpt of Exhibit 645: Audio recording of Marcus Andrade calling UCE Bryant on
1490   FBI-ELSUR-002847            Excerpt of prior exhibit            July 2018
                                                                       Excerpt of Exhibit 645: Audio recording of Marcus Andrade calling UCE Bryant in
1491   FBI-ELSUR-002847            Excerpt of prior exhibit            July 2018
                                                                       Excerpt of Exhibit 580: Video recording of Marcus Andrade on Skype with UCE
1492
       FBI-00119946                Excerpt of prior exhibit            Bryant in July 2018
                                                                       Excerpt of Exhibit 580: Video recording of Marcus Andrade on Skype with UCE
1493   FBI-00119946                Excerpt of prior exhibit            Bryant in July 2018


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                                                   USA's Second Amended Exhibit List


                                                                     Excerpt of Exhibit 580: Video recording of Marcus Andrade on Skype with UCE
1494   FBI-00119946              Excerpt of prior exhibit            Bryant in July 2018
                                                                     Excerpt of Exhibit 580: Video recording of Marcus Andrade on Skype with UCE
1495   FBI-00119946              Excerpt of prior exhibit            Bryant in July 2018
                                                                     2015-11-15 Andrade email to Jodoins. Attaches Q&A for his / Jodoin appearance on
1496   ANDRADE_DOJ_00058624      ANDRADE_DOJ_00058624                Kathy Ireland infomercial
1497   ANDRADE_DOJ_00058625      ANDRADE_DOJ_00058627                Attachment to 2015-11-15 Andrade email re Kathy Ireland
1498   ANDRADE_DOJ_00058628      ANDRADE_DOJ_00058630                Attachment to 2015-11-15 Andrade email re Kathy Ireland
                                                                     2016-01-13 Andrade email to Terence Poon. Attaches Brandi Jodoin's AtenCoin
1499   ANDRADE_DOJ_00058678      ANDRADE_DOJ_00058678                presentation.
1500   ANDRADE_DOJ_00058679      ANDRADE_DOJ_00058703                One of Brandi Jodoin's AtenCoin presentations
1501   FBI-00002255              FBI-00002271                        Seized and scanned documents: wire instructions with Andrade's signatures
1502   FBI-302-027652            FBI-302-027652                      Photo of December 8, 2017 Bruffey invoice for $100,000
1503   FBI-302-027659            FBI-302-027659                      Email confirming payment of INV-0886
                                                                     2017-12-16 Email from info@amlbitcoin.com to Bruffey re listing and 6-month
1504   FBI-302-027660            FBI-302-027660                      timeline
1505   FBI-302-027661            FBI-302-027661                      2017-12-14 Email from aml@amltokensale.com to Bruffey thanking for payment
1506   FBI-PHY-112076            FBI-PHY-112076                      Photo of "Coding for Beginners"
                                 Placeholder - Excerpt from
1507   FBI-00123203              Abramoff Phone                      2017-09-27 Abramoff and Darling iMessages re Forbes article
                                 Placeholder - Excerpt from
1508   FBI-00123203              Abramoff Phone                      2017-09-30 Abramoff and Darling iMessages re Forbes article
1509   FBI-00087058              FBI-00087059                        2018-02-12 Email from Andrade to Abramoff re Ferrara/FT talking points
                                 Placeholder - Excerpt from
1510   FBI-00123203              Abramoff Phone                      2017-08-20 Abramoff - De La Guardia WhatsApp messages.
                                 Placeholder - Excerpt from
1511   FBI-00123203              Abramoff Phone                      2017-09-15 Abramoff - De La Guardia WhatsApp messages
1512   ANDRADE_DOJ_000022833     ANDRADE_DOJ_000022835               2017-10-31 Email from Andrade to Abramoff to De La Guardia to Andrade.
1513   ANDRADE_DOJ_000022997     ANDRADE_DOJ_000022999               2017-11-04 Email from De La Guardia to Abramoff, and Abramoff to Andrade.
1514   ANDRADE_DOJ_000023575     ANDRADE_DOJ_000023576               2017-11-19 Email from De La Guardia to Andrade and CC Abramoff.
                                 Placeholder - Excerpt from
1515   FBI-00123203              Abramoff Phone                      2018-01-30 Abramoff-Andrade WhatsApp re letter to NFL Commissioner Goodell.
                                                                     Financial summary exhibits, drafts of which have already been provided to the
                                                                     defense. The Court has admitted these in limine and the defense does not oppose,
TBD    N/A                       N/A                                 see Dkt. 497 at 5.




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